                                 Case 24-12728-CTG                 Doc 1        Filed 12/04/24           Page 1 of 122


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ideanomics, Inc.

2.   All other names debtor       DBA Seven Stars Cloud Group, Inc.
     used in the last 8 years
                                  DBA Seven Stars Cloud Group, Inc.
     Include any assumed          DBA YOU On Demand Holdings, Inc.
     names, trade names and       DBA Ideanomics
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1441 Broadway, 5th Floor
                                  Suite 5116
                                  New York, NY 10018
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                      Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                4752 West California Avenue Salt Lake City, UT
                                                                                                84104
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ideanomics.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                 Case 24-12728-CTG                    Doc 1        Filed 12/04/24            Page 2 of 122
Debtor    Ideanomics, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               2211

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                   Case 24-12728-CTG                       Doc 1        Filed 12/04/24              Page 3 of 122
Debtor    Ideanomics, Inc.                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See attached Rider 1                                         Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 24-12728-CTG              Doc 1       Filed 12/04/24          Page 4 of 122
Debtor   Ideanomics, Inc.                                                            Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                 Case 24-12728-CTG                   Doc 1        Filed 12/04/24              Page 5 of 122
Debtor    Ideanomics, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on     12/4/2024
                                                  MM / DD / YYYY


                             X /s/ Alfred Poor                                                            Alfred Poor
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X                                                                             Date 12/4/2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ricardo Palacio
                                 Printed name

                                 Ashby & Geddes, P.A.
                                 Firm name

                                 500 Delaware Avenue
                                 8th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-654-1888                  Email address      RPalacio@ashbygeddes.com

                                 3765 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                               Case 24-12728-CTG         Doc 1   Filed 12/04/24   Page 6 of 122




                        RESOLUTIONS ADOPTED BY UNANIMOUS WRITTEN CONSENT
                                  OF THE BOARD OF DIRECTORS OF
                                         IDEANOMICS, INC.



                  The undersigned, constituting all the members of the Board of Directors (the “Directors”)
            of Ideanomics, Inc. (the “Corporation”), hereby adopt the following resolutions as of
            December 3, 2024:

                    WHEREAS, the Directors have considered the financial condition and circumstances of
            the Corporation and its direct and indirect subsidiaries, including without limitation the assets
            and liabilities of the Corporation and its operational performance; and

                    WHEREAS, the Directors have reviewed, considered and received the recommendations
            of the officers of the Corporation and the Corporation’s professional advisors as to the relative
            risks and benefits of bankruptcy proceedings; and

            1.       Filing of Voluntary Petitions Desirable

                    NOW, THEREFORE, BE IT RESOLVED, that the Directors hereby find, determine
            and conclude that it is desirable and in the best interests of the Corporation and its subsidiaries
            and its shareholders, creditors, and other interested parties, including the creditors of the
            Corporation’s subsidiaries that voluntary petitions (the “Voluntary Petitions”) for relief under
            chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”)
            be filed by the Corporation and its U.S. subsidiaries in the United States Bankruptcy Court for
            the District of Delaware (the “Bankruptcy Court”).

            2.       Appointment of Authorized Individuals

                   RESOLVED, that Alfred P. Poor, Ryan Jenkins, Benjamin Wu, any other officer of the
            Corporation that reports directly to one of the foregoing named officers, and any Chief
            Restructuring Officer appointed under the authority of these resolutions (the “Authorized
            Individuals”) be, and hereby are, each authorized to take such actions on behalf of the
            Corporation as are described below.

            3.       Actions by Authorized Individuals

                    RESOLVED, that the Directors hereby authorize and empower any of the Authorized
            Individuals to execute and verify the Voluntary Petitions in the name of the Corporation and its
            filing subsidiaries under chapter 11 of the Bankruptcy Code, and to cause the same to be filed in
            the Bankruptcy Court in such form and at such time as the Authorized Individual(s) executing
            the Voluntary Petitions on behalf of the Corporation and its subsidiaries shall determine, and to
            take such other actions at such times as any of the Authorized Individuals deem necessary,
            appropriate or desirable to cause the preparation and filing of the Voluntary Petitions, schedules,
            statements of financial affairs, lists, affidavits, pleadings and other papers or documents, and to
            take any and all actions which any of the Authorized Individuals deem necessary or proper for
            and on behalf of the Corporation to obtain relief under the Bankruptcy Code, including without

            4856-6585-2402.6
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                               Case 24-12728-CTG         Doc 1   Filed 12/04/24   Page 7 of 122




            limitation depositing the executed Voluntary Petitions, schedules, statement of financial affairs,
            lists, affidavits, pleadings and other papers or documents in the custody of the law firm of Foley
            & Lardner LLP (“Foley & Lardner”), to be held in trust until such time as any of the Authorized
            Individuals instructs Foley, either orally or in writing, to file the Voluntary Petitions and
            schedules, statements of financial affairs, lists, affidavits, pleadings and other papers or
            documents; provided, however, that the filing of such Voluntary Petitions shall be conditioned
            upon: (i) completion of debtor-in possession (“DIP”) financing agreements, or (ii) the filing of an
            involuntary petition or a direct threat of filing an involuntary petition by creditors who have
            already organized themselves to file such an involuntary petition; and be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is, authorized and empowered on behalf of, and in the name of, the Corporation to take such
            actions as any of them deem necessary, appropriate, advisable or desirable to pursue and
            maximize the benefits of the Corporation’s rights in chapter 11, including without limitation: (a)
            making arrangements for use of cash collateral and/or entering into arrangements for financing,
            refinancing, and DIP financing, in such amounts, with such interest rates and with such
            maturities as any of the Authorized Individuals may determine in their discretion, (b) pursuing
            and consummating any sale or sales of the Corporation’s assets any of them deem necessary or
            appropriate, and (c) developing, negotiating, confirming, and performing under a bankruptcy
            plan of reorganization or liquidation, and negotiating, executing and delivering on behalf of the
            Corporation any and all agreements, instruments, and related documents and taking other actions
            that, in the judgment and discretion of any of the Authorized Individuals are necessary,
            appropriate, advisable, or desirable for pursuing and consummating such sale or sales of the
            Corporation’s assets or for such development, negotiation, and confirmation of, and performance
            under, such a bankruptcy plan of reorganization or liquidation, including without limitation
            executing asset purchase agreements, plans, and related documents and filing motions,
            applications and requests for other relief; and be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is authorized to employ the law firm of Foley & Lardner as general bankruptcy counsel to the
            Corporation and its direct and indirect subsidiaries, and to represent and assist the Corporation
            and its direct and indirect subsidiaries in considering restructuring alternatives and in filing the
            Voluntary Petitions under chapter 11 of the Bankruptcy Code and to take any and all actions to
            advance the Corporation’s rights (including, but not limited to, advising the Corporation and/or
            its subsidiaries with respect to the possible sale of assets; advising the Corporation and/or its
            subsidiaries regarding general corporate matters; representing and advising the Corporation
            and/or its subsidiaries in litigation; advising the Corporation and/or its subsidiaries in state and
            federal regulatory matters; advising the Corporation and/or its subsidiaries regarding regarding
            finance matters; advising the Corporation and/or its subsidiaries regarding securities law matters;
            advising the Corporation and/or its subsidiaries regarding labor and employment matters; and
            advising the Corporation and/or its subsidiaries regarding intellectual property matters), and, in
            connection therewith, the Authorized Individuals are authorized and directed to pay appropriate
            retainers prior to and immediately upon the filing of the chapter 11 case, and to cause to be filed
            appropriate applications for authority to retain the services of Foley & Lardner; and be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is, authorized to employ the law firm of Ashby & Geddes, P.A. (“Ashby & Geddes”) as
            Delaware co-counsel to the Corporation and its direct and indirect subsidiaries in Wilmington,
                                                         2
            4856-6585-2402.6
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                               Case 24-12728-CTG         Doc 1   Filed 12/04/24   Page 8 of 122




            Delaware, and to represent and assist the Corporation and its direct and indirect subsidiaries in
            carrying out its duties under chapter 11 of the Bankruptcy Code and to take any and all actions to
            advance the Corporation’s rights, including the preparation of pleadings and filings in the chapter
            11 case, and including matters as to which conflicts counsel becomes necessary or appropriate,
            and in connection therewith, the Authorized Individuals are authorized and directed to pay
            appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and to cause
            to be filed appropriate applications for authority to retain the services of Ashby & Geddes; and
            be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is, authorized to employ Epiq Corporate Restructuring (“Epiq”) as the notice, claims, solicitation,
            and balloting agent in connection with the chapter 11 case commenced by the Corporation and/or
            its direct and indirect subsidiaries under chapter 11 of the Bankruptcy Code, and in connection
            therewith, the Authorized Individuals are authorized and directed to pay appropriate retainers
            prior to and immediately upon the filing of the chapter 11 case, and to cause to be filed
            appropriate applications for authority to retain the services of Epiq; and be it

                    FURTHER RESOLVED, that the Authorized Individuals continues to be, and each of
            them hereby is, authorized to employ Riveron Management Services, LLC (“Riveron”) to
            perform Chief Restructuring Officer and financial advisory services and to cause to be filed
            appropriate applications for authority to retain the services of Riveron, including, without
            limitation, pursuant to Section 363 of the Bankruptcy Code; and be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is, authorized to employ SSG Advisors, LLC (“SSG”) as investment banker and financial
            adviser, to represent and assist the Corporation in considering restructuring alternatives,
            undertaking sales of assets, obtaining financing, and carrying out its duties under the Bankruptcy
            Code, and in connection therewith, the Authorized Individuals are authorized to execute
            appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
            filing of the chapter 11 case, and to cause to be filed appropriate applications for authority to
            retain the services of SSG, including, without limitation, pursuant to Section 327 of the
            Bankruptcy Code; and be it

                    FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
            is, authorized to employ any additional financial advisors, attorneys, or consultants to the
            Corporation as the Authorized Individuals deem necessary, appropriate, advisable or desirable to
            represent and assist the Corporation in considering restructuring alternatives and carrying out its
            duties under the Bankruptcy Code; and in connection therewith, the Authorized Individuals are
            authorized to execute appropriate retention agreements, pay appropriate retainers prior to and
            immediately upon the filing of the chapter 11 case, and cause to be filed appropriate applications
            for authority to retain the services of such additional professionals; and be it

                   FURTHER RESOLVED, that the Authorized Individuals (and such Directors of the
            Corporation or such officers, managers or agents of subsidiaries as the Authorized Individuals
            may from time to time designate) be, and each of them hereby is, authorized and empowered, in
            the name of, and on behalf of the Corporation and its direct and indirect subsidiaries: (a) to take
            or cause to be taken any and all such other and further actions; (b) to do and perform, or cause to
            be done or performed, all such acts and things; (c) to negotiate, execute and deliver, or cause to
                                                                 3
            4856-6585-2402.6
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                               Case 24-12728-CTG         Doc 1   Filed 12/04/24   Page 9 of 122




            be negotiated, executed or delivered, all such further papers, pleadings, documents and
            instruments of any type and description; and (d) to pay, or cause to be paid, any and all fees,
            charges and costs of any type or description, all of which may be, or may be deemed to be,
            necessary, appropriate, advisable, or desirable to effect the purposes and intent of the foregoing
            resolutions, the necessity, propriety, advisability, or desirability of which shall be conclusively
            evidenced by the Authorized Individuals’ taking, or causing to be taken, any such action, doing
            and performing, or causing to be done or performed, any such act or thing, executing and
            delivering, or causing to be executed and delivered, any such papers, pleadings, documents, or
            instruments, or paying, or causing to be paid, any such fees, charges and costs; and the execution
            by any of such Authorized Individuals’ of any such papers, pleadings, documents or instruments,
            or the doing by any of them of any act or thing in connection with any of the matters or things
            contemplated by, arising out of or in connection with, or otherwise relating in any manner
            whatsoever, the subject of the resolutions set forth above, shall conclusively establish their
            authority therefor from the Corporation and the approval and ratification by the Corporation of
            any and all papers, pleadings, documents, and instruments so executed and delivered, and any
            and all action so taken, done or performed.

            4.       Interested Party

                    WHEREAS, it is known to the Directors that Shane McMahon directly or indirectly has
            interests in, and is affiliated with, the proposed counterparty to potential DIP financing
            agreements (the “DIP Agreements”) and a potential asset purchase agreement (the “Purchase
            Agreement”) for the sale of substantially all the assets of the Corporation and certain U.S.
            subsidiaries under Section 363 of the Bankruptcy Code, subject to higher and better bids in a sale
            process; and

                    WHEREAS, as a result of the aforementioned interests, Shane McMahon is (or may be
            deemed to be) an interested party and the DIP Agreements, Purchase Agreement and related
            transactions collectively are (or may be deemed to be) an interested party transaction, in each
            case to the extent such terms or similar terms apply under applicable law; and

                   WHEREAS, each Director is aware of the material facts related to the DIP Agreements,
            Purchase Agreement, related transactions and the aforementioned interests and has had an
            adequate opportunity to ask questions regarding, and investigate the nature of, the relationships
            and/or interests of the interested party in connection with the DIP Agreements, Purchase
            Agreement, related transactions and the aforementioned interests.

                    NOW, THEREFORE, BE IT RESOLVED, that, after considering the foregoing and
            other matters that the Directors deem relevant, the Directors hereby (a) determine the DIP
            Agreements, Purchase Agreement, related transactions and the aforementioned interests are fair,
            just, reasonable, equitable, advisable and in the best interests of the Corporation and its
            shareholders as currently proposed in all material respects and that it is advisable and in the best
            interests of the Corporation and its shareholders that the Corporation continue to pursue the DIP
            Agreements and Purchase Agreement and consummate the related transactions as currently
            proposed in all material respects, subject to the consideration and approval of the Authorized
            Individuals of the final and definitive agreements, and (b) approve the aforementioned interests.



                                                                 4
            4856-6585-2402.6
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                           Case 24-12728-CTG            Doc 1    Filed 12/04/24   Page 10 of 122




            5.       Prior Related Acts

                   FURTHER RESOLVED, that all of the acts and transactions of the Directors and the
            Authorized Individuals relating to matters contemplated by the foregoing resolutions, taken in
            the name of and on behalf of the Corporation, which acts would have been approved by the
            foregoing resolutions except that such acts were taken prior to execution of these resolutions, are
            hereby in all respects confirmed, approved, and ratified.

                                                     [signatures on next page]




                                                                5
            4856-6585-2402.6
Docusign Envelope ID: 4B3463BD-E35F-4496-A71E-4BB517FD5D2B
                           Case 24-12728-CTG            Doc 1   Filed 12/04/24     Page 11 of 122




                                                                BOARD OF DIRECTORS



                                                                Alfred P. Poor



                                                                Shane McMahon*



                                                                James S. Cassano



                                                                Paul Hancock



                                                                Andrea Hayward




            *Director abstains from vote with respect to the DIP financing agreements, Purchase Agreement
            and related matters.

                               [Signature Page to Resolutions Adopted by Unanimous Consent of
                                           the Board of Directors of Ideanomics, Inc.]
            4856-6585-2402.6
           Case 24-12728-CTG     Doc 1   Filed 12/04/24   Page 12 of 122




                                    Rider 1
             Pending Bankruptcy Cases Filed by the Debtor
                      and Affiliates of the Debtor

On the date hereof, each of the entities listed below (collectively, the “Debtors”)
filed a petition in the United States Bankruptcy Court for the District of Delaware
for relief under chapter 11 of title 11 of the United States Code. The Debtors have
moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Ideanomics, Inc.

   •   Ideanomics, Inc.
   •   Wireless Advanced Vehicle Electrification, LLC
   •   Solectrac, Inc.
   •   Timios Holdings Corp.
   •   Justly Holdings, Inc.
   •   Justly Markets LLC
   •   VIA Motors International, Inc.
   •   VIA Motors, Inc.
                                    Case 24-12728-CTG                    Doc 1        Filed 12/04/24                Page 13 of 122


      Fill in this information to Identify the case:

      Debtor Name: Ideanomics, Inc., et al.
                                                                                                                                               Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                    amended filing
      Case Number (If known):       24-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                              services, and         or disputed      setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                     Total claim, if        Deduction          Unsecured claim
                                                                                                                     partially secured      for value of
                                                                                                                                            collateral or
                                                                                                                                            setoff

  1       MORGAN STANLEY DOMESTIC              CONTACT: WENDY      TRADE DEBT                                                                                     $10,134,126.00
          HOLDINGS                             RUSHMORE
          1585 BROADWAY                        WENDY.RUSHMORE@MORG
          NEW YORK, NY 10036                   ANSTANLEY.COM
  2       MHCC DEALER LIABILITY                CONTACT: GARY FURNAS           FLOOR PLAN                                                                           $9,171,647.75
          800 CONNECTICUT AVENUE 4N            PHONE: (817) 402-4572          LENDER
          NORWALK, CT 06854                    GFURNAS@MHCCNA.COM
  3       ARNOLD & PORTER KAYE SCHOLER         CONTACT: RICHARD M     TRADE DEBT                                                                                   $5,059,844.01
          LLP                                  ALEXANDER
          P.O. BOX 759451                      PHONE: (212) 836-8000
          BALTIMORE, MD 21275-9451             INVOICE@ARNOLDPORTER.C
                                               OM
  4       JING-JIN ELECTRIC NORTH              CONTACT: STEVEN DENNIS  TRADE DEBT                                                                                  $3,988,509.60
          AMERICA, LLC                         PHONE: 586-292-0508
          34700 GRAND RIVER AVE.               STEVEN.DENNIS@JJECN.COM
          FARMINGTON, MI 48335
  5       BLUE SEA ADVISORS LLC                CONTACT: GARY ROSE     TRADE DEBT                                                                                   $2,450,000.00
          295 PALMAS INN WAY                   PHONE: 7876918882
          HUMACAO, PR 00791                    NPENALVERT@BLUESEAADVI
                                               SORSLLC.COM
  6       AUTOLIV ASP, INC.                    CONTACT: KEVIN R FOX   TRADE DEBT                                                                                   $1,567,010.00
          1320 PACIFIC DR.                     PHONE: 248-276-3726
          AUBURN HILL, MI 48326                HELPDESK.ADMIN@AUTOLIV
                                               .COM
  7       SECURITIES & EXCHANGE                                               TRADE DEBT                                                                           $1,400,000.00
          COMMISSION




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                           Page 1
                                 Case 24-12728-CTG               Doc 1        Filed 12/04/24                Page 14 of 122
  Debtor: Ideanomics, Inc., et al.                                                            Case Number (if known): 24-_____
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                      services, and         or disputed      setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                             Total claim, if        Deduction          Unsecured claim
                                                                                                             partially secured      for value of
                                                                                                                                    collateral or
                                                                                                                                    setoff

  8     RICARDO INC.                       CONTACT: RICK; DAVID   TRADE DEBT                                                                               $1,197,483.50
        40000 RICARDO DR.                  SHEMMANS
        VAN BUREN TWP, MI 48111            PHONE: 734-394-3942
                                           INFO@RICARDO.COM;
                                           DAVID.MCSHANE@RICARDO.
                                           COM
  9     JVIS USA                           CONTACT: ARTHUR            TRADE DEBT                                                                           $1,047,350.00
        52048 SHELBY PARKWAY               HARISKOS
        SHELBY TOWNSHIP, MI 48315          PHONE: 586-884-5700
                                           INFO@JVISUSALLC.COM
  10    FTI CONSULTING                     CONTACT: MICHAEL       TRADE DEBT                                                                                 $822,162.09
        16701 MELFORD BLVD                 MALONEY
        BOWIE, MD 20715                    PHONE: 1 202 312
                                           9225(MICHAEL MALONEY)
                                           MICHAEL.MALONEY@FTICO
                                           NSULTING.COM,
                                           ACCOUNTING@FTICONSULTI
                                           NG.COM
  11    HUGH VERRIER                       CONTACT: HUGH VERRIER      TRADE DEBT                                                                             $756,195.17
        609 MAIN ST. STE 2900              PHONE: 713-496-9700
        HOUSTON, TX 77002                  HVERRIER@WHITECASE.CO
                                           M
  12    VENABLE LLP                        CONTACT: STUART P. INGIS   TRADE DEBT                                                                             $702,576.42
        750 E. PRATT ST.                   PHONE: 410-244-7400
        BALTIMORE, MD 21202                SINGIS@VENABLE.COM
  13    MITSTUBISHI HC CAPITAL AMERICA     CONTACT: GARY FURNAS       FLOOR PLAN                                                                             $683,012.87
        801 CONNECTICUT AVENUE 4N          PHONE: (817) 402-4572      LENDER
        NORWALK, CT 06855                  GFURNAS@MHCCNA.COM
  14    BREMBO NORTH AMERICA               CONTACT: STEPHANE          TRADE DEBT                                                                             $680,793.90
        47765 HALYARD DR.                  ROLLAND
        PLYMOUTH, MI 48170                 PHONE: 734-892-9280
                                           JCONARD@US.BREMBO.CO
                                           M
  15    K&L GATES                          CONTACT: PALLAVI MEHTA  TRADE DEBT                                                                                $664,365.57
        925 4TH AVE                        WAHI
        SEATTLE, WA 98104                  PHONE: 206.623.7580
                                           FAX: 206.623.7022
                                           PALLAVI.WAHI@KLGATES.CO
                                           M
  16    GOOGLE LLC                         CONTACT: SUNDAR PICHAI     TRADE DEBT                                                                             $648,836.24
        1600 AMPHITHEATRE PKWY             PHONE: (650) 253-0001
        MOUNTAIN VIEW, CA 94043            FAX: 650-253-0001
                                           COLLECTIONS@GOOGLE.CO
                                           M
  17    LINDY-AUBURN HILLS LLC             CONTACT: FRANK LINDY  RENT                                                                                        $594,189.40
        309 YORK RD, STE 211               PHONE: 215-886-8030
        JENKINTOWN, PA 19046               FAX: 215-543-7546
                                           INFO@COMEHOMETOLINDY.
                                           COM
  18    STEPHEN HECKEROTH NOTE             CONTACT: STEPHEN           TRADE DEBT                                                                             $548,098.95
        30151 NAVARO RIDGE RD              HECKEROTH
        ALBION, CA 95410                   PHONE: 916-913-1251
                                           STEVE@RENEWABLE.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 2
                                 Case 24-12728-CTG               Doc 1       Filed 12/04/24                Page 15 of 122
  Debtor: Ideanomics, Inc., et al.                                                           Case Number (if known): 24-_____
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if      Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                     services, and         or disputed      setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                            Total claim, if        Deduction          Unsecured claim
                                                                                                            partially secured      for value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

  19    ROBERT BOSCH LLC                   CONTACT: MARKUS HEYN  TRADE DEBT                                                                                 $548,000.00
        38000 HILLS TECH DR                PHONE: 248-514-4394
        FARMINGTON HILLS, MI 48331         OPENSOURCE@BOSCH.COM;
                                           CLASSIC@BOSCH.COM
  20    WILMER CUTLER PICKERING HALE       CONTACT: JAMES E      TRADE DEBT                                                                                 $507,918.60
        AND DORR LLP                       ANDERSON
        1875 PENNSYLVANIA AVE NW           PHONE: (800) 526-6682
        WASHINGTON DC, DE 00000            WHCASSUPPORT@WILMERH
                                           ALE.COM
  21    DARRAH ELECTRIC COMPANY            CONTACT: DIANA DARRAH TRADE DEBT                                                                                 $471,208.25
        34700 GRAND RIVER AVE.             PHONE: 586-292-0508
        FARMINGTON, MI 48335               DIANA.DARRAH@DARRAHEL
                                           ECTRIC.COM
  22    HOLMAN FLEET LEASING               CONTACT: DAVE             LEASE PAYMENT                                                                          $462,230.97
        4001 LEADENHALL RD                 NEMEROFSKY
        MOUNT LAUREL, NJ 08054-4611        PHONE: (856)-663-5200
                                           DNEMEROFSKY@HOLMANE
                                           NTERPRISES.COM
  23    CARRARO SPA - DIVISIONE            CONTACT: ANDREA           TRADE DEBT                                                                             $429,611.60
        AGRITALIA                          CONCHETTO
        VIALE DEL LAVORO, 1 - 45100        PHONE: +39 0425 403611
        ROVIGO, ITALIA                     AGRITALIA@CARRARO.COM
        ROVIGO 00000
        ITALY
  24    CBIZ MARKS PANETH, LLC             CONTACT: BRIAN FOX, CFO   TRADE DEBT                                                                             $420,018.00
        PO BOX 411222                      PHONE: (212) 503-8800
        BOSTON, MA 02241-1222              FAX: (212) 370-3759
                                           CLAIMS@CBIZ.COM
  25    UHY ADVISORS INC.                  CONTACT: LORI KERCH &     TRADE DEBT                                                                             $381,036.88
        27725 STANSBURY BLVD               BILL KINGSLEY
        FARMINGTON HILLS, MI 48334         PHONE: 248-355-1040
                                           WKINGSLEY@UHY-US.COM
  26    MIZE, INC.                         CONTACT: DEAN TENNISON    TRADE DEBT                                                                             $376,390.00
        12802 TAMPA OAKS BLVD, SUITE       DEAN@SPECIALTYAS.COM
        320
        TEMPLE TERRACE, FL 33637
  27    TOPPAN MERRILL LLC (CORP)          CONTACT: JOANN KERN    TRADE DEBT                                                                                $356,468.25
        1502 ENERGY PARK DRIVE             PHONE: 651-646-4502
        ST PAUL, MN 55109                  TMBILLING@TOPPANMERRIL
                                           L.COM
  28    SPEYSIDE ADVISORS LLC              CONTACT: DANIEL ALLEN     TRADE DEBT                                                                             $305,623.92
        1910 PACIFIC AVENUE                GILLETT
        DALLAS, TX 75201                   PHONE: 2142288732
                                           DGILLETT@SPEYSIDEADVISO
                                           RS.COM
  29    ROBINHOOD MARKETS, INC.            CONTACT: VLADIMIR TENEV TRADE DEBT                                                                               $303,728.08
        85 WILLOW ROAD                     PHONE: 8583376664
        MENLO PARK, CA 94025               BILLING@SAYTECHNOLOGIES
                                           .COM
  30    ARENT FOX LLP                      CONTACT: BRIAN P.         TRADE DEBT                                                                             $298,465.32
        1717 K STREET NW                   WALDMAN
        WASHINGTON, DC 20006-5344          PHONE: 202-857-6384
                                           FAX: 202.857.6395




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
                                   Case 24-12728-CTG                   Doc 1    Filed 12/04/24       Page 16 of 122
Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       Ideanomics, Inc.                                                                            Case No.
                                                                               Debtor(s)                 Chapter      11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 837852 .

2. The following financial data is the latest available information and refers to the debtor's condition on            12/31/2023    .

 a. Total assets                                                                                     $                553,411,960.00

 b. Total debts (including debts listed in 2.c., below)                                              $                  57,854,599.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated               $                3,700,000.00                             0

 secured                 unsecured                   subordinated               $                8,900,000.00                             0

 secured                 unsecured                   subordinated               $                         0.00                            0

 secured                 unsecured                   subordinated               $                         0.00                            0
 secured                 unsecured                   subordinated               $                         0.00                            0

 d. Number of shares of preferred stock                                                                         0                            0

 e. Number of shares common stock                                                                               0                            0
    Comments, if any:


3. Brief description of Debtor's business:
   The Debtors are electric vehicle and technology companies that develop and manufacture local and last-mile electric
   delivery vehicles and associated charging products for last- and middle-mile electric delivery vehicles.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   None




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com
                          Case 24-12728-CTG                  Doc 1       Filed 12/04/24           Page 17 of 122


                                              United States Bankruptcy Court
                                                                   Delaware
In re: Ideanomics, Inc.                                                                               Case No.
                                                                    Debtor(s)
                                                                                                      Chapter     11


                                     LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
Bankruptcy Procedure for filing in this Chapter 11 Case.

Name and last known address or place of                                         Certificate #               Shares               Class
business of holder
IDEANOMICS ESCROW FBO SPECIAL INDEMNITY ESCROW                                  BOOK-2963                 21,481,697       Common Stock

FAST BALANCE CEDE & CO                                                          BOOK-2977                 17,234,041       Common Stock
CENTRAL DELIVERY - OUT TRANSFER
DEPT 570 WASHINGTON BLVD
JERSEY CITY, NJ 07310

ARNOLD, WALTER                                                                  BOOK-2927                   1,204,426      Common Stock
[ADDRESS REDACTED]

IDEANOMICS RESERVE FBO SIE ESCROW                                               PREF C BOOK-                  463,084      Preferred Stock
                                                                                1001

ACORN MANAGEMENT PARTNERS LLC                                                   BOOK-2885                     400,000      Common Stock
4080 MCGINNIS FERRY RD #1101
ALPHARETTA, GA 30005

FON CONSULTING LLC                                                              BOOK-2888                     300,000      Common Stock
1460 BROADWAY
NEW YORK, NY 10036

3I LP                                                                           BOOK-2958                     262,495      Common Stock
874 WALKER RD, STE C
DOVER, DE 19904

OSIRIUS GROUP LLC                                                               BOOK-2962                     250,000      Common Stock
725 S ADAMS RD, #205
BIRMINGHAM, MI 48009

KURIAN, ANDREW                                                                  BOOK-2626                     212,546      Common Stock
[ADDRESS REDACTED]
SKYYA LLC                                                                       BOOK-2959                     208,704      Common Stock
12800 WHITEWATER DR, STE 100
MINNETONKA, MN 55343

GLOBAL ONE MEDIA LIMITED                                                        BOOK-2954                     100,000      Common Stock
UNIT 1603, 16TH FL, THE L PLAZA
367-375 QUEENS RD CENTRAL
SHEUNG WAN
HONG KONG
HONG KONG




Sheet 1 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 18 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

GEG CONTROLADORA SAPL DE CV                                         BOOK-2511               80,189   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         BOOK-2483               78,974   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

IDEANOMICS ESCROW FO VIA SHAREHOLDERS 3/9/2023                      PREF C BOOK-            63,221   Preferred Stock
1441 BROADWAY, STE 5116                                             1601
NEW YORK, NY 10018

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            53,956   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1306
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            53,138   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1180
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

MCMAHON, SHANE                                                      BOOK-1325               40,678   Common Stock
[ADDRESS REDACTED]
GEG CONTROLADORA SAPL DE CV                                         BOOK-2377               33,889   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            22,803   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1182
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

IDEANOMICS RESERVE FBO NWC                                          PREF C BOOK-            19,817   Preferred Stock
                                                                    1000




Sheet 2 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 19 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares         Class
business of holder

ROSEWORTH INVESTMENTS LTD                                           2314                    17,737   Common Stock
1441 BROADWAY, STE 5116
NEW YORK, NY 10013

GEG CONTROLADORA SAPL DE CV                                         BOOK-2547               16,945   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         BOOK-2549               15,708   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         BOOK-2546               15,559   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         BOOK-2548               14,524   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

KESEF INVESTMENTS LLC                                               BOOK-2666               14,020   Common Stock
C/O MARC ABRAMOWITZ
3605 GLENWOOD AVE
RALEIGH, NC 27612

IDEANOMICS ESCROW FO VIA SHAREHOLDERS 3/9/2023                      BOOK-2952               13,446   Common Stock
1441 BROADWAY, STE 5116
NEW YORK, NY 10018

SULLIVAN, JOHN A                                                    BOOK-2264               13,389   Common Stock
[ADDRESS REDACTED]

SUN SEVEN STARS INVESTMENT GROUP LTD                                2343                    13,220   Common Stock
1441 BROADWAY, STE 5116
NEW YORK 10013

BISKE, DAVID                                                        BOOK-2930               12,000   Common Stock
[ADDRESS REDACTED]



Sheet 3 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 20 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            11,401      Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1344
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

MONELLO, MARIO                                                      BOOK-2430               11,227      Common Stock
[ADDRESS REDACTED]

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            10,569      Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1346
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-            10,469      Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1343
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                9,773   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1345
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

KESEF INVESTMENTS LLC                                               PREF C BOOK-                9,434   Preferred Stock
C/O MARC ABRAMOWITZ                                                 1493
3605 GLENWOOD AVE
RALEIGH, NC 27612

GEG CONTROLADORA SAPL DE CV                                         BOOK-2510                   9,076   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

SULLIVAN, JOHN A                                                    PREF C BOOK-                9,009   Preferred Stock
[ADDRESS REDACTED]                                                  1544

MONELLO, MARIO                                                      PREF C BOOK-                7,554   Preferred Stock
[ADDRESS REDACTED]                                                  1236




Sheet 4 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 21 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

GEG CONTROLADORA SAPL DE CV                                         BOOK-2376                   7,262   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

MARY PERRITON TRUSTEE OF THE PERRITON FAMILY IRREVOCABLE            BOOK-2317                   6,320   Common Stock
PROTECTION TRUST DATED 03/22/2016
285 STONE GATE LN
PROVO, UT 84604

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                6,106   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1305
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

THE JOHN & NANCY MONTGOMERY LIVING TRUST                            BOOK-2469                   5,852   Common Stock
[ADDRESS REDACTED]
CHONGQING CAIJU INVESTMENT LTD                                      2315                        5,322   Common Stock
NO 4 DRIVE-IN MOVIE THEATER PARK NO 21
LIANGMAQUIO RD
CHAOYANG DISTRICT
BEIJING
CHINA

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                4,886   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1181
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

WILLIAMS, QUINN                                                     BOOK-2849                   4,721   Common Stock
[ADDRESS REDACTED]

RICHARD D AND GISSA R CLAYTON AS JTS                                BOOK-2318                   4,424   Common Stock
[ADDRESS REDACTED]
VANGUARD INVESTMENTS LLC                                            BOOK-2524                   4,424   Common Stock
ATTN GISSA CLAYTON
1383 S CHANCELLOR CIR
SALT LAKE CITY, UT 84108

MARY PERRITON TRUSTEE OF THE PERRITON FAMILY IRREVOCABLE            PREF C BOOK-                4,252   Preferred Stock
PROTECTION TRUST DATED 03/22/2016                                   1100
285 STONE GATE LN
PROVO, UT 84604

Sheet 5 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 22 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

PLEASANT LAKE HOLDINGS LLC                                          BOOK-2442                   4,214   Common Stock
3966 PLEASANT LAKE RD
ANN ARBOR, MI 48103

THE JOHN & NANCY MONTGOMERY LIVING TRUST                            PREF C BOOK-                3,937   Preferred Stock
[ADDRESS REDACTED]                                                  1278

ROCKWORKS L AND LCC                                                 2400                        3,777   Common Stock
ATTN GARY & ROBERT REYNOLDS
68915 S 700 W, STE 100
MIDVALE, UT 84047

RAY DEGENNARO RAYMAR ASSOCIATES LP                                  BOOK-2583                   3,658   Common Stock
ATTN RAY DEGENNARO
152 VALLEY HILL DR
MORAGA, CA 94556

HIGGINSON, KRAIG                                                    BOOK-2561                   3,631   Common Stock
[ADDRESS REDACTED]

KURTZ, RICHARD                                                      BOOK-2332                   3,631   Common Stock
[ADDRESS REDACTED]

PLEASANT LAKE HOLDINGS LLC                                          BOOK-2441                   3,631   Common Stock
3966 PLEASANT LAKE RD
ANN ARBOR, MI 48103

MARY PERRITON TRUSTEE OF THE PERRITON FAMILY IRREVOCABLE            BOOK-2600                   3,493   Common Stock
PROTECTION TRUST DATED 03/22/2016
285 STONE GATE LN
PROVO, UT 84604

COGEN, JACK                                                         BOOK-2870                   3,450   Common Stock
[ADDRESS REDACTED]
COGEN, JACK                                                         BOOK-2870                   3,450   Common Stock
[ADDRESS REDACTED]

COGEN, JACK                                                         BOOK-2870                   3,450   Common Stock
[ADDRESS REDACTED]

KENT WLIIAMS, TRUSTEE FBO VISTA ASSET MANAGEMENT LLC                PREF C BOOK-                3,218   Preferred Stock
INDIVIDUAL 401K CATHERINE WILLIAMS                                  1215
6 KATRINA CT
ORINDA, CA 94563

POOR, ALFRED                                                        BOOK-2033                   3,200   Common Stock
[ADDRESS REDACTED]


Sheet 6 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 23 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

WILLIAMS, QUINN                                                     PREF C BOOK-                3,176   Preferred Stock
[ADDRESS REDACTED]                                                  1289

KENT & CATHERINE WILLIAMS TRUST                                     PREF C BOOK-                3,080   Preferred Stock
[ADDRESS REDACTED]                                                  1212

RICHARD D AND GISSA R CLAYTON AS JTS                                PREF C BOOK-                2,976   Preferred Stock
[ADDRESS REDACTED]                                                  1110

VANGUARD INVESTMENTS LLC                                            PREF C BOOK-                2,976   Preferred Stock
ATTN GISSA CLAYTON                                                  1319
1383 S CHANCELLOR CIR
SALT LAKE CITY, UT 84108

PLEASANT LAKE HOLDINGS LLC                                          PREF C BOOK-                2,835   Preferred Stock
3966 PLEASANT LAKE RD                                               1251
ANN ARBOR, MI 48103

ROCKWORKS L AND LCC                                                 PREF C BOOK-                2,541   Preferred Stock
ATTN GARY & ROBERT REYNOLDS                                         1263
68915 S 700 W, STE 100
MIDVALE, UT 84047

HYNES, JOHN                                                         BOOK-2595                   2,497   Common Stock
[ADDRESS REDACTED]

MONELLO, MARIO                                                      BOOK-2429                   2,470   Common Stock
[ADDRESS REDACTED]

RAY DEGENNARO RAYMAR ASSOCIATES LP                                  PREF C BOOK-                2,461   Preferred Stock
ATTN RAY DEGENNARO                                                  1381
152 VALLEY HILL DR
MORAGA, CA 94556

HIGGINSON, KRAIG                                                    PREF C BOOK-                2,443   Preferred Stock
[ADDRESS REDACTED]                                                  1358

KURTZ, RICHARD                                                      PREF C BOOK-                2,443   Preferred Stock
[ADDRESS REDACTED]                                                  1149

PLEASANT LAKE HOLDINGS LLC                                          PREF C BOOK-                2,443   Preferred Stock
3966 PLEASANT LAKE RD                                               1250
ANN ARBOR, MI 48103

IVANOVA, SVITLANA                                                   BOOK-1624                   2,400   Common Stock
[ADDRESS REDACTED]




Sheet 7 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 24 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

MARY PERRITON TRUSTEE OF THE PERRITON FAMILY IRREVOCABLE            PREF C BOOK-                2,350   Preferred Stock
PROTECTION TRUST DATED 03/22/2016                                   1395
285 STONE GATE LN
PROVO, UT 84604

SUN SEVEN STARS INVESTMENT GROUP LTD                                2344                        2,344   Common Stock
1441 BROADWAY, STE 5116
NEW YORK 10013

LYNN FOLEY FOLEY & MANSFIELD PSB, FBO STEPHEN J FOLEY               BOOK-2694                   2,269   Common Stock
[ADDRESS REDACTED]

HONG, CHEN                                                          2318                        2,233   Common Stock
[ADDRESS REDACTED]

GEG CONTROLADORA SAPI DE CV                                         BOOK-2695                   2,215   Common Stock
ATTN RAUL MENDEZ
BOSQUES DE CIRUELOS 160, PISO 4
BOSQUES DE LAS LOMAS, MEXICO DF 11700
MEXICO

KESEF INVESTMENTS LLC                                               BOOK-2705                   2,179   Common Stock
C/O MARC ABRAMOWITZ
3605 GLENWOOD AVE
RALEIGH, NC 27612

SULLIVAN, JOHN A                                                    BOOK-2747                   2,179   Common Stock
[ADDRESS REDACTED]

ROCKWORKS L AND LCC                                                 2399                        1,889   Common Stock
ATTN GARY & ROBERT REYNOLDS
68915 S 700 W, STE 100
MIDVALE, UT 84047

SC VIA TECHNOLOGY HOLDINGS LLC                                      PREF C BOOK-                1,832   Preferred Stock
ATTN FAITH LEE / MICHAEL DIMEO                                      1399
1299 OCEAN AVE, STE 210
SANTA MONICA, CA 90401

G2 VENTURE PARTNERS LLC                                             BOOK-2374                   1,816   Common Stock
ATTN EDWARD GIBSTEIN
72 THE GLEN
GLEN HEAD, NY 11545

GUILE, PETER                                                        BOOK-2616                   1,816   Common Stock
[ADDRESS REDACTED]




Sheet 8 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG             Doc 1   Filed 12/04/24          Page 25 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

PLEASANT LAKE HOLDINGS LLC                                          BOOK-2440                   1,816   Common Stock
3966 PLEASANT LAKE RD
ANN ARBOR, MI 48103

BUSINESS VALUE PARTNERS LLC                                         BOOK-2783                   1,815   Common Stock
ATTN PABLO ACEDO ALBERT EINSTEIN
77 PASEO DE LAS LOMAS
CIUDAD DE MEXICO 01330
MEXICO

CHONGQUING CITY QUFEI COMMERCIAL LTD                                2316                        1,774   Common Stock
NO 4 DRIVE-IN MOVIE THEATER PARK NO 21
LIANGMAQUIO RD
CHAOYANG DISTRICT
BEIJING
CHINA

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           BOOK-2643                   1,732   Common Stock
[ADDRESS REDACTED]
GEG CONTROLADORA SAPL DE CV                                         BOOK-2550                   1,730   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

PRIMARY COLORS LLC                                                  BOOK-2736                   1,684   Common Stock
ATTN TY MATTINGLY
22 W 620
SOUTH OREM, UT 84058

HYNES, JOHN                                                         PREF C BOOK-                1,680   Preferred Stock
[ADDRESS REDACTED]                                                  1329

MONELLO, MARIO                                                      PREF C BOOK-                1,661   Preferred Stock
[ADDRESS REDACTED]                                                  1235

WEIPING, KOU                                                        2325                        1,600   Common Stock
[ADDRESS REDACTED]

LYNN FOLEY FOLEY & MANSFIELD PSB, FBO STEPHEN J FOLEY               PREF C BOOK-                1,527   Preferred Stock
[ADDRESS REDACTED]                                                  1473

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                1,490   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1474
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

Sheet 9 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 26 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

KESEF INVESTMENTS LLC                                               PREF C BOOK-                1,466   Preferred Stock
C/O MARC ABRAMOWITZ                                                 1495
3605 GLENWOOD AVE
RALEIGH, NC 27612

SULLIVAN, JOHN A                                                    PREF C BOOK-                1,466   Preferred Stock
[ADDRESS REDACTED]                                                  1546

HAL PETTIGREW CROWN OAKDS INC                                       BOOK-2613                   1,463   Common Stock
PROFIT SHARING PLAN & TRUST
ATTN CHARLEY PETTIGREW
2121 N AKARD, STE 250
DALLAS, TX 75201
KENT WILLIAMS, TRUSTEE FBO VISTA ASSET MANAGEMENT LLC               PREF C BOOK-                1,446   Preferred Stock
INDIVIDUAL 401K                                                     1216
6 KATRINA CT
ORINDA, CA 94563

GEG CONTROLADORA SAPL DE CV                                         BOOK-2551                   1,297   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

ROCKWORKS L AND LCC                                                 PREF C BOOK-                1,270   Preferred Stock
ATTN GARY & ROBERT REYNOLDS                                         1262
68915 S 700 W, STE 100
MIDVALE, UT 84047

THOMAS, BRIAN                                                       BOOK-2471                   1,248   Common Stock
[ADDRESS REDACTED]

BUSINESS VALUE PARTNERS LLC                                         PREF C BOOK-                1,222   Preferred Stock
ATTN PABLO ACEDO ALBERT EINSTEIN                                    1565
77 PASEO DE LAS LOMAS
CIUDAD DE MEXICO 01330
MEXICO
COGEN, JACK                                                         PREF C BOOK-                1,222   Preferred Stock
[ADDRESS REDACTED]                                                  1171

G2 VENTURE PARTNERS LLC                                             PREF C BOOK-                1,222   Preferred Stock
ATTN EDWARD GIBSTEIN                                                1178
72 THE GLEN
GLEN HEAD, NY 11545

GUILE, PETER                                                        PREF C BOOK-                1,222   Preferred Stock
[ADDRESS REDACTED]                                                  1409
Sheet 10 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 27 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

HOLDER, JOHN T                                                      BOOK-2562                   1,222   Common Stock
[ADDRESS REDACTED]

PARKER, MICHAEL A                                                   PREF C BOOK-                1,222   Preferred Stock
[ADDRESS REDACTED]                                                  1244

PLEASANT LAKE HOLDINGS LLC                                          PREF C BOOK-                1,222   Preferred Stock
3966 PLEASANT LAKE RD                                               1249
ANN ARBOR, MI 48103

GUERRA RUANO, MAURICIO HUMBERTO                                     BOOK-2486                   1,211   Common Stock
[ADDRESS REDACTED]

GUERRA RUANO, MONICA MARIA                                          BOOK-2397                   1,211   Common Stock
[ADDRESS REDACTED]

EDWARD GIBSTEIN AVCO HOLDINGS LLC                                   BOOK-2854                   1,182   Common Stock
ATTN EDWARD GIBSTEIN
72 THE GLEN
GLEN HEAD, NY 11545

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           PREF C BOOK-                1,165   Preferred Stock
[ADDRESS REDACTED]                                                  1436
GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                1,163   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1347
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

PRIMARY COLORS LLC                                                  PREF C BOOK-                1,133   Preferred Stock
ATTN TY MATTINGLY                                                   1532
22 W 620
SOUTH OREM, UT 84058

REYNOLDS, GARY                                                      2405                        1,133   Common Stock
[ADDRESS REDACTED]

MARY PURCELL MARY F PURCELL REVOCABLE LIVING TRUST                  BOOK-2423                   1,131   Common Stock
[ADDRESS REDACTED]

KESEF INVESTMENTS LLC                                               BOOK-2704                   1,089   Common Stock
C/O MARC ABRAMOWITZ
3605 GLENWOOD AVE
RALEIGH, NC 27612

SULLIVAN, JOHN A                                                    BOOK-2672                   1,089   Common Stock
[ADDRESS REDACTED]


Sheet 11 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 28 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares             Class
business of holder

MCMAHON, SHANE                                                      Y-2002                      1,067   Common Stock
[ADDRESS REDACTED]

MONELLO, MARIO                                                      BOOK-2428                   1,038   Common Stock
[ADDRESS REDACTED]

HAL PETTIGREW CROWN OAKDS INC                                       PREF C BOOK-                 984    Preferred Stock
PROFIT SHARING PLAN & TRUST                                         1406
ATTN CHARLEY PETTIGREW
2121 N AKARD, STE 250
DALLAS, TX 75201

MULLARD INVESTMENTS LLC                                             PREF C BOOK-                 984    Preferred Stock
ATTN DAVID G MULLARD                                                1239
7600 E DOUBLETREE RAND RD, #150
SCOTTSDALE, AZ 85258

SANSONE, PAUL                                                       BOOK-2456                    934    Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2622                    908    Common Stock
[ADDRESS REDACTED]

GOLDAM, HARVEY                                                      BOOK-2554                    908    Common Stock
[ADDRESS REDACTED]

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  BOOK-2626                    908    Common Stock
ATTN KELLY TRIMBLE
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  BOOK-2625                    908    Common Stock
ATTN KELLY TRIMBLE
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  BOOK-2623                    908    Common Stock
ATTN KELLY TRIMBLE
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  BOOK-2624                    908    Common Stock
ATTN KELLY TRIMBLE
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KURTZ, RICHARD                                                      BOOK-2331                    908    Common Stock
[ADDRESS REDACTED]


Sheet 12 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 29 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

SATCO INTERNATIONAL LTD                                             BOOK-2587                   899   Common Stock
P.O. BOX 111
SMOOT, WY 83126

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                873   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1348
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

GEG CONTROLADORA SAPL DE CV                                         BOOK-2552                   865   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

THE SPAVENTA GROUP LLC                                              PREF C BOOK-                855   Preferred Stock
3275 VETERANS MEMORIAL HWY, STE B9                                  1388
RONKONKOMA, NY 11779

FNL TECHNOLOGIES INC                                                BOOK-1630                   848   Common Stock
5 SANGER CIR
DOVER, MA 02030

ALAN J PERRITON LLC                                                                             843   Common Stock
285 STONE GATE LN                                                   BOOK-2312
PROVO, UT 84604

ALANA K CORR LLC                                                                                843   Common Stock
ALAN PERRITON 285 STONE GATE LN                                     BOOK-2313
PROVO, UT 84604

CYRUS INVESTMENTS LLC                                               BOOK-2311                   843   Common Stock
ATTN ANDREW CLAYTON
218 S OAKLAND AVE
PASADENA, CA 91101

JOHN H PERRITON LLC                                                 BOOK-2315                   843   Common Stock
ATTN ALAN PERRITON
285 STONE GATE LN
PROVO, UT 84604

NATHAN J PERRITON LLC                                               BOOK-2316                   843   Common Stock
285 STONE GATE LN
PROVO, UT 84604




Sheet 13 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 30 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

NICOLE M BERGEN LLC                                                 BOOK-2314                   843   Common Stock
ATTN ALAN PERRITON
285 STONE GATE LN
PROVO, UT 84604

SAFFRON INVESTMENTS LLC                                             BOOK-2520                   843   Common Stock
ATTN VANESSA CLAYTON
668 6TH AVE
SALT LAKE CITY, UT 84103

THOMAS, BRIAN                                                       PREF C BOOK-                839   Preferred Stock
[ADDRESS REDACTED]                                                  1280

HOLDER, JOHN T                                                      PREF C BOOK-                822   Preferred Stock
[ADDRESS REDACTED]                                                  1359

GUERRA RUANO, MONICA MARIA                                          PREF C BOOK-                814   Preferred Stock
[ADDRESS REDACTED]                                                  1202
BUXBAUM, JAY & REBECCA                                              BOOK-2968                   811   Common Stock
[ADDRESS REDACTED]

EDELSON, HARRY                                                      BOOK-1741                   800   Common Stock
[ADDRESS REDACTED]

TAGARIS, GREGORY                                                    Y-2150                      800   Common Stock
[ADDRESS REDACTED]

DYLAN J FOLEY 2021 IRREVOCABLE TRUST U/A/D 10/19/2021               BOOK-2693                   785   Common Stock
ATTN AMY E KOSKI, TRUSTEE
1975 WATERTOWN RD
LONG LAKE, MN 55356

KAITLYN R FOLEY IRREVOCABLE TRUST U/A/D 10/19/2021                  BOOK-2703                   785   Common Stock
ATTN AMY E KOSKI, TRUSTEE
1975 WATERTOWN RD
LONG LAKE, MN 55356

SINGER, SHARON                                                      BOOK-2462                   779   Common Stock
[ADDRESS REDACTED]

VERITION MULTI STRATEGY MASTER FUND                                 BOOK-2752                   778   Common Stock
ATTN WILLIAM ANDERSON
1 AMERICAN LN
GREENWICH, CT 6831

REYNOLDS, GARY                                                      PREF C BOOK-                762   Preferred Stock
[ADDRESS REDACTED]                                                  1258


Sheet 14 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 31 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

MARY PURCELL MARY F PURCELL REVOCABLE LIVING TRUST                  PREF C BOOK-                761   Preferred Stock
[ADDRESS REDACTED]                                                  1229

COGEN, JACK                                                                                     733   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1568

KESEF INVESTMENTS LLC                                               PREF C BOOK-                733   Preferred Stock
C/O MARC ABRAMOWITZ                                                 1494
3605 GLENWOOD AVE
RALEIGH, NC 27612

SULLIVAN, JOHN A                                                    PREF C BOOK-                733   Preferred Stock
[ADDRESS REDACTED]                                                  1545

CAROLYN A PARRACK PARRACK BYPASS TRUST                              BOOK-2630                   732   Common Stock
[ADDRESS REDACTED]

NATHAN LAUFER LAUFER FAMILY TRUST                                   BOOK-2414                   732   Common Stock
[ADDRESS REDACTED]

OLSSON, CLAES                                                       BOOK-2627                   732   Common Stock
[ADDRESS REDACTED]
CKC HOLDINGS LLC                                                    BOOK-2654                   731   Common Stock
ATTN CASEY CHRISTENSEN
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

CKC HOLDINGS LLC                                                    BOOK-2654                   731   Common Stock
ATTN CASEY CHRISTENSEN
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

SWIFT, JOSEPH & CATHY                                               BOOK-2467                   727   Common Stock
[ADDRESS REDACTED]

INTRATOR, MICHAEL                                                   BOOK-2700                   726   Common Stock
[ADDRESS REDACTED]

PRIMARY COLORS LLC                                                  BOOK-2735                   702   Common Stock
ATTN TY MATTINGLY
22 W 620
SOUTH OREM, UT 84058

MONELLO, MARIO                                                      PREF C BOOK-                698   Preferred Stock
[ADDRESS REDACTED]                                                  1234



Sheet 15 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 32 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                630   Preferred Stock
40 RECTOR ST, STE 1020                                              1517
NEW YORK, NY 10006

SANSONE, PAUL                                                       PREF C BOOK-                628   Preferred Stock
[ADDRESS REDACTED]                                                  1265

[NAME REDACTED]                                                     PREF C BOOK-                611   Preferred Stock
[ADDRESS REDACTED]                                                  1415

GOLDAM, HARVEY                                                      PREF C BOOK-                611   Preferred Stock
[ADDRESS REDACTED]                                                  1351

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  PREF C BOOK-                611   Preferred Stock
ATTN KELLY TRIMBLE                                                  1418
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  PREF C BOOK-                611   Preferred Stock
ATTN KELLY TRIMBLE                                                  1419
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  PREF C BOOK-                611   Preferred Stock
ATTN KELLY TRIMBLE                                                  1417
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KELLY TRIMBLE NOEL INVESTMENTS LTD                                  PREF C BOOK-                611   Preferred Stock
ATTN KELLY TRIMBLE                                                  1416
4685 S HIGHLAND DR
SALT LAKE CITY, UT 84117

KENT WILLIAMS KENT B WILLIAMS AND CATHERINE E WILLIAMS AS           PREF C BOOK-                611   Preferred Stock
TRUSTEE OF THE BARRY J WILLIAMS TRUST                               1213
[ADDRESS REDACTED]

KENT WILLIAMS KENT B WILLIAMS AND CATHERINE E WILLIAMS AS           PREF C BOOK-                611   Preferred Stock
TRUSTEE OF THE ROSS B WILLIAMS TRUST                                1214
[ADDRESS REDACTED]

KURTZ, RICHARD                                                      PREF C BOOK-                611   Preferred Stock
[ADDRESS REDACTED]                                                  1148

GUERRA RUANO, MAURICIO HUMBERTO                                     BOOK-2398                   606   Common Stock
[ADDRESS REDACTED]

GUERRA RUANO, MONICA MARIA                                          BOOK-2559                   606   Common Stock
[ADDRESS REDACTED]

Sheet 16 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 33 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

SATCO INTERNATIONAL LTD                                             PREF C BOOK-                605   Preferred Stock
P.O. BOX 111                                                        1385
SMOOT, WY 83126

NIGHTHAWK FINANCIAL LLC                                             BOOK-2727                   599   Common Stock
40 RECTOR ST, STE 1020
NEW YORK, NY 10006

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                582   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1349
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO
NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                581   Preferred Stock
40 RECTOR ST, STE 1020                                              1520
NEW YORK, NY 10006

ALAN J PERRITON LLC                                                                             567   Preferred Stock
285 STONE GATE LN                                                   PREF C BOOK-
PROVO, UT 84604                                                     1004

ALANA K CORR LLC                                                                                567   Preferred Stock
ALAN PERRITON 285 STONE GATE LN                                     PREF C BOOK-
PROVO, UT 84604                                                     1006

CYRUS INVESTMENTS LLC                                               PREF C BOOK-                567   Preferred Stock
ATTN ANDREW CLAYTON                                                 1038
218 S OAKLAND AVE
PASADENA, CA 91101

JOHN H PERRITON LLC                                                 PREF C BOOK-                567   Preferred Stock
ATTN ALAN PERRITON                                                  1068
285 STONE GATE LN
PROVO, UT 84604

NATHAN J PERRITON LLC                                               PREF C BOOK-                567   Preferred Stock
285 STONE GATE LN                                                   1097
PROVO, UT 84604

NICOLE M BERGEN LLC                                                 PREF C BOOK-                567   Preferred Stock
ATTN ALAN PERRITON                                                  1099
285 STONE GATE LN
PROVO, UT 84604

REYNOLDS, GARY                                                      2404                        567   Common Stock
[ADDRESS REDACTED]


Sheet 17 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 34 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

SAFFRON INVESTMENTS LLC                                             PREF C BOOK-                567   Preferred Stock
ATTN VANESSA CLAYTON                                                1315
668 6TH AVE
SALT LAKE CITY, UT 84103

CAUSSAT, THIERRY                                                    BOOK-2363                   562   Common Stock
[ADDRESS REDACTED]

FIDELITY FUNDS PACIFIC POOL                                         BOOK-605                    552   Common Stock

ESFELD, JEFFREY                                                     2393                        549   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2712                   545   Common Stock
[ADDRESS REDACTED]

GOLDAM, HARVEY                                                      BOOK-2555                   545   Common Stock
[ADDRESS REDACTED]

RUBINFELD, PHILIP                                                   BOOK-2268                   545   Common Stock
[ADDRESS REDACTED]

DYLAN J FOLEY 2021 IRREVOCABLE TRUST U/A/D 10/19/2021               PREF C BOOK-                528   Preferred Stock
ATTN AMY E KOSKI, TRUSTEE                                           1471
1975 WATERTOWN RD
LONG LAKE, MN 55356

KAITLYN R FOLEY IRREVOCABLE TRUST U/A/D 10/19/2021                  PREF C BOOK-                528   Preferred Stock
ATTN AMY E KOSKI, TRUSTEE                                           1492
1975 WATERTOWN RD
LONG LAKE, MN 55356

KICKSTART SEED FUND II LP                                           BOOK-1794                   528   Common Stock
2750 E COTTONWOOD PKWY, STE 160
COTTONWOOD HEIGHTS, UT 84121

SINGER, SHARON                                                      PREF C BOOK-                524   Preferred Stock
[ADDRESS REDACTED]                                                  1271

VERITION MULTI STRATEGY MASTER FUND                                 PREF C BOOK-                524   Preferred Stock
ATTN WILLIAM ANDERSON                                               1552
1 AMERICAN LN
GREENWICH, CT 6831

INFRAESTRUCTURE GROUP LLC                                           BOOK-2284                   509   Common Stock
10 RISING RIDGE RD
UPPER SADDLE RIVER, NJ 07458



Sheet 18 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 35 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

CAROLYN A PARRACK PARRACK BYPASS TRUST                              PREF C BOOK-                492   Preferred Stock
[ADDRESS REDACTED]                                                  1423

CKC HOLDINGS LLC                                                    PREF C BOOK-                492   Preferred Stock
ATTN CASEY CHRISTENSEN                                              1458
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

CKC HOLDINGS LLC                                                    PREF C BOOK-                492   Preferred Stock
ATTN CASEY CHRISTENSEN                                              1458
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

KORNFELD LIV TR DTD 8/31/2017                                       PREF C BOOK-                492   Preferred Stock
ATTN ROBERT B KORNFELD, TTEE                                        1536
38165 N 104TH PL
SCOTTSDALE, AZ 85262

NATHAN LAUFER LAUFER FAMILY TRUST                                   PREF C BOOK-                492   Preferred Stock
[ADDRESS REDACTED]                                                  1220

OLSSON, CLAES                                                       PREF C BOOK-                492   Preferred Stock
[ADDRESS REDACTED]                                                  1420

STERN III, JOSEPH                                                   PREF C BOOK-                492   Preferred Stock
[ADDRESS REDACTED]                                                  1273

INTRATOR, MICHAEL                                                   PREF C BOOK-                489   Preferred Stock
[ADDRESS REDACTED]                                                  1485

SWIFT, JOSEPH & CATHY                                               PREF C BOOK-                489   Preferred Stock
[ADDRESS REDACTED]                                                  1276

PRIMARY COLORS LLC                                                  PREF C BOOK-                472   Preferred Stock
ATTN TY MATTINGLY                                                   1531
22 W 620
SOUTH OREM, UT 84058

PRIMARY COLORS LLC                                                  BOOK-2733                   472   Common Stock
ATTN TY MATTINGLY
22 W 620
SOUTH OREM, UT 84058

COVA CAPITAL PARTNERS LLC                                           BOOK-2852                   454   Common Stock
72 THE GLEN
GLEN HEAD, NY 11545

INTRATOR, MICHAEL                                                   BOOK-2760                   454   Common Stock
[ADDRESS REDACTED]

Sheet 19 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 36 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

IVANHOE, ROBERT V                                                   BOOK-2565                   454   Common Stock
[ADDRESS REDACTED]

LUTZ, ROBERT                                                        BOOK-2531                   454   Common Stock
[ADDRESS REDACTED]

LUTZ, ROBERT                                                        BOOK-2530                   454   Common Stock
[ADDRESS REDACTED]

MACK, RICHARD JAY                                                   BOOK-2576                   454   Common Stock
[ADDRESS REDACTED]

RICHARD D & ELIZABETH HANKS JTWROS                                  BOOK-2329                   454   Common Stock
[ADDRESS REDACTED]

SEINER, SHARON H                                                    BOOK-2741                   454   Common Stock
[ADDRESS REDACTED]

WEIDMAN, WILLIAM W                                                  BOOK-2592                   454   Common Stock
[ADDRESS REDACTED]

GBR6 LLC                                                            2406                        434   Common Stock
1713 HAVEN CHASE LN
SALT LAKE CITY, UT 84121

RMTR LLC                                                            2401                        434   Common Stock
ATTN ROBERT REYNOLDS
2115 E WALKER LN
SALT LAKE CITY, UT 84117

GEG CONTROLADORA SAPL DE CV                                         BOOK-2553                   433   Common Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO

REYNOLDS, ROBERT                                                    2403                        416   Common Stock
[ADDRESS REDACTED]

CAVALRY FUND I LP                                                   BOOK-2364                   415   Common Stock
1111 BRICKELL AVE, STE 2920
MIAMI, FL 33131

LAPITZKI FAMILY                                                     BOOK-2707                   415   Common Stock
[ADDRESS REDACTED]

CULLUM, THOMAS                                                      BOOK-2978                   413   Common Stock
[ADDRESS REDACTED]


Sheet 20 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 37 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

GUERRA RUANO, MAURICIO HUMBERTO                                     PREF C BOOK-                407   Preferred Stock
[ADDRESS REDACTED]                                                  1292

GUERRA RUANO, MAURICIO HUMBERTO                                     PREF C BOOK-                407   Preferred Stock
[ADDRESS REDACTED]                                                  1403

GUERRA RUANO, MAURICIO HUMBERTO                                     PREF C BOOK-                407   Preferred Stock
[ADDRESS REDACTED]                                                  1203

GUERRA RUANO, MONICA MARIA                                          PREF C BOOK-                407   Preferred Stock
[ADDRESS REDACTED]                                                  1356

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                403   Preferred Stock
40 RECTOR ST, STE 1020                                              1521
NEW YORK, NY 10006

REYNOLDS, GARY                                                      PREF C BOOK-                381   Preferred Stock
[ADDRESS REDACTED]                                                  1257

CAUSSAT, THIERRY                                                    PREF C BOOK-                378   Preferred Stock
[ADDRESS REDACTED]                                                  1167

UTAH STATE UNIVERSITY                                               BOOK-1820                   377   Common Stock
1445 OLD MAIN HILL
LOGAN, UT 84322

ESFELD, JEFFREY                                                     PREF C BOOK-                369   Preferred Stock
[ADDRESS REDACTED]                                                  1339
PARRACK SURVIVORS TRUST                                             BOOK-2631                   369   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                366   Preferred Stock
[ADDRESS REDACTED]                                                  1503

COGEN, JACK                                                                                     366   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1567

GOLDAM, HARVEY                                                      PREF C BOOK-                366   Preferred Stock
[ADDRESS REDACTED]                                                  1352

KELLER, JAMES B                                                     BOOK-2618                   366   Common Stock
[ADDRESS REDACTED]

RUBINFELD, PHILIP J                                                 PREF C BOOK-                366   Preferred Stock
[ADDRESS REDACTED]                                                  1111

RUBINFELD, PHILIP                                                   BOOK-2297                   364   Common Stock
[ADDRESS REDACTED]

Sheet 21 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 38 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

THOMAS, BRIAN                                                       BOOK-2473                   364   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2711                   363   Common Stock
[ADDRESS REDACTED]

INTRATOR, MICHAEL                                                   BOOK-2699                   363   Common Stock
[ADDRESS REDACTED]

ZEN, SERGIO DE                                                      BOOK-2294                   355   Common Stock
[ADDRESS REDACTED]

RETTMAN, PETER                                                      BOOK-2659                   354   Common Stock
[ADDRESS REDACTED]

PHOENIX CAPITAL PARTNERS LLC                                        BOOK-2965                   352   Common Stock
ATTN MATT RAHMANI
1103 STEWART AVE, STE 120
GARDEN CITY, NY 11530

BEETEEBEE NOMINEES (T) S/B                                          C-10194                     347   Common Stock
[ADDRESS REDACTED]

CALDERON, DAVID & JEANETTE                                          BOOK-2653                   347   Common Stock
[ADDRESS REDACTED]

ALBAHRANI, FERAS AMEER                                                                          343   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1944
INFRAESTRUCTURE GROUP LLC                                           PREF C BOOK-                342   Preferred Stock
10 RISING RIDGE RD                                                  1066
UPPER SADDLE RIVER, NJ 07458

HONU 1 LLC                                                          BOOK-2698                   337   Common Stock
ATTN MICHAEL TAKANO
700 BISHOP ST, STE 1000
HONOLULU, HI 96813

EV ENTERPRISES LLC                                                  BOOK-2370                   332   Common Stock
6299 NAIL AVE, STE 200
MISSION, KS 66202

MACIEL, LORI                                                        BOOK-2621                   327   Common Stock
[ADDRESS REDACTED]

MINOR FAMILY REVOCABLE TRUST                                        BOOK-2516                   322   Common Stock
[ADDRESS REDACTED]

THOMAS X MINOR MD                                                   BOOK-2515                   322   Common Stock
[ADDRESS REDACTED]
Sheet 22 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 39 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

PRIMARY COLORS LLC                                                  PREF C BOOK-                318   Preferred Stock
ATTN TY MATTINGLY                                                   1529
22 W 620
SOUTH OREM, UT 84058

MACIEL, ADRIANO                                                     BOOK-2620                   315   Common Stock
[ADDRESS REDACTED]

ALAN J PERRITON LLC                                                 BOOK-2233                   312   Common Stock
285 STONE GATE LN
PROVO, UT 84604

ALANA K CORR LLC                                                    BOOK-2231                   312   Common Stock
ALAN PERRITON 285 STONE GATE LN
PROVO, UT 84604

JOHN H PERRITON LLC                                                 BOOK-2232                   312   Common Stock
ATTN ALAN PERRITON
285 STONE GATE LN
PROVO, UT 84604

NATHAN J PERRITON LLC                                               BOOK-2316                   312   Common Stock
285 STONE GATE LN
PROVO, UT 84604

NICOLE M BERGEN LLC                                                 BOOK-2230                   312   Common Stock
ATTN ALAN PERRITON
285 STONE GATE LN
PROVO, UT 84604

SHAPIRO, STEPHEN T                                                  BOOK-2460                   312   Common Stock
[ADDRESS REDACTED]

SHEEHAN, FLORENCE                                                   BOOK-2309                   312   Common Stock
[ADDRESS REDACTED]

INTRATOR, MICHAEL                                                   PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1483

IVANHOE, ROBERT V                                                   PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1362

LUTZ, ROBERT                                                        PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1327

LUTZ, ROBERT                                                        PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1326
MACK, RICHARD JAY                                                   PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1374
Sheet 23 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 40 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

RICHARD D & ELIZABETH HANKS JTWROS                                  PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1146

SEINER, SHARON H                                                    PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1538

WEIDMAN, WILLIAM W                                                  PREF C BOOK-                305   Preferred Stock
[ADDRESS REDACTED]                                                  1390

DAVIS, FREDERICK J                                                  BOOK-2655                   304   Common Stock
[ADDRESS REDACTED]

LIGHT, JEFFREY T                                                    BOOK-2657                   304   Common Stock
[ADDRESS REDACTED]

KAUFMAN, BRADFORD D                                                 BOOK-2974                   303   Common Stock
[ADDRESS REDACTED]

ALIEV, NODIRKHON                                                    BOOK-2580                   302   Common Stock
[ADDRESS REDACTED]

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                299   Preferred Stock
40 RECTOR ST, STE 1020                                              1516
NEW YORK, NY 10006

AITKENHEAD, ROBERTO                                                 BOOK-951                    294   Common Stock
[ADDRESS REDACTED]

NESLAND, BRETT                                                      BOOK-2658                   293   Common Stock
[ADDRESS REDACTED]

GBR6 LLC                                                            PREF C BOOK-                292   Preferred Stock
1713 HAVEN CHASE LN                                                 1179
SALT LAKE CITY, UT 84121

RMTR LLC                                                            PREF C BOOK-                292   Preferred Stock
ATTN ROBERT REYNOLDS                                                1260
2115 E WALKER LN
SALT LAKE CITY, UT 84117

GEG CONTROLADORA SAPL DE CV                                         PREF C BOOK-                291   Preferred Stock
ATTN RAUL MENDEZ GEG FAMILY OFFICE                                  1350
CALZADA DE LA NARANJA, NO.159
NAUCALPAN, ESTADO DE MEXICO 53370
MEXICO
KOCH, ROBERT                                                        BOOK-2740                   289   Common Stock
[ADDRESS REDACTED]


Sheet 24 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 41 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

CAVALRY FUND I LP                                                   PREF C BOOK-                279   Preferred Stock
1111 BRICKELL AVE, STE 2920                                         1168
MIAMI, FL 33131

LAPITZKI FAMILY                                                     PREF C BOOK-                279   Preferred Stock
[ADDRESS REDACTED]                                                  1497

REYNOLDS, ROBERT                                                    PREF C BOOK-                279   Preferred Stock
[ADDRESS REDACTED]                                                  1256

PERRITON, ALAN                                                      BOOK-2602                   276   Common Stock
[ADDRESS REDACTED]

FELDMAN, ROBERT                                                     BOOK-2373                   273   Common Stock
[ADDRESS REDACTED]

GOLDMAN, DEBORAH L                                                  BOOK-2615                   273   Common Stock
[ADDRESS REDACTED]

GREENBERG, PAUL                                                     BOOK-2396                   273   Common Stock
[ADDRESS REDACTED]

KURTZ, JEFF                                                         BOOK-2411                   273   Common Stock
[ADDRESS REDACTED]

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           BOOK-2645                   273   Common Stock
[ADDRESS REDACTED]

SIEGFRIED, NED                                                      BOOK-2746                   272   Common Stock
[ADDRESS REDACTED]

IDEANOMICS RESERVE FBO NWC                                          BOOK-2091                   253   Common Stock

PARRACK SURVIVORS TRUST                                             PREF C BOOK-                248   Preferred Stock
[ADDRESS REDACTED]                                                  1424

KELLER, JAMES B                                                     PREF C BOOK-                246   Preferred Stock
[ADDRESS REDACTED]                                                  1411

SANSOM, MARK                                                        BOOK-2636                   246   Common Stock
[ADDRESS REDACTED]

BHARTI, RENE                                                        BOOK-1109                   245   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                244   Preferred Stock
[ADDRESS REDACTED]                                                  1502

INTRATOR, MICHAEL                                                   PREF C BOOK-                244   Preferred Stock
[ADDRESS REDACTED]                                                  1484

Sheet 25 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 42 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

RUBINFELD, PHILIP J                                                 PREF C BOOK-                244   Preferred Stock
[ADDRESS REDACTED]                                                  1112

THOMAS, BRIAN                                                       PREF C BOOK-                244   Preferred Stock
[ADDRESS REDACTED]                                                  1282

RETTMAN, PETER                                                      PREF C BOOK-                238   Preferred Stock
[ADDRESS REDACTED]                                                  1534

ZEN, SERGIO DE                                                      PREF C BOOK-                238   Preferred Stock
[ADDRESS REDACTED]                                                  1039

APPLETREE CAPITAL LLC                                               BOOK-1493                   234   Common Stock
3333 N DIGITAL DR, STE 430
LEHI, UT 84043

CALDERON, DAVID & JEANETTE                                          PREF C BOOK-                233   Preferred Stock
[ADDRESS REDACTED]                                                  1457

KENT & CATHERINE WILLIAMS 2007 TRUST                                PREF C BOOK-                232   Preferred Stock
6 KATRINA CT                                                        1210
ORINDA, CA 94563

[NAME REDACTED]                                                     BOOK-2527                   227   Common Stock
[ADDRESS REDACTED]

BEDARD, KRISTIN HYNES                                               BOOK-2661                   227   Common Stock
[ADDRESS REDACTED]
CYR, STEVEN JAMES                                                   BOOK-2687                   227   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2391                   227   Common Stock
[ADDRESS REDACTED]

HICKS, TRACY RENEE                                                  BOOK-2401                   227   Common Stock
[ADDRESS REDACTED]

HOLDER, JUDITH D                                                    BOOK-2811                   227   Common Stock
[ADDRESS REDACTED]

HONU 1 LLC                                                          PREF C BOOK-                227   Preferred Stock
ATTN MICHAEL TAKANO                                                 1480
700 BISHOP ST, STE 1000
HONOLULU, HI 96813

HYNES, KARA K                                                       BOOK-2761                   227   Common Stock
[ADDRESS REDACTED]



Sheet 26 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 43 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

HYNES, KYRAN W                                                      BOOK-2660                   227   Common Stock
[ADDRESS REDACTED]

LUTZ, ROBERT                                                        BOOK-2532                   227   Common Stock
[ADDRESS REDACTED]

WIVIOTT, DOUG & MARCIA                                              2387                        227   Common Stock
[ADDRESS REDACTED]

SULLIVAN, MARGARET                                                  BOOK-2589                   225   Common Stock
[ADDRESS REDACTED]

SULLIVAN, MARILYN                                                   BOOK-2663                   225   Common Stock
[ADDRESS REDACTED]

EV ENTERPRISES LLC                                                  PREF C BOOK-                223   Preferred Stock
6299 NAIL AVE, STE 200                                              1174
MISSION, KS 66202

KENT & CATHERINE WILLIAMS 2007 TRUST                                PREF C BOOK-                220   Preferred Stock
6 KATRINA CT                                                        1211
ORINDA, CA 94563

MACIEL, LORI                                                        PREF C BOOK-                220   Preferred Stock
[ADDRESS REDACTED]                                                  1414

ABROSINI, JOSEPH                                                    BOOK-2777                   218   Common Stock
[ADDRESS REDACTED]
HAZGHIYAN, JONATHAN                                                 BOOK-2560                   218   Common Stock
[ADDRESS REDACTED]

PRIMARY COLORS LLC                                                  BOOK-2734                   218   Common Stock
ATTN TY MATTINGLY
22 W 620
SOUTH OREM, UT 84058

SHIVERS, RONALD                                                     BOOK-2743                   218   Common Stock
[ADDRESS REDACTED]

VAN WAGONER, KURT                                                   BOOK-2475                   218   Common Stock
[ADDRESS REDACTED]

MINOR FAMILY REVOCABLE TRUST                                        PREF C BOOK-                216   Preferred Stock
[ADDRESS REDACTED]                                                  1310

THOMAS X MINOR MD                                                   PREF C BOOK-                216   Preferred Stock
[ADDRESS REDACTED]                                                  1311



Sheet 27 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 44 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

MACIEL, ADRIANO                                                     PREF C BOOK-                212   Preferred Stock
[ADDRESS REDACTED]                                                  1413

ALAN J PERRITON LLC                                                 PREF C BOOK-                210   Preferred Stock
285 STONE GATE LN                                                   1003
PROVO, UT 84604

ALANA K CORR LLC                                                    PREF C BOOK-                210   Preferred Stock
ALAN PERRITON 285 STONE GATE LN                                     1005
PROVO, UT 84604

JOHN H PERRITON LLC                                                 PREF C BOOK-                210   Preferred Stock
ATTN ALAN PERRITON                                                  1067
285 STONE GATE LN
PROVO, UT 84604

NATHAN J PERRITON LLC                                               PREF C BOOK-                210   Preferred Stock
285 STONE GATE LN                                                   1242
PROVO, UT 84604
NICOLE M BERGEN LLC                                                 PREF C BOOK-                210   Preferred Stock
ATTN ALAN PERRITON                                                  1098
285 STONE GATE LN
PROVO, UT 84604

SHEEHAN, FLORENCE                                                   PREF C BOOK-                210   Preferred Stock
[ADDRESS REDACTED]                                                  1128

SHAPIRO, STEPHEN T                                                  PREF C BOOK-                209   Preferred Stock
[ADDRESS REDACTED]                                                  1269

FLAMIO, RICHARD & ISABELLA                                          BOOK-2326                   208   Common Stock
[ADDRESS REDACTED]

REYNOLDS, ROBERT                                                    2402                        208   Common Stock
[ADDRESS REDACTED]

ADDISON, JEFFREY A                                                  BOOK-2673                   207   Common Stock
[ADDRESS REDACTED]

DAVIS, FREDERICK J                                                  PREF C BOOK-                205   Preferred Stock
[ADDRESS REDACTED]                                                  1464

LIGHT, JEFFREY T                                                    PREF C BOOK-                205   Preferred Stock
[ADDRESS REDACTED]                                                  1500

ALIEV, NODIRKHON                                                    PREF C BOOK-                203   Preferred Stock
[ADDRESS REDACTED]                                                  1378


Sheet 28 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 45 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

PIERRE VANNINEUSE GLOBAL CORPORATE FINANCE OPPORTUNITIES BOOK-2764                              200   Common Stock
2
1ST FL, APPLEBY TOWER
P.O. BOX 950
GRAND CAYMAN
GRAND CAYMAN ISLANDS KY1-1102
CAYMAND ISLANDS

NESLAND, BRETT                                                      PREF C BOOK-                197   Preferred Stock
[ADDRESS REDACTED]                                                  1512

KOCH, ROBERT                                                        PREF C BOOK-                194   Preferred Stock
[ADDRESS REDACTED]                                                  1537

PERRITON, ALAN                                                      PREF C BOOK-                185   Preferred Stock
[ADDRESS REDACTED]                                                  1397

FELDMAN, ROBERT                                                     PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1177

GOLDMAN, DEBORAH L                                                  PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1408

GREENBERG, PAUL                                                     PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1201

KURTZ, JEFF                                                         PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1217

MICHAEL & SIGRID AS JTS ESFELD                                      BOOK-2656                   183   Common Stock
[ADDRESS REDACTED]
SIEGFRIED, NED                                                      PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1543

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           PREF C BOOK-                183   Preferred Stock
[ADDRESS REDACTED]                                                  1438

[NAME REDACTED]                                                     BOOK-2526                   182   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2713                   182   Common Stock
[ADDRESS REDACTED]

BLATTE, DAVID C                                                     BOOK-2290                   182   Common Stock
[ADDRESS REDACTED]
BLECHMAN, DAVID                                                     BOOK-2781                   182   Common Stock
[ADDRESS REDACTED]


Sheet 29 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 46 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

CARDINI, BRADLEY A                                                  2416                        182   Common Stock
[ADDRESS REDACTED]

D PARKE & M PARKE TTEE                                              2408                        182   Common Stock
[ADDRESS REDACTED]

GOLDMAN, KENNETH D                                                  BOOK-2328                   182   Common Stock
[ADDRESS REDACTED]

GOLDMAN, SARAH                                                      BOOK-255                    182   Common Stock
[ADDRESS REDACTED]

GREENBERG, PAUL                                                     BOOK-2395                   182   Common Stock
[ADDRESS REDACTED]

GULMUI, ROBERT                                                      BOOK-2333                   182   Common Stock
[ADDRESS REDACTED]

LANTERI, VINCENT                                                    BOOK-2412                   182   Common Stock
[ADDRESS REDACTED]

MARENTIS, STEVE                                                     BOOK-2419                   182   Common Stock
[ADDRESS REDACTED]

RAYBO LTD                                                           BOOK-2445                   182   Common Stock
ATTN BONNIE ZOLL
12055 S MILONA DR
DRAPER, UT 84020

SGUEGLIA, AMEDEO                                                    BOOK-2797                   182   Common Stock
[ADDRESS REDACTED]

SWIFT, JOSEPH & CATHY                                               BOOK-2465                   182   Common Stock
[ADDRESS REDACTED]

SWIFT, JOSEPH & CATHY                                               BOOK-2466                   182   Common Stock
[ADDRESS REDACTED]

THE LOUIS F BANTLE GST DTD 4/27/2011 ROBERT C BANTLE &              BOOK-2470                   182   Common Stock
ERNEST N ABATE CO - TTEES
365 POST RD
DARIEN, CT 6820

THOMAS, BRIAN                                                       BOOK-2472                   182   Common Stock
[ADDRESS REDACTED]

WEINSTEIN, JEFFERY                                                  BOOK-2477                   182   Common Stock
[ADDRESS REDACTED]



Sheet 30 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 47 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

WEBER, JOHN H                                                       BOOK-2756                   181   Common Stock
[ADDRESS REDACTED]

CHITAYAT, TAI                                                       BOOK-954                    176   Common Stock
[ADDRESS REDACTED]

ENDEAVOR ENTERPRISE TRUST                                           BOOK-1494                   175   Common Stock
6028 S RIDGELINE DR, #203
OGDEN, UT 84405

JOSEPH & ELLEN JOSEPH & ELLEN PETRILLO JTWROS                       BOOK-2980                   172   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    BOOK-2383                   171   Common Stock
[ADDRESS REDACTED]

SANSOM, MARK                                                        PREF C BOOK-                165   Preferred Stock
[ADDRESS REDACTED]                                                  1429

MCM CONSULTING                                                      BOOK-2714                   163   Common Stock
5 BEECH CREST RD
EAST GREENWICH, RI 02818

GARITO, JAMES                                                       2392                        156   Common Stock
[ADDRESS REDACTED]

JIANG, MEIFANG                                                      BOOK-2566                   156   Common Stock
[ADDRESS REDACTED]
LAPTALO ENTERPRISES INC                                             BOOK-2619                   156   Common Stock
DBA JL PRECISION
ATTN MICHAEL LAPTALO
2360 ZANKER RD
SAN JOSE, CA 95131

PATTERSON, WAYNE STUART                                             BOOK-2763                   156   Common Stock
[ADDRESS REDACTED]

PERNO, THOMAS                                                       BOOK-2581                   156   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1322

BEDARD, KRISTIN HYNES                                               PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1452
CYR, STEVEN JAMES                                                   PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1463


Sheet 31 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 48 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

GLAUTHIER, TJ                                                       PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1196

HICKS, TRACY RENEE                                                  PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1206

HOLDER, JUDITH D                                                    PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1584

HYNES, KARA K                                                       PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1481

HYNES, KYRAN W                                                      PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1482

LUTZ, ROBERT                                                        PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1328

WIVIOTT, DOUG & MARCIA                                              PREF C BOOK-                153   Preferred Stock
[ADDRESS REDACTED]                                                  1290

SULLIVAN, MARGARET                                                  PREF C BOOK-                151   Preferred Stock
[ADDRESS REDACTED]                                                  1387

SULLIVAN, MARILYN                                                   PREF C BOOK-                151   Preferred Stock
[ADDRESS REDACTED]                                                  1548

ABROSINI, JOSEPH                                                    PREF C BOOK-                147   Preferred Stock
[ADDRESS REDACTED]                                                  1559

HAZGHIYAN, JONATHAN                                                 PREF C BOOK-                147   Preferred Stock
[ADDRESS REDACTED]                                                  1357

OVIEDO, VICTOR M                                                    BOOK-1596                   147   Common Stock
[ADDRESS REDACTED]
PRIMARY COLORS LLC                                                  PREF C BOOK-                147   Preferred Stock
ATTN TY MATTINGLY                                                   1530
22 W 620
SOUTH OREM, UT 84058

RUTENBERG FAMILY TRUST                                              BOOK-952                    147   Common Stock
[ADDRESS REDACTED]

SHIVERS, RONALD                                                     PREF C BOOK-                147   Preferred Stock
[ADDRESS REDACTED]                                                  1540

VAN WAGONER, KURT                                                   PREF C BOOK-                147   Preferred Stock
[ADDRESS REDACTED]                                                  1284


Sheet 32 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 49 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

SHIVERS IRREVOVABLE FAMILY TRUST                                    BOOK-2744                   145   Common Stock
[ADDRESS REDACTED]

ADDISON, JEFFREY A                                                  PREF C BOOK-                140   Preferred Stock
[ADDRESS REDACTED]                                                  1445

FLAMIO, RICHARD & ISABELLA                                          PREF C BOOK-                140   Preferred Stock
[ADDRESS REDACTED]                                                  1142

REYNOLDS, ROBERT                                                    PREF C BOOK-                140   Preferred Stock
[ADDRESS REDACTED]                                                  1255

BOYD, JIM                                                                                       137   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2502

COHEN, STEPHEN H                                                    BOOK-2368                   137   Common Stock
[ADDRESS REDACTED]

HECHT, JEFFERY                                                      BOOK-2399                   137   Common Stock
[ADDRESS REDACTED]

MEZHIBOVSKY, ALINA                                                  BOOK-2426                   137   Common Stock
[ADDRESS REDACTED]

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           BOOK-2644                   137   Common Stock
[ADDRESS REDACTED]

CIOCCA, ANGELO                                                      BOOK-2815                   136   Common Stock
[ADDRESS REDACTED]

PIERRE VANNINEUSE GLOBAL CORPORATE FINANCE OPPORTUNITIES PREF C BOOK-                           134   Preferred Stock
2                                                        1475
1ST FL, APPLEBY TOWER
P.O. BOX 950
GRAND CAYMAN
GRAND CAYMAN ISLANDS KY1-1102
CAYMAND ISLANDS

MAC & CO FBO FIDELITY INVESTMENT TRUST FIDELITY                     BOOK-606                    132   Common Stock
INTERNATIONAL SMALL CAP FUND BANK OF NEW YORK
MELLON ONE WALL ST, 3RD FL, WINDOW C
NEW YORK, NY 10286

BERNARD E MUNK TRUST                                                BOOK-2285                   130   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2385                   130   Common Stock
[ADDRESS REDACTED]


Sheet 33 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 50 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

MUNK PARTNERS                                                       BOOK-2435                   130   Common Stock
ATTN BERNARD MUNK
200 CHAMBERS ST, D-10
NEW YORK, NY 10007

SCHENKER, CURTIS                                                    BOOK-2638                   130   Common Stock
[ADDRESS REDACTED]

GOLDSTEIN, ANDREW H                                                 2389                        128   Common Stock
[ADDRESS REDACTED]

RUBINFELD, JOEL R                                                   BOOK-2635                   128   Common Stock
[ADDRESS REDACTED]

EDWARD GIBSTEIN AVCO HOLDINGS LLC                                                               127   Common Stock
ATTN EDWARD GIBSTEIN                                                BOOK-2923
72 THE GLEN
GLEN HEAD, NY 11545

RATHE, ROBERT                                                       2412                        127   Common Stock
[ADDRESS REDACTED]

MICHAEL & SIGRID AS JTS ESFELD                                      PREF C BOOK-                123   Preferred Stock
[ADDRESS REDACTED]                                                  1472

[NAME REDACTED]                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1504

[NAME REDACTED]                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1321

BLATTE, DAVID C                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1019

BLECHMAN, DAVID                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1563

GOLDMAN, KENNETH D                                                  PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1144

GOLDMAN, SARAH                                                      PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1353

GREENBERG, PAUL                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1200

GULMUI, ROBERT                                                      PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1145



Sheet 34 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 51 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

LANTERI, VINCENT                                                    PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1218

MARENTIS, STEVE                                                     PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1225

MULLARD INVESTMENTS LLC                                             PREF C BOOK-                122   Preferred Stock
ATTN DAVID G MULLARD                                                1238
7600 E DOUBLETREE RAND RD, #150
SCOTTSDALE, AZ 85258

RAYBO LTD                                                           PREF C BOOK-                122   Preferred Stock
ATTN BONNIE ZOLL                                                    1254
12055 S MILONA DR
DRAPER, UT 84020

SGUEGLIA, AMEDEO                                                    PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1579
SWIFT, JOSEPH & CATHY                                               PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1274

SWIFT, JOSEPH & CATHY                                               PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1275

THE LOUIS F BANTLE GST DTD 4/27/2011 ROBERT C BANTLE &              PREF C BOOK-                122   Preferred Stock
ERNEST N ABATE CO - TTEES                                           1279
365 POST RD
DARIEN, CT 6820

THOMAS, BRIAN                                                       PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1281

WEBER, JOHN H                                                       PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1556

WEINSTEIN, JEFFERY                                                  PREF C BOOK-                122   Preferred Stock
[ADDRESS REDACTED]                                                  1286

VIDEONLINE                                                          C-10363                     121   Common Stock

GALASSO, LUCIANO                                                    BOOK-2327                   119   Common Stock
[ADDRESS REDACTED]

MESSERSI, MARCELLO                                                  BOOK-2425                   119   Common Stock
[ADDRESS REDACTED]




Sheet 35 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 52 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

MICHAEL DRBRINA 1930195 ONTARIO INC                                 BOOK-2349                   119   Common Stock
1091 MOSS ST
SUDBURY, ON P3A 2H6
CANADA

PENDOLA, GLENN G                                                    BOOK-2439                   119   Common Stock
[ADDRESS REDACTED]

SPENCER, MARK                                                       BOOK-2588                   119   Common Stock
[ADDRESS REDACTED]

PROKOPYEV, OLEKSANDR                                                BOOK-946                    116   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    PREF C BOOK-                115   Preferred Stock
[ADDRESS REDACTED]                                                  1188

BENEDETTO, MICHAEL                                                  BOOK-2779                   114   Common Stock
[ADDRESS REDACTED]

BUBENZER, PETER                                                     BOOK-2975                   114   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    BOOK-2379                   114   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    BOOK-2378                   114   Common Stock
[ADDRESS REDACTED]
GILBERT, SUZANNE                                                    BOOK-2381                   114   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2389                   114   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2387                   114   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2386                   114   Common Stock
[ADDRESS REDACTED]

PAYNE, GAVIN E                                                      BOOK-2662                   113   Common Stock
[ADDRESS REDACTED]

MCM CONSULTING                                                      PREF C BOOK-                110   Preferred Stock
5 BEECH CREST RD                                                    1505
EAST GREENWICH, RI 02818




Sheet 36 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 53 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

COOPERS HAWK FAMILY PARTNERS                                                                    109   Common Stock
ATTN WILLIAM X MINOR                                                BOOK-2686
815 FOX GLEN PL
WALNUT CREEKK, CA 94598

HILLS, JERRE                                                        BOOK-2262                   109   Common Stock
[ADDRESS REDACTED]

HILLS, JERRE                                                        BOOK-2288                   109   Common Stock
[ADDRESS REDACTED]

HOLDER, KATHERINE                                                   BOOK-2402                   109   Common Stock
[ADDRESS REDACTED]

PETERSON, EDWARD C                                                  BOOK-2582                   109   Common Stock
[ADDRESS REDACTED]

POWELL, SAMUEL C & KAREN G                                          BOOK-2634                   109   Common Stock
[ADDRESS REDACTED]

TUCKER, TERRY                                                       BOOK-2221                   109   Common Stock
[ADDRESS REDACTED]

SULLIVAN, JOHN A                                                    BOOK-2748                   106   Common Stock
[ADDRESS REDACTED]

GARITO, JAMES                                                       PREF C BOOK-                105   Preferred Stock
[ADDRESS REDACTED]                                                  1342
JIANG, MEIFANG                                                      PREF C BOOK-                105   Preferred Stock
[ADDRESS REDACTED]                                                  1363

LAPTALO ENTERPRISES INC                                             PREF C BOOK-                105   Preferred Stock
DBA JL PRECISION                                                    1412
ATTN MICHAEL LAPTALO
2360 ZANKER RD
SAN JOSE, CA 95131

PATTERSON, WAYNE STUART                                             PREF C BOOK-                105   Preferred Stock
[ADDRESS REDACTED]                                                  1523

PERNO, THOMAS                                                       PREF C BOOK-                105   Preferred Stock
[ADDRESS REDACTED]                                                  1379

FUTURTEC LP                                                         BOOK-2544                   104   Common Stock
ATTN IDO KLEAR
18 BRIARFIELD DR
GREAT NECK, NY 11020


Sheet 37 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 54 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

SANSONE, JEFFREY                                                    BOOK-2457                   104   Common Stock
[ADDRESS REDACTED]

SHI, DAQING                                                         BOOK-2461                   104   Common Stock
[ADDRESS REDACTED]

SHIVERS IRREVOVABLE FAMILY TRUST                                    PREF C BOOK-                98    Preferred Stock
[ADDRESS REDACTED]                                                  1541

VANSICKLE INVESTMENTS                                               BOOK-2798                   98    Common Stock
3607 E LAKE SAMMAMISH SHORE LN NE
SAMMAMISH, WA 98074

WANG, MICHAEL                                                       C-10357                     97    Common Stock
[ADDRESS REDACTED]

THE MASTER TRUST BANK OF JAPAN LTD                                  BOOK-607                    96    Common Stock
140 BROADWAY ST
NEW YORK, NY 10005

SHORE, ANDREW                                                       BOOK-2745                   94    Common Stock
[ADDRESS REDACTED]

BOYD, JIM                                                                                       92    Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1299

CIOCCA, ANGELO                                                      PREF C BOOK-                92    Preferred Stock
[ADDRESS REDACTED]                                                  1596

COHEN, STEPHEN H                                                    PREF C BOOK-                92    Preferred Stock
[ADDRESS REDACTED]                                                  1172

HECHT, JEFFERY                                                      PREF C BOOK-                92    Preferred Stock
[ADDRESS REDACTED]                                                  1204

KNAPP, WILLIAM J                                                    2411                        92    Common Stock
[ADDRESS REDACTED]

MEZHIBOVSKY, ALINA                                                  PREF C BOOK-                92    Preferred Stock
[ADDRESS REDACTED]                                                  1232

THE JAMES & CAROLYN MITCHELL FAMILY TRUST                           PREF C BOOK-                92    Preferred Stock
[ADDRESS REDACTED]                                                  1437

[NAME REDACTED]                                                     BOOK-2202                   91    Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                                                 91    Common Stock
[ADDRESS REDACTED]                                                  BOOK-2201

Sheet 38 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 55 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares         Class
business of holder

[NAME REDACTED]                                                     BOOK-2188                   91   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2394                   91   Common Stock
[ADDRESS REDACTED]

BAILEY, JOHN W                                                                                  91   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2758

BORTZ, NEIL                                                         BOOK-2186                   91   Common Stock
[ADDRESS REDACTED]

BOWERS, JEFFREY S                                                   BOOK-2358                   91   Common Stock
[ADDRESS REDACTED]

COHEN, GEORGE                                                       BOOK-2182                   91   Common Stock
[ADDRESS REDACTED]

DAVIS, LEE STANFORD JR                                              BOOK-2614                   91   Common Stock
[ADDRESS REDACTED]

FILLER, GARY B                                                      BOOK-2790                   91   Common Stock
[ADDRESS REDACTED]

FISK, CURTIS J                                                      BOOK-2196                   91   Common Stock
[ADDRESS REDACTED]

GODIN, KEVI                                                         2391                        91   Common Stock
[ADDRESS REDACTED]

GRUBER, BENJAMIN                                                    BOOK-2558                   91   Common Stock
[ADDRESS REDACTED]

HEKKING, MIKE                                                       BOOK-2665                   91   Common Stock
[ADDRESS REDACTED]
HILLS, JERRE                                                        BOOK-2270                   91   Common Stock
[ADDRESS REDACTED]

KOCH, ROBERT J                                                      BOOK-2706                   91   Common Stock
[ADDRESS REDACTED]

MARTIN B ROWE LIVING TRUST 12/22/2014 MARTIN B ROWE                 BOOK-2422                   91   Common Stock
TRUSTEE
4 STUART PL
HARRISBURG, IL 62946

MSB FAMILY TRUST                                                    BOOK-2431                   91   Common Stock
[ADDRESS REDACTED]


Sheet 39 of 104 in List of Equity Security Holders
                       Case 24-12728-CTG         Doc 1      Filed 12/04/24          Page 56 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

PAUL SALLWASSER & TERI KEMMERER AS JTS                              BOOK-2206                   91   Common Stock
[ADDRESS REDACTED]

PAUL SALLWASSER & TERI KEMMERER JTWROS                              BOOK-2213                   91   Common Stock
[ADDRESS REDACTED]

RAYBO LTD                                                           BOOK-2444                   91   Common Stock
ATTN BONNIE ZOLL
12055 S MILONA DR
DRAPER, UT 84020

ROBERT C BANTLE REV TRUST D/T/D 12/10/10                            BOOK-2452                   91   Common Stock
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                BOOK-2292                   91   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2289                   91   Common Stock
[ADDRESS REDACTED]

SHALHOUB, MARK                                                      BOOK-2283                   91   Common Stock
[ADDRESS REDACTED]

SNITKOFF, ROBERT                                                    BOOK-2463                   91   Common Stock
[ADDRESS REDACTED]

TEMPLE, THOMAS                                                      BOOK-2468                   91   Common Stock
[ADDRESS REDACTED]
BERNARD E MUNK TRUST                                                PREF C BOOK-                87   Preferred Stock
[ADDRESS REDACTED]                                                  1018

GLAUTHIER, TJ                                                       PREF C BOOK-                87   Preferred Stock
[ADDRESS REDACTED]                                                  1190

MUNK PARTNERS                                                       PREF C BOOK-                87   Preferred Stock
ATTN BERNARD MUNK                                                   1241
200 CHAMBERS ST, D-10
NEW YORK, NY 10007

SCHENKER, CURTIS                                                    PREF C BOOK-                87   Preferred Stock
[ADDRESS REDACTED]                                                  1431

THE CLAYTON FAMILY TRUST                                            BOOK-2641                   87   Common Stock
[ADDRESS REDACTED]

THE PRRITON FAMILY TRUST                                            BOOK-2601                   87   Common Stock
[ADDRESS REDACTED]



Sheet 40 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 57 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

GOLDSTEIN, ANDREW H                                                 PREF C BOOK-                86   Preferred Stock
[ADDRESS REDACTED]                                                  1050

RATHE, ROBERT                                                       PREF C BOOK-                86   Preferred Stock
[ADDRESS REDACTED]                                                  1578

RUBINFELD, JOEL R                                                   PREF C BOOK-                86   Preferred Stock
[ADDRESS REDACTED]                                                  1428

LIPKIND, ILYA                                                       BOOK-961                    83   Common Stock
[ADDRESS REDACTED]

KWIATKOWSKI, DAVID                                                  2378                        80   Common Stock
[ADDRESS REDACTED]

KWIATKOWSKI, DAVID                                                  2379                        80   Common Stock
[ADDRESS REDACTED]

GALASSO, LUCIANO                                                    PREF C BOOK-                79   Preferred Stock
[ADDRESS REDACTED]                                                  1143

MESSERSI, MARCELLO                                                  PREF C BOOK-                79   Preferred Stock
[ADDRESS REDACTED]                                                  1231

MICHAEL DRBRINA 1930195 ONTARIO INC                                 PREF C BOOK-                79   Preferred Stock
1091 MOSS ST                                                        1152
SUDBURY, ON P3A 2H6
CANADA

PENDOLA, GLENN G                                                    PREF C BOOK-                79   Preferred Stock
[ADDRESS REDACTED]                                                  1245

SPENCER, MARK                                                       PREF C BOOK-                79   Preferred Stock
[ADDRESS REDACTED]                                                  1386

BENEDETTO, MICHAEL                                                  PREF C BOOK-                77   Preferred Stock
[ADDRESS REDACTED]                                                  1561

CHARLES, THOMAS G                                                   BOOK-2255                   77   Common Stock
[ADDRESS REDACTED]

DR TEJINDER KALRA PSP                                               BOOK-2757                   77   Common Stock
[ADDRESS REDACTED]

FAGAN, KENNETH T                                                    BOOK-2789                   77   Common Stock
[ADDRESS REDACTED]

JOHN MICHAEL FURLONG IRA                                            BOOK-2617                   77   Common Stock
[ADDRESS REDACTED]


Sheet 41 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 58 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

LEE RADFORD IRA                                                     BOOK-2443                   77   Common Stock
[ADDRESS REDACTED]

LIN, MICHAEL & GRACE                                                BOOK-2253                   77   Common Stock
[ADDRESS REDACTED]

MAPLEGATE ANESTHESIOLOGY PSP FBO TERRENCE BURNS, MD                 BOOK-2513                   77   Common Stock
ATTN TERRANCE BURNS
75 RUSKIN RD
SNYDER, NY 14226

PATEL, KISHAN                                                       BOOK-2728                   77   Common Stock
[ADDRESS REDACTED]

RENEE & CRAIG NIX                                                   BOOK-2437                   77   Common Stock
[ADDRESS REDACTED]

SANTAYANA REVOCABLE TRUST                                           BOOK-2637                   77   Common Stock
[ADDRESS REDACTED]

ARORA, SATISH & NEELAM                                              BOOK-2675                   76   Common Stock
[ADDRESS REDACTED]

BAHORIK, JOHN & BARBARA                                             BOOK-2676                   76   Common Stock
[ADDRESS REDACTED]

DAVIS, JAMES                                                        BOOK-2690                   76   Common Stock
[ADDRESS REDACTED]
GILBERT, SUZANNE                                                    PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1183

GILBERT, SUZANNE                                                    PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1184

GILBERT, SUZANNE                                                    PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1186

GLAUTHIER, TJ                                                       PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1192

GLAUTHIER, TJ                                                       PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1191

GLAUTHIER, TJ                                                       PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1194

MONTGOMERY, ROBERT                                                  BOOK-2716                   76   Common Stock
[ADDRESS REDACTED]


Sheet 42 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 59 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

MORCHESKY, TODD & CHRISTINE                                         BOOK-2762                   76   Common Stock
[ADDRESS REDACTED]

PAUL M ROSS TRUSTEE IRVING SCHOTZ FAMILY TRUST                      BOOK-2729                   76   Common Stock
[ADDRESS REDACTED]

PAUL M ROSS TRUSTEE IRVING SCHOTZ FAMILY TRUST                      BOOK-2730                   76   Common Stock
[ADDRESS REDACTED]

PAYNE, GAVIN E                                                      PREF C BOOK-                76   Preferred Stock
[ADDRESS REDACTED]                                                  1526

THOMPSON III, WILLIAM                                               BOOK-2750                   76   Common Stock
[ADDRESS REDACTED]

THOMPSON JR, WILLIAM                                                BOOK-2751                   76   Common Stock
[ADDRESS REDACTED]

CARSON, BRADLEY DEAN                                                BOOK-1801                   75   Common Stock
[ADDRESS REDACTED]

DOMINICI, MICHAEL                                                   BOOK-1800                   75   Common Stock
[ADDRESS REDACTED]

DB TRUST DTD 10/31/06                                               2398                        74   Common Stock
[ADDRESS REDACTED]

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        BOOK-2267                   73   Common Stock
[ADDRESS REDACTED]

CAPFORM INC                                                         BOOK-2951                   73   Common Stock
ATTN DAVID DOZZO
3 STONEBRIAR WAY
FRISCO, TX 75034

COOPERS HAWK FAMILY PARTNERS                                                                    73   Preferred Stock
ATTN WILLIAM X MINOR                                                PREF C BOOK-
815 FOX GLEN PL                                                     1462
WALNUT CREEKK, CA 94598

GOLDMAN, SARAH                                                      BOOK-2393                   73   Common Stock
[ADDRESS REDACTED]

HILLS, JERRE                                                        PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1055

HILLS, JERRE                                                        BOOK-2263                   73   Common Stock
[ADDRESS REDACTED]



Sheet 43 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 60 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

HILLS, JERRE                                                        PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1062

HOLDER, JOHN T                                                      BOOK-2564                   73   Common Stock
[ADDRESS REDACTED]

HOLDER, KATHERINE                                                   PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1207

PETERSON, EDWARD C                                                  PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1380

PINT, MICHAEL J                                                     2384                        73   Common Stock
[ADDRESS REDACTED]

PINT, MICHAEL J                                                     2383                        73   Common Stock
[ADDRESS REDACTED]

PINT, MICHAEL J                                                     2385                        73   Common Stock
[ADDRESS REDACTED]

POWELL, SAMUEL C & KAREN G                                          PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1427

SCHMALZ, LARRY                                                      BOOK-2245                   73   Common Stock
[ADDRESS REDACTED]

TUCKER, TERRY                                                       PREF C BOOK-                73   Preferred Stock
[ADDRESS REDACTED]                                                  1138

WEBER, JOHN H                                                       BOOK-2755                   73   Common Stock
[ADDRESS REDACTED]

WELTER, PAULA                                                       BOOK-2478                   73   Common Stock
[ADDRESS REDACTED]
SC VIA TECHNOLOGY HOLDINGS LLC                                      PREF C BOOK-                71   Preferred Stock
ATTN FAITH LEE / MICHAEL DIMEO                                      1400
1299 OCEAN AVE, STE 210
SANTA MONICA, CA 90401

SULLIVAN, JOHN A                                                    PREF C BOOK-                71   Preferred Stock
[ADDRESS REDACTED]                                                  1547

FUTURTEC LP                                                         PREF C BOOK-                70   Preferred Stock
ATTN IDO KLEAR                                                      1341
18 BRIARFIELD DR
GREAT NECK, NY 11020



Sheet 44 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 61 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

SANSONE, JEFFREY                                                    PREF C BOOK-                70   Preferred Stock
[ADDRESS REDACTED]                                                  1266

SHI, DAQING                                                         PREF C BOOK-                70   Preferred Stock
[ADDRESS REDACTED]                                                  1270

SC VIA TECHNOLOGY HOLDINGS LLC                                      PREF C BOOK-                68   Preferred Stock
ATTN FAITH LEE / MICHAEL DIMEO                                      1401
1299 OCEAN AVE, STE 210
SANTA MONICA, CA 90401

VANSICKLE INVESTMENTS                                               PREF C BOOK-                66   Preferred Stock
3607 E LAKE SAMMAMISH SHORE LN NE                                   1580
SAMMAMISH, WA 98074

CKC HOLDINGS LLC                                                                                65   Common Stock
ATTN CASEY CHRISTENSEN                                              BOOK-2684
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

ALBAHRANI, FERAS AMEER                                                                          64   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1943

ALBAHRANI, FERAS AMEER                                                                          64   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1942

BAROVIAN, DONNA RICCARDI                                            BOOK-2598                   64   Common Stock
[ADDRESS REDACTED]

SHORE, ANDREW                                                       PREF C BOOK-                63   Preferred Stock
[ADDRESS REDACTED]                                                  1542
[NAME REDACTED]                                                     PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1085

[NAME REDACTED]                                                     PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1082

[NAME REDACTED]                                                     PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1199

[NAME REDACTED]                                                                                 61   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1034

BAILEY, JOHN W                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1449

BORTZ, NEIL                                                         PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1020
Sheet 45 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 62 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

BOWERS, JEFFREY S                                                   PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1162

COHEN, GEORGE                                                       PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1032

DAVIS, LEE STANFORD JR                                              PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1407

FILLER, GARY B                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1572

FISK, CURTIS J                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1048

GODIN, KEVI                                                         PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1197

GRUBER, BENJAMIN                                                    PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1355

HEKKING, MIKE                                                       PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1476

HILLS, JERRE                                                        PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1059

KOCH, ROBERT                                                        PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1496

LEGACY CAPITAL PARTNERS                                             BOOK-2850                   61   Common Stock
ATTN QUINN WILLIAMS
2375 E CAMEL BACK RD, #800
PHOENIX, AZ 85016

MARTIN B ROWE & ANGELA D ROWE TRUSTEES UNDER THE MARTIN PREF C BOOK-                            61   Preferred Stock
B ROWE LIVING TRUST DATED DEC 22 2014                   1226
4 STUART PL
HARRISBURG, IL 62946

MARTIN B ROWE LIVING TRUST 12/22/2014 MARTIN B ROWE                 PREF C BOOK-                61   Preferred Stock
TRUSTEE                                                             1228
4 STUART PL
HARRISBURG, IL 62946

MSB FAMILY TRUST                                                    PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1237




Sheet 46 of 104 in List of Equity Security Holders
                       Case 24-12728-CTG         Doc 1      Filed 12/04/24          Page 63 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

MULLARD INVESTMENTS LLC                                             PREF C BOOK-                61   Preferred Stock
ATTN DAVID G MULLARD                                                1240
7600 E DOUBLETREE RAND RD, #150
SCOTTSDALE, AZ 85258

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                61   Preferred Stock
40 RECTOR ST, STE 1020                                              1519
NEW YORK, NY 10006

ONOFRIO FRANCESCO PECORARO FAMILY TRUST                             PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1314

PARKE, DANIEL W                                                     PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1312

PARKE, DANIEL W                                                     PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1101

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1103

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1104
PITTAS, JOHN                                                        BOOK-2732                   61   Common Stock
[ADDRESS REDACTED]

RAYBO LTD                                                           PREF C BOOK-                61   Preferred Stock
ATTN BONNIE ZOLL                                                    1253
12055 S MILONA DR
DRAPER, UT 84020

ROBERT C BANTLE REV TRUST D/T/D 12/10/10                            PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1261

SANTORA II, ARTHUR C                                                PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1117

SCHMALZ, LARRY                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1125

SHALHOUB, MARK                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1127

SNITKOFF, ROBERT                                                    PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1272
TEMPLE, THOMAS                                                      PREF C BOOK-                61   Preferred Stock
[ADDRESS REDACTED]                                                  1277


Sheet 47 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 64 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

VANSICKLE INVESTMENTS                                               BOOK-2799                   61   Common Stock
3607 E LAKE SAMMAMISH SHORE LN NE
SAMMAMISH, WA 98074

WAGHMARAE, ROMANTH                                                  BOOK-2753                   61   Common Stock
[ADDRESS REDACTED]

C MUIR SUPERANNUATION FUND CB MUIR PTY LTD TTEE                     BOOK-2612                   60   Common Stock
22 BALLY ST
CHRISTOPHER MUIR KELVIN GROVE
QUEENSLAND 04059
AUSTRALIA

FIDELITY FUNDS - ASIAN SMALLER COMPANIES POOL                       BOOK-604                    60   Common Stock
140 BROADWAY
NEW YORK, NY 10005

BARBER/MUELLER FAMILY TRUST-SURVIVORS                               BOOK-2794                   58   Common Stock
[ADDRESS REDACTED]

BLUE MOUNTAIN CENTER                                                BOOK-2357                   58   Common Stock
257 EAGLE NEST RD
BLUE MOUNTAIN LAKE, NY 12812

BROCHU, MICHARL A                                                   BOOK-2503                   58   Common Stock
[ADDRESS REDACTED]

CHUM CAPITAL GROUP LIMITED                                          BOOK-906                    58   Common Stock
CN11 LEGEND TOWN NO 1 BA LI ZHUANG DONG LI CHAOYANG
DISTRICT
BEJING 100022
CHINA
KNOT HOURS LLC                                                      BOOK-2277                   58   Common Stock
235 CENTRAL AVE
HOLLAND, MI 49423

LO, SHUI WING                                                       BOOK-2574                   58   Common Stock
[ADDRESS REDACTED]

MARC BROWN LIVING TRUST                                             BOOK-2276                   58   Common Stock
[ADDRESS REDACTED]
ROSS, PAUL                                                          BOOK-2585                   58   Common Stock
[ADDRESS REDACTED]

THE CLAYTON FAMILY TRUST                                            PREF C BOOK-                58   Preferred Stock
[ADDRESS REDACTED]                                                  1434


Sheet 48 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 65 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

THE PRRITON FAMILY TRUST                                            PREF C BOOK-                58   Preferred Stock
[ADDRESS REDACTED]                                                  1396

GILBERT, SUZANNE                                                    BOOK-2382                   57   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    BOOK-2384                   57   Common Stock
[ADDRESS REDACTED]

GILBERT, SUZANNE                                                    BOOK-2380                   57   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2390                   57   Common Stock
[ADDRESS REDACTED]

GLAUTHIER, TJ                                                       BOOK-2388                   57   Common Stock
[ADDRESS REDACTED]

BENNION, JEFFREY STEWART                                            BOOK-2197                   56   Common Stock
[ADDRESS REDACTED]

BENNION, RICHARD STEWART                                            BOOK-2534                   56   Common Stock
[ADDRESS REDACTED]

ANDERSEN, RICHARD D                                                 BOOK-2647                   55   Common Stock
[ADDRESS REDACTED]

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        BOOK-2498                   55   Common Stock
[ADDRESS REDACTED]

DANG, TONY                                                                                      55   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2538

DANG, TONY                                                                                      55   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2539
HILLS, JERRE                                                        BOOK-2264                   55   Common Stock
[ADDRESS REDACTED]

KRAMBULE, SYLVIA                                                    BOOK-2512                   55   Common Stock
[ADDRESS REDACTED]

LOBIANCO, MICHAEL                                                   BOOK-2575                   55   Common Stock
[ADDRESS REDACTED]

MCCORMACK, MICHAEL J                                                BOOK-2265                   55   Common Stock
[ADDRESS REDACTED]

MCCORMACK, MICHAEL J                                                BOOK-2198                   55   Common Stock
[ADDRESS REDACTED]

Sheet 49 of 104 in List of Equity Security Holders
                       Case 24-12728-CTG         Doc 1      Filed 12/04/24          Page 66 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

MCCORMACK, MICHAEL J                                                BOOK-2306                   55   Common Stock
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                BOOK-2260                   55   Common Stock
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                BOOK-2250                   55   Common Stock
[ADDRESS REDACTED]

SCHIFFLER, FREDERICK A                                              BOOK-2521                   55   Common Stock
[ADDRESS REDACTED]

TALLEY JR, JAMES                                                    BOOK-2296                   55   Common Stock
[ADDRESS REDACTED]

TUCH, MICHAEL                                                       BOOK-2848                   55   Common Stock
[ADDRESS REDACTED]

COOPERS HAWK FAMILY PARTNERS                                        BOOK-2685                   54   Common Stock
ATTN WILLIAM X MINOR
815 FOX GLEN PL
WALNUT CREEKK, CA 94598

DHANANJAYA KAMISETTI IRA                                            BOOK-2540                   54   Common Stock
[ADDRESS REDACTED]

SNYDER, RON & KIM                                                   AN-1246                     54   Common Stock
[ADDRESS REDACTED]
WINFIELD, JOHN                                                      C-10158                     54   Common Stock
[ADDRESS REDACTED]

LEON J GOLDSCHMIDT, TTEE                                            BOOK-2709                   53   Common Stock
[ADDRESS REDACTED]

ALBAHRANI, FERAS AMEER                                                                          52   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1941

DR TEJINDER KALRA PSP                                               PREF C BOOK-                52   Preferred Stock
[ADDRESS REDACTED]                                                  1470

FAGAN, KENNETH T                                                    PREF C BOOK-                52   Preferred Stock
[ADDRESS REDACTED]                                                  1571

PATEL, KISHAN                                                       PREF C BOOK-                52   Preferred Stock
[ADDRESS REDACTED]                                                  1522

ARORA, SATISH & NEELAM                                              PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1447


Sheet 50 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 67 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

BAHORIK, JOHN & BARBARA                                             PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1448

CHARLES, THOMAS G                                                   PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1031

DAVIS, JAMES                                                        PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1467

JOHN MICHAEL FURLONG IRA                                            PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1410

LEE RADFORD IRA                                                     PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1252

LIN, MICHAEL & GRACE                                                PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1086

MAPLEGATE ANESTHESIOLOGY PSP FBO TERRENCE BURNS, MD                 PREF C BOOK-                51   Preferred Stock
ATTN TERRANCE BURNS                                                 1308
75 RUSKIN RD
SNYDER, NY 14226

MONTGOMERY, ROBERT                                                  PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1507

MORCHESKY, TODD & CHRISTINE                                         PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1508
PAUL M ROSS TRUSTEE DAVID SCHOTZ FAMILY TRUST                       PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1524

PAUL M ROSS TRUSTEE DAVID SCHOTZ FAMILY TRUST                       PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1525

RENEE & CRAIG NIX                                                   PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1243

SANTAYANA REVOCABLE TRUST                                           PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1430

THOMPSON III, WILLIAM                                               PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1550

THOMPSON JR, WILLIAM                                                PREF C BOOK-                51   Preferred Stock
[ADDRESS REDACTED]                                                  1551

BECK, BRIAN                                                         BOOK-2187                   50   Common Stock
[ADDRESS REDACTED]


Sheet 51 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 68 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

MARTINO, MARK                                                       BOOK-2710                   50   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-948                    49   Common Stock
[ADDRESS REDACTED]

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1007

CAPFORM INC                                                         PREF C BOOK-                49   Preferred Stock
ATTN DAVID DOZZO                                                    1600
3 STONEBRIAR WAY
FRISCO, TX 75034

COVA CAPITAL PARTNERS LLC                                                                       49   Common Stock
72 THE GLEN                                                         BOOK-2922
GLEN HEAD, NY 11545

GOLDMAN, SARAH                                                      PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1198

HILLS, JERRE                                                        PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1056
HOLDER, JOHN T                                                      PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1361

PINT, MICHAEL J                                                     PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1248

PINT, MICHAEL J                                                     PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1247

PINT, MICHAEL J                                                     PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1246

SCHMALZ, LARRY                                                      PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1121

WEBER, JOHN H                                                       PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1555

WELTER, PAULA                                                       PREF C BOOK-                49   Preferred Stock
[ADDRESS REDACTED]                                                  1287

LANEY, BRIAN                                                        BOOK-2203                   48   Common Stock
[ADDRESS REDACTED]

PAUL SALLWASSER & TERI KEMMERER JTROS                               BOOK-2239                   48   Common Stock
[ADDRESS REDACTED]

Sheet 52 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 69 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

SULLIVAN, JOHN                                                      BOOK-2759                   48   Common Stock
[ADDRESS REDACTED]

BEATTLE, JAMES L                                                    BOOK-2350                   46   Common Stock
[ADDRESS REDACTED]

GAMBELLA, ROY & BETH                                                2409                        46   Common Stock
[ADDRESS REDACTED]

HERSKOWITZ, GLEN                                                    BOOK-2400                   46   Common Stock
[ADDRESS REDACTED]

LANTERI, VINCENT                                                    BOOK-2413                   46   Common Stock
[ADDRESS REDACTED]

MCSWEENEY, PETER                                                    BOOK-2715                   46   Common Stock
[ADDRESS REDACTED]

SHINSKY, HAROLD K                                                   BOOK-2639                   46   Common Stock
[ADDRESS REDACTED]

CKC HOLDINGS LLC                                                                                44   Preferred Stock
ATTN CASEY CHRISTENSEN                                              PREF C BOOK-
7600 E DOUBLETREE RANCH RD #150                                     1460
SCOTTSDALE, AZ 85258

BAROVIAN, DONNA RICCARDI                                            PREF C BOOK-                43   Preferred Stock
[ADDRESS REDACTED]                                                  1393
PREWITT, JACK PREWITT & MARTHA                                      AN-1238                     43   Common Stock
[ADDRESS REDACTED]

KNAPP, WILLIAM J                                                    PREF C BOOK-                42   Preferred Stock
[ADDRESS REDACTED]                                                  1079

MITCHELL, KATHERINE S                                               BOOK-2578                   42   Common Stock
[ADDRESS REDACTED]

THE GRANT M MITCHELL IRREVOCABLE TRST                               BOOK-2642                   42   Common Stock
[ADDRESS REDACTED]

LEGACY CAPITAL PARTNERS                                             PREF C BOOK-                41   Preferred Stock
ATTN QUINN WILLIAMS                                                 1221
2375 E CAMEL BACK RD, #800
PHOENIX, AZ 85016

PITTAS, JOHN                                                        PREF C BOOK-                41   Preferred Stock
[ADDRESS REDACTED]                                                  1528



Sheet 53 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 70 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

VANSICKLE INVESTMENTS                                               PREF C BOOK-                41   Preferred Stock
3607 E LAKE SAMMAMISH SHORE LN NE                                   1581
SAMMAMISH, WA 98074

WAGHMARAE, ROMANTH                                                  PREF C BOOK-                41   Preferred Stock
[ADDRESS REDACTED]                                                  1553

C MUIR SUPERANNUATION FUND CB MUIR PTY LTD TTEE                     PREF C BOOK-                40   Preferred Stock
22 BALLY ST                                                         1405
CHRISTOPHER MUIR KELVIN GROVE
QUEENSLAND 04059
AUSTRALIA

DRAMIS, FRANCIS                                                     BOOK-2183                   40   Common Stock
[ADDRESS REDACTED]

FJ MANAGEMENT INC                                                   BOOK-1574                   40   Common Stock
185 S STATE ST, STE 1300
SALT LAKE CITY, UT 84111
[NAME REDACTED]                                                     BOOK-2403                   39   Common Stock
[ADDRESS REDACTED]

BARBER/MUELLER FAMILY TRUST-SURVIVORS                               PREF C BOOK-                39   Preferred Stock
[ADDRESS REDACTED]                                                  1576

BLUE MOUNTAIN CENTER                                                PREF C BOOK-                39   Preferred Stock
257 EAGLE NEST RD                                                   1161
BLUE MOUNTAIN LAKE, NY 12812

BRADLEY J DONNER P/ADM PSP U/A DTD NOVEMBER 20, 2003                BOOK-2254                   39   Common Stock
5186 COUNTY RD 11
RUSHVILLE, NY 14544

BROCHU, MICHARL A                                                   PREF C BOOK-                39   Preferred Stock
[ADDRESS REDACTED]                                                  1300

ELSNER, RONNI S                                                     BOOK-2369                   39   Common Stock
[ADDRESS REDACTED]

FARABAUGH, PATRICK & CHERYL                                         BOOK-2371                   39   Common Stock
[ADDRESS REDACTED]

KNOT HOURS LLC                                                      PREF C BOOK-                39   Preferred Stock
235 CENTRAL AVE                                                     1080
HOLLAND, MI 49423

LO, SHUI WING                                                       PREF C BOOK-                39   Preferred Stock
[ADDRESS REDACTED]                                                  1372

Sheet 54 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 71 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

MARC BROWN LIVING TRUST                                             PREF C BOOK-                39   Preferred Stock
[ADDRESS REDACTED]                                                  1087

NEIL & BONNIE BANERJEE JTROWS                                       BOOK-2579                   39   Common Stock
[ADDRESS REDACTED]

SERGHANY, JOSEPH E                                                  BOOK-2459                   39   Common Stock
[ADDRESS REDACTED]

DIVAN, KISHORE V, MD                                                BOOK-2691                   38   Common Stock
[ADDRESS REDACTED]

D-K INC                                                             BOOK-2692                   38   Common Stock
ATTN DENNIS E MILLER
3555 25TH AVE
COLUMBUS, NE 68601

GILBERT, SUZANNE                                                    PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1189

GILBERT, SUZANNE                                                    PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1187

GILBERT, SUZANNE                                                    PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1185

GLAUTHIER, TJ                                                       PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1193
GLAUTHIER, TJ                                                       PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1195

LEMARBE, EDWARD                                                     BOOK-2787                   38   Common Stock
[ADDRESS REDACTED]

ROBBINS, LARRY                                                      BOOK-2738                   38   Common Stock
[ADDRESS REDACTED]

ROSS, PAUL                                                          PREF C BOOK-                38   Preferred Stock
[ADDRESS REDACTED]                                                  1383

ANDERSEN, RICHARD D                                                 PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1558

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        BOOK-2497                   37   Common Stock
[ADDRESS REDACTED]

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1295


Sheet 55 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 72 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

BELLOCCHIO, BRAD                                                    BOOK-2192                   37   Common Stock
[ADDRESS REDACTED]

BENNION, JEFFREY STEWART                                            PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1017

BENNION, RICHARD STEWART                                            PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1331

BUDINSKY, ROBERT A JR                                               BOOK-2535                   37   Common Stock
[ADDRESS REDACTED]

CHEUNG, WINNIE                                                      C-10360                     37   Common Stock
[ADDRESS REDACTED]

COOPERS HAWK FAMILY PARTNERS                                        PREF C BOOK-                37   Preferred Stock
ATTN WILLIAM X MINOR                                                1461
815 FOX GLEN PL
WALNUT CREEKK, CA 94598

DANG, TONY                                                                                      37   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1335

DANG, TONY                                                                                      37   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1336

DOHERTY, MICHAEL W                                                  BOOK-2191                   37   Common Stock
[ADDRESS REDACTED]

DOHERTY, MICHAEL W                                                                              37   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2205

DONNER, THOMAS B                                                    BOOK-2218                   37   Common Stock
[ADDRESS REDACTED]

EAST COAST INVESTORS GROUP INC                                      BOOK-2257                   37   Common Stock
ATTN WILLIAM FRASCO
2168 71ST ST
BROOKLYN, NY 11204

HILLS, JERRE                                                        BOOK-2281                   37   Common Stock
[ADDRESS REDACTED]

HILLS, JERRE                                                        PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1057

HILLS, JERRE                                                        BOOK-2293                   37   Common Stock
[ADDRESS REDACTED]
Sheet 56 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 73 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

HILLS, JERRE                                                        BOOK-2300                   37   Common Stock
[ADDRESS REDACTED]

HOLDER, JOHN T                                                      BOOK-2563                   37   Common Stock
[ADDRESS REDACTED]

INFANTINO, JENINE                                                   BOOK-2226                   37   Common Stock
[ADDRESS REDACTED]

KRAMBULE, SYLVIA                                                    PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1307

LITTMAN, PETER N                                                    BOOK-2416                   37   Common Stock
[ADDRESS REDACTED]

LOBIANCO, MICHAEL                                                   PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1373

MARTIN B ROWE & ANGELA D ROWE TRUSTEES UNDER THE MARTIN PREF C BOOK-                            37   Preferred Stock
B ROWE LIVING TRUST DATED DEC 22 2014                   1227
4 STUART PL
HARRISBURG, IL 62946

MCCORMACK, MICHAEL J                                                BOOK-2272                   37   Common Stock
[ADDRESS REDACTED]

MCCORMACK, MICHAEL J                                                BOOK-2291                   37   Common Stock
[ADDRESS REDACTED]
MCCORMACK, MICHAEL J                                                PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1089

MCCORMACK, MICHAEL J                                                BOOK-2282                   37   Common Stock
[ADDRESS REDACTED]

MCCORMACK, MICHAEL J                                                PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1096

MCCORMACK, MICHAEL J                                                PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1092

MCCORMACK, MICHAEL J                                                BOOK-2249                   37   Common Stock
[ADDRESS REDACTED]

OLSSON, CLAES                                                       BOOK-2629                   37   Common Stock
[ADDRESS REDACTED]

PATEL, PRADIP                                                       BOOK-2256                   37   Common Stock
[ADDRESS REDACTED]


Sheet 57 of 104 in List of Equity Security Holders
                       Case 24-12728-CTG         Doc 1      Filed 12/04/24          Page 74 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

PAUL SALLWASSER & TERI KEMMERER JTROS                               BOOK-2247                   37   Common Stock
[ADDRESS REDACTED]

PAUL SALLWASSER & TERI KEMMERER JTROS                               BOOK-2234                   37   Common Stock
[ADDRESS REDACTED]

ROGER D NESBITT AND BRENTON R NESBITT JT W RIGHTS OF                BOOK-2455                   37   Common Stock
SURVIVORSHIP
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1115

SANTORA II, ARTHUR C                                                BOOK-2274                   37   Common Stock
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1114

SANTORA II, ARTHUR C                                                BOOK-2248                   37   Common Stock
[ADDRESS REDACTED]

SCHENCK, KATHLEEN ANN                                               BOOK-2310                   37   Common Stock
[ADDRESS REDACTED]

SCHIFFLER, FREDERICK A                                              PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1316

SCHIFFLER, FREDERICK A                                              BOOK-2522                   37   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2271                   37   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2295                   37   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2259                   37   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2273                   37   Common Stock
[ADDRESS REDACTED]

TALLEY JR, JAMES                                                    PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1132

TUCH, MICHAEL                                                       PREF C BOOK-                37   Preferred Stock
[ADDRESS REDACTED]                                                  1283
[NAME REDACTED]                                                     BOOK-2782                   36   Common Stock
[ADDRESS REDACTED]
Sheet 58 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 75 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

DAVIS, FREDERICK J                                                                              36   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2689

DHANANJAYA KAMISETTI IRA                                            PREF C BOOK-                36   Preferred Stock
[ADDRESS REDACTED]                                                  1337

HOLDER, JUDITH D                                                    BOOK-2803                   36   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2810                   36   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2809                   36   Common Stock
[ADDRESS REDACTED]

LEON J GOLDSCHMIDT, TTEE                                            PREF C BOOK-                36   Preferred Stock
[ADDRESS REDACTED]                                                  1499

NESLAND, BRETT                                                      BOOK-2720                   36   Common Stock
[ADDRESS REDACTED]

RENAUD, JAMES                                                       BOOK-2737                   36   Common Stock
[ADDRESS REDACTED]

SHINSKY, HAROLD K                                                   BOOK-2742                   36   Common Stock
[ADDRESS REDACTED]

CHINA BROADBAND PARTNERS LTD                                        BOOK-380                    35   Common Stock
C/O CLIVE NG
20 E 10TH ST
NEW YORK, NY 10003

MARTINO, MARK                                                       PREF C BOOK-                34   Preferred Stock
[ADDRESS REDACTED]                                                  1501

BECK, BRIAN                                                         PREF C BOOK-                33   Preferred Stock
[ADDRESS REDACTED]                                                  1014

BENNION, RICHARD CLARK                                              BOOK-2780                   33   Common Stock
[ADDRESS REDACTED]

CKC HOLDINGS LLC                                                                                33   Common Stock
ATTN CASEY CHRISTENSEN                                              BOOK-2683
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258

CKC HOLDINGS LLC                                                                                33   Common Stock
ATTN CASEY CHRISTENSEN                                              BOOK-2683
7600 E DOUBLETREE RANCH RD #150
SCOTTSDALE, AZ 85258
Sheet 59 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 76 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

BUSHNELL, RICKEY                                                    BOOK-2964                   32   Common Stock
[ADDRESS REDACTED]

LANEY, BRIAN                                                        PREF C BOOK-                32   Preferred Stock
[ADDRESS REDACTED]                                                  1084

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                32   Preferred Stock
[ADDRESS REDACTED]                                                  1107

SMITH, WESLEY                                                       BOOK-1807                   32   Common Stock
[ADDRESS REDACTED]

SULLIVAN, JOHN                                                      PREF C BOOK-                32   Preferred Stock
[ADDRESS REDACTED]                                                  1490

[NAME REDACTED]                                                     BOOK-2194                   31   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-2195                   31   Common Stock
[ADDRESS REDACTED]

BEATTLE, JAMES L                                                    PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1153

BECK, BRIAN                                                                                     31   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2308

DANG, TONY                                                                                      31   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2537

GAMBELLA, ROY & BETH                                                PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1049

HERSKOWITZ, GLEN                                                    PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1205
LANTERI, VINCENT                                                    PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1219

MCSWEENEY, PETER                                                    PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1506

ROGERS, DAN AND MILLIE                                              C-10361                     31   Common Stock
[ADDRESS REDACTED]

SHINSKY, HAROLD K                                                   PREF C BOOK-                31   Preferred Stock
[ADDRESS REDACTED]                                                  1432

CHANG, SHUYA                                                        BOOK-953                    30   Common Stock
[ADDRESS REDACTED]

Sheet 60 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 77 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

GANI FAMILY IRREVOCABLE TRUST FBO BARBARA GANI                      BOOK-2506                   29   Common Stock
[ADDRESS REDACTED]

GANI FAMILY IRREVOCABLE TRUST FBO JACQUES GANI                      BOOK-2507                   29   Common Stock
[ADDRESS REDACTED]

MARCEL GANI, TRUSTEE, GANI 2002 TRUST                               BOOK-2278                   29   Common Stock
[ADDRESS REDACTED]

1575 HOLDINGS LLC                                                   BOOK-2348                   28   Common Stock
105 S 1170 E
LINDON, UT 84042

MITCHELL, KATHERINE S                                               PREF C BOOK-                28   Preferred Stock
[ADDRESS REDACTED]                                                  1376

THE BAHR FAMILY LTD PARTNERSHIP                                     BOOK-2209                   28   Common Stock
88 CHASE POINT RD
MIRROR LAKE, NH 3853

THE GRANT M MITCHELL IRREVOCABLE TRST                               PREF C BOOK-                28   Preferred Stock
[ADDRESS REDACTED]                                                  1435

THOMAS G ENGEL, ROTH IRA                                            BOOK-2523                   28   Common Stock
[ADDRESS REDACTED]

WIESENTHAL, NORMAN, MD                                              BOOK-2479                   28   Common Stock
[ADDRESS REDACTED]
AITKENHEAD, ROBERTO                                                                             27   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1267

APPLETREE CAPITAL LLC                                                                           27   Common Stock
3333 N DIGITAL DR, STE 430                                          BOOK-1796
LEHI, UT 84043

DRAMIS, FRANCIS                                                     PREF C BOOK-                27   Preferred Stock
[ADDRESS REDACTED]                                                  1044

IDC OVERSEAS LTD                                                    BOOK-1252                   27   Common Stock
13 CALLE 2-60 ZONA 10
GUATEMALA
GUATEMALA

JACOBS, JACQUELINE                                                  BOOK-2670                   27   Common Stock
[ADDRESS REDACTED]
SNYDER, RON                                                         Y-2100                      27   Common Stock
[ADDRESS REDACTED]


Sheet 61 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 78 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

TURGEON, KENNETH                                                    AN-1240                     27   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1208

BRADLEY J DONNER P/ADM PSP U/A DTD NOVEMBER 20, 2003                PREF C BOOK-                26   Preferred Stock
5186 COUNTY RD 11                                                   1022
RUSHVILLE, NY 14544

DIVAN, KISHORE V, MD                                                PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1468

D-K INC                                                             PREF C BOOK-                26   Preferred Stock
ATTN DENNIS E MILLER                                                1469
3555 25TH AVE
COLUMBUS, NE 68601

ELSNER, RONNI S                                                     PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1173

FARABAUGH, PATRICK & CHERYL                                         PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1175
LEMARBE, EDWARD                                                     PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1569

NEIL & BONNIE BANERJEE JTROWS                                       PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1377

ROBBINS, LARRY                                                      PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1535

SERGHANY, JOSEPH E                                                  PREF C BOOK-                26   Preferred Stock
[ADDRESS REDACTED]                                                  1268

GIBSON, ABBE & ROBERT                                               C-10359                     25   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1564

ANDREW SURABIAN & JOANNE SURBIAN JT TEN/WROS                        PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1294

APPLETREE CAPITAL LLC                                                                           24   Common Stock
3333 N DIGITAL DR, STE 430                                          BOOK-1526
LEHI, UT 84043



Sheet 62 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 79 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

BELLOCCHIO, BRAD                                                    PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1016

BUDINSKY, ROBERT A JR & CARLA R                                     PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1332

DANG, TONY                                                                                      24   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1334

DAVIS, FREDERICK J                                                                              24   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1466

DOHERTY, MICHAEL W                                                                              24   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1041

DOHERTY, MICHAEL W                                                  PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1040

DONNER, THOMAS B                                                    PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1042
EAST COAST INVESTORS GROUP INC                                      PREF C BOOK-                24   Preferred Stock
ATTN WILLIAM FRASCO                                                 1045
2168 71ST ST
BROOKLYN, NY 11204

HILLS, JERRE                                                        PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1064
HILLS, JERRE                                                        PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1061

HILLS, JERRE                                                        PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1063

HOLDER, JOHN T                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1360

HOLDER, JUDITH D                                                    PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1586

INFANTINO, JENINE                                                   PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1065
KUPFERBERG, STEPHEN                                                 PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1593


Sheet 63 of 104 in List of Equity Security Holders
                       Case 24-12728-CTG         Doc 1      Filed 12/04/24          Page 80 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

KUPFERBERG, STEPHEN                                                 PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1592

LITTMAN, PETER N                                                    PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1222

MCCORMACK, MICHAEL J                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1095

MCCORMACK, MICHAEL J                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1093

MCCORMACK, MICHAEL J                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1094

MCCORMACK, MICHAEL J                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1091

NESLAND, BRETT                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1514

OLSSON, CLAES                                                       PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1422

PATEL, PRADIP                                                       PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1102

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1105

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1106

RENAUD, JAMES                                                       PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1533
ROGER D NESBITT AND BRENTON R NESBITT JT W RIGHTS OF                PREF C BOOK-                24   Preferred Stock
SURVIVORSHIP                                                        1264
[ADDRESS REDACTED]

SANTORA II, ARTHUR C                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1113

SANTORA II, ARTHUR C                                                PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1116

SCHENCK, KATHLEEN ANN                                               PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1118
SCHIFFLER, FREDERICK A                                              PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1317
Sheet 64 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 81 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

SCHMALZ, LARRY                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1124

SCHMALZ, LARRY                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1126

SCHMALZ, LARRY                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1122

SCHMALZ, LARRY                                                      PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1123

SHINSKY, HAROLD K                                                   PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1539

SMITHLINE FAMILY TRUST II                                           PREF C BOOK-                24   Preferred Stock
[ADDRESS REDACTED]                                                  1443

RUKLIC, GREGORY M                                                   BOOK-2568                   23   Common Stock
[ADDRESS REDACTED]

BENNION, RICHARD CLARK                                              PREF C BOOK-                22   Preferred Stock
[ADDRESS REDACTED]                                                  1562

CKC HOLDINGS LLC                                                                                22   Preferred Stock
ATTN CASEY CHRISTENSEN                                              PREF C BOOK-
7600 E DOUBLETREE RANCH RD #150                                     1459
SCOTTSDALE, AZ 85258

CKC HOLDINGS LLC                                                                                22   Preferred Stock
ATTN CASEY CHRISTENSEN                                              PREF C BOOK-
7600 E DOUBLETREE RANCH RD #150                                     1459
SCOTTSDALE, AZ 85258

HEKKING, MIKE                                                       BOOK-2697                   22   Common Stock
[ADDRESS REDACTED]

LUXENBERG, ARTHUR                                                   C-10161                     22   Common Stock
[ADDRESS REDACTED]

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                22   Preferred Stock
40 RECTOR ST, STE 1020                                              1518
NEW YORK, NY 10006

BECK, BRIAN                                                                                     21   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1015
BUBENZER, PETER AND LISA JOANNE MARSHALL                            BOOK-2979                   21   Common Stock
[ADDRESS REDACTED]
Sheet 65 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 82 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

HOWARD LIVING TRUST U/D/T DTD 12/14/2005                            Y-2126                      21   Common Stock

[NAME REDACTED]                                                     BOOK-2319                   20   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                20   Preferred Stock
[ADDRESS REDACTED]                                                  1033

[NAME REDACTED]                                                                                 20   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2286

[NAME REDACTED]                                                     PREF C BOOK-                20   Preferred Stock
[ADDRESS REDACTED]                                                  1081

BIRKIN, MICHAEL                                                                                 20   Common Stock
[ADDRESS REDACTED]                                                  Y-2187

BIRKIN, MICHAEL                                                     Y-2145                      20   Common Stock
[ADDRESS REDACTED]

CARDINI, BRADLEY A                                                                              20   Common Stock
[ADDRESS REDACTED]                                                  2417

ENDEAVOR ENTERPRISE TRUST                                                                       20   Common Stock
6028 S RIDGELINE DR, #203                                           BOOK-1797
OGDEN, UT 84405

MCCAY, TERRY & FREDA                                                BOOK-2424                   20   Common Stock
[ADDRESS REDACTED]

ALTLAN, DANA S                                                      BOOK-2869                   19   Common Stock
[ADDRESS REDACTED]

BOYD, JIM                                                           BOOK-2500                   19   Common Stock
[ADDRESS REDACTED]

BUSACCA, SALVATORE                                                  BOOK-2224                   19   Common Stock
[ADDRESS REDACTED]

DANG, TONY                                                          BOOK-2536                   19   Common Stock
[ADDRESS REDACTED]

DAVID ZACHARIAS & HOLLIS W ZACHARIAS TRUSTEE OF ZACHARIAS           BOOK-2599                   19   Common Stock
FAMILY TRUST
[ADDRESS REDACTED]

DOOLEY, CHRISTOPHER                                                 BOOK-2505                   19   Common Stock
[ADDRESS REDACTED]



Sheet 66 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 83 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

GANI FAMILY IRREVOCABLE TRUST FBO BARBARA GANI                      PREF C BOOK-                19   Preferred Stock
[ADDRESS REDACTED]                                                  1303

GANI FAMILY IRREVOCABLE TRUST FBO JACQUES GANI                      PREF C BOOK-                19   Preferred Stock
[ADDRESS REDACTED]                                                  1304

GARDNER, JANE E                                                     BOOK-2508                   19   Common Stock
[ADDRESS REDACTED]

GROVE, RUSS                                                         BOOK-2557                   19   Common Stock
[ADDRESS REDACTED]

HAWORTH, MICHAEL                                                    BOOK-2240                   19   Common Stock
[ADDRESS REDACTED]

HAWORTH, MICHAEL                                                    BOOK-2244                   19   Common Stock
[ADDRESS REDACTED]

HEEFNER, THOMAS                                                     BOOK-2228                   19   Common Stock
[ADDRESS REDACTED]

HENKENIUS, RICHARD J                                                BOOK-2242                   19   Common Stock
[ADDRESS REDACTED]

HILLS, JERRE                                                        BOOK-2275                   19   Common Stock
[ADDRESS REDACTED]

HILLS, JERRE                                                        BOOK-2269                   19   Common Stock
[ADDRESS REDACTED]

INDICO, ANTHONY J                                                   BOOK-2404                   19   Common Stock
[ADDRESS REDACTED]

JINNAH, RIYAZ                                                       BOOK-2567                   19   Common Stock
[ADDRESS REDACTED]
KAROW, STACY                                                        BOOK-2223                   19   Common Stock
[ADDRESS REDACTED]

KAROW, STEVEN                                                       BOOK-2222                   19   Common Stock
[ADDRESS REDACTED]

KEATING, DENNIS & MARY                                              BOOK-2594                   19   Common Stock
[ADDRESS REDACTED]

KEATING, DENNIS & MARY                                              BOOK-2573                   19   Common Stock
[ADDRESS REDACTED]

KELLER, BRIAN & DEBBIE                                              BOOK-2190                   19   Common Stock
[ADDRESS REDACTED]

Sheet 67 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 84 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

KELLER, BRIAN & DEBBIE                                              BOOK-2217                   19   Common Stock
[ADDRESS REDACTED]

KELLY, KEVIN T                                                      BOOK-2266                   19   Common Stock
[ADDRESS REDACTED]

KELLY, KEVIN T                                                      BOOK-2246                   19   Common Stock
[ADDRESS REDACTED]

LAWSON, GEORGE                                                      BOOK-2708                   19   Common Stock
[ADDRESS REDACTED]

MCCARRON, STEPHEN P                                                 BOOK-2577                   19   Common Stock
[ADDRESS REDACTED]

MCCORMACK, MICHAEL J                                                BOOK-2220                   19   Common Stock
[ADDRESS REDACTED]

NIGHTHAWK FINANCIAL LLC                                             PREF C BOOK-                19   Preferred Stock
40 RECTOR ST, STE 1020                                              1515
NEW YORK, NY 10006

OLSSON, CLAES                                                       BOOK-2628                   19   Common Stock
[ADDRESS REDACTED]

PAUL SALLWASSER & TERI KEMMERER JTWROS                              BOOK-2518                   19   Common Stock
[ADDRESS REDACTED]

REISDORF, JOHN & JANIS                                              BOOK-2243                   19   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2225                   19   Common Stock
[ADDRESS REDACTED]

SCHMALZ, LARRY                                                      BOOK-2199                   19   Common Stock
[ADDRESS REDACTED]

SHINSKY, HAROLD K                                                   BOOK-2640                   19   Common Stock
[ADDRESS REDACTED]

SLITKIN, EILEEN                                                     BOOK-2241                   19   Common Stock
[ADDRESS REDACTED]

SMITH, WESLEY                                                       BOOK-1522                   19   Common Stock
[ADDRESS REDACTED]

STRICKLER, BRENT DONALD                                             BOOK-2212                   19   Common Stock
[ADDRESS REDACTED]
TALLEY JR, JAMES                                                    BOOK-2211                   19   Common Stock
[ADDRESS REDACTED]
Sheet 68 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 85 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

THE BAHR FAMILY LTD PARTNERSHIP                                     BOOK-2215                   19   Common Stock
88 CHASE POINT RD
MIRROR LAKE, NH 3853

THE BAHR FAMILY LTD PARTNERSHIP                                     BOOK-2251                   19   Common Stock
88 CHASE POINT RD
MIRROR LAKE, NH 3853

THE HENRY H BAHR QTP TRUST                                          BOOK-2210                   19   Common Stock
[ADDRESS REDACTED]

THE HENRY H BAHR QTP TRUST                                                                      19   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2216

TOMALTY, GLENN                                                      BOOK-2591                   19   Common Stock
[ADDRESS REDACTED]

VOTTERI, LINDA & BERNIE                                             C-10358                     19   Common Stock
[ADDRESS REDACTED]

WAGHMARAE, ROMANTH & RAMILLA                                        BOOK-2754                   19   Common Stock
[ADDRESS REDACTED]

WASSERBERG, LOUISE                                                  BOOK-2476                   19   Common Stock
[ADDRESS REDACTED]

WOLF, ARTHUR                                                        2407                        19   Common Stock
[ADDRESS REDACTED]
1575 HOLDINGS LLC                                                   PREF C BOOK-                18   Preferred Stock
105 S 1170 E                                                        1151
LINDON, UT 84042

BAILEY, JOHN W                                                                                  18   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2678

BAROVIAN, DONNA RICCARDI                                                                        18   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2813

CLARKE, LAURA                                                       BOOK-2784                   18   Common Stock
[ADDRESS REDACTED]

CROUSE, DAVID N                                                     BOOK-2820                   18   Common Stock
[ADDRESS REDACTED]

DAVIS, FREDERICK J                                                                              18   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2688




Sheet 69 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 86 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

ENDEAVOR ENTERPRISE TRUST                                                                       18   Common Stock
6028 S RIDGELINE DR, #203                                           BOOK-1527
OGDEN, UT 84405

FABRIC, ROBERT K, MD                                                BOOK-2788                   18   Common Stock
[ADDRESS REDACTED]

HEKKING, MIKE                                                       BOOK-2671                   18   Common Stock
[ADDRESS REDACTED]

HOLDER, JUDITH D                                                    BOOK-2802                   18   Common Stock
[ADDRESS REDACTED]

JACOBS, JACQUELINE                                                  PREF C BOOK-                18   Preferred Stock
[ADDRESS REDACTED]                                                  1489

JOHNSON, CINDY                                                      BOOK-2667                   18   Common Stock
[ADDRESS REDACTED]

KITTRELL, TROY A                                                    BOOK-2804                   18   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2805                   18   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2806                   18   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2807                   18   Common Stock
[ADDRESS REDACTED]

KUPFERBERG, STEPHEN                                                 BOOK-2808                   18   Common Stock
[ADDRESS REDACTED]

LEONARD PIPITONE, JOSEPH                                            BOOK-2731                   18   Common Stock
[ADDRESS REDACTED]

NESLAND, BRETT                                                      BOOK-2719                   18   Common Stock
[ADDRESS REDACTED]

RAPP, ETHAN                                                         2395                        18   Common Stock
[ADDRESS REDACTED]

SNERSON, BRIAN                                                      Y-2077                      18   Common Stock
[ADDRESS REDACTED]

TEWES, BRUCE                                                        BOOK-2749                   18   Common Stock
[ADDRESS REDACTED]



Sheet 70 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 87 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

THE BAHR FAMILY LTD PARTNERSHIP                                     PREF C BOOK-                18   Preferred Stock
88 CHASE POINT RD                                                   1135
MIRROR LAKE, NH 3853

THOMAS G ENGEL, ROTH IRA                                            PREF C BOOK-                18   Preferred Stock
[ADDRESS REDACTED]                                                  1318

WIESENTHAL, NORMAN, MD                                              PREF C BOOK-                18   Preferred Stock
[ADDRESS REDACTED]                                                  1288

BALL, STEVE                                                         BOOK-1813                   16   Common Stock
[ADDRESS REDACTED]

CHITAYAT, TAI                                                                                   16   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1270

SIHARAJ, SALI                                                       BOOK-2488                   16   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10212                     16   Common Stock
[ADDRESS REDACTED]

GUCCIARDO, BRIAN                                                    Y-2248                      15   Common Stock
[ADDRESS REDACTED]

HEKKING, MIKE                                                       PREF C BOOK-                15   Preferred Stock
[ADDRESS REDACTED]                                                  1479

KELLER, BRIAN & DEBBIE                                              BOOK-2204                   15   Common Stock
[ADDRESS REDACTED]

RUKLIC, GREGORY M                                                   PREF C BOOK-                15   Preferred Stock
[ADDRESS REDACTED]                                                  1384

MINOR, WILIAM X                                                     BOOK-2514                   14   Common Stock
[ADDRESS REDACTED]

OVIEDO, VICTOR M                                                    BOOK-1273                   14   Common Stock
[ADDRESS REDACTED]

RUTENBERG FAMILY TRUST                                              BOOK-1268                   14   Common Stock
[ADDRESS REDACTED]

TURGEON, KENNETH                                                    C-10541                     14   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     PREF C BOOK-                13   Preferred Stock
[ADDRESS REDACTED]                                                  1083



Sheet 71 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 88 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

[NAME REDACTED]                                                                                 13   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1035

LAWSON, GEORGE                                                      PREF C BOOK-                13   Preferred Stock
[ADDRESS REDACTED]                                                  1498

MCCAY, TERRY & FREDA                                                PREF C BOOK-                13   Preferred Stock
[ADDRESS REDACTED]                                                  1230

WAGHMARAE, ROMANTH & RAMILLA                                        PREF C BOOK-                13   Preferred Stock
[ADDRESS REDACTED]                                                  1554

ALTLAN, DANA S                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1599

BAILEY, JOHN W                                                                                  12   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1451

BAROVIAN, DONNA RICCARDI                                                                        12   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1595

BOYD, JIM                                                           PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1297

BUSACCA, SALVATORE                                                  PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1027

CLARKE, LAURA                                                       PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1566

CROUSE, DAVID N                                                     PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1598

DANG, TONY                                                          PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1333

DAVID ZACHARIAS & HOLLIS W ZACHARIAS TRUSTEE OF ZACHARIAS           PREF C BOOK-                12   Preferred Stock
FAMILY TRUST                                                        1394
[ADDRESS REDACTED]

DAVIS, FREDERICK J                                                                              12   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1465

DOOLEY, CHRISTOPHER                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1302


Sheet 72 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 89 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

FABRIC, ROBERT K, MD                                                PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1570

GARDNER, JANE E                                                     PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1323

GROVE, RUSS                                                         PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1354

HAWORTH, MICHAEL H                                                  PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1051

HAWORTH, MICHAEL H                                                  PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1052

HEEFNER, THOMAS                                                     PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1053

HEKKING, MIKE                                                       PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1477

HENKENIUS, RICHARD J                                                PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1054

HILLS, JERRE                                                        PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1058

HILLS, JERRE                                                        PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1060

HOLDER, JUDITH D                                                    PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1585

INDICO, ANTHONY J                                                   PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1209
JINNAH, RIYAZ                                                       PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1364

JOHNSON, CINDY                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1491

KAROW, STACY                                                        PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1070

KAROW, STEVEN                                                       PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1069

KEATING, DENNIS & MARY                                              PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1371

Sheet 73 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 90 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

KEATING, DENNIS & MARY                                              PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1370

KELLER, BRIAN & DEBBIE                                              PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1072

KELLER, BRIAN & DEBBIE                                              PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1074

KELLY, KEVIN T                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1075

KELLY, KEVIN T                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1076

KITTRELL, TROY A                                                    PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1587

KNAPP, WILLIAM J                                                    PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1077

KUPFERBERG, STEPHEN                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1588

KUPFERBERG, STEPHEN                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1589

KUPFERBERG, STEPHEN                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1590

KUPFERBERG, STEPHEN                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1591

LEONARD PIPITONE, JOSEPH                                            PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1527
MCCARRON, STEPHEN P                                                 PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1375

MCCORMACK, MICHAEL J                                                PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1090

NESLAND, BRETT                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1513

OLSSON, CLAES                                                       PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1421

PAUL SALLWASSER & TERI KEMMERER JTROS                               PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1313

Sheet 74 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 91 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares          Class
business of holder

REISDORF, JOHN & JANIS                                              PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1109

ROBERT L BAHR THE HENRY H BAHR QTIP TRUST                                                       12   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1137

ROBERT L BAHR THE HENRY H BAHR QTIP TRUST                           PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1136

SCHMALZ, LARRY                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1120

SCHMALZ, LARRY                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1119

SHINSKY, HAROLD K                                                   PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1433

SLITKIN, EILEEN                                                     PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1129

STRICKLER, BRENT DONALD                                             PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1130

TALLEY JR, JAMES                                                    PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1131

TEWES, BRUCE                                                        PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1549

THE BAHR FAMILY LTD PARTNERSHIP                                     PREF C BOOK-                12   Preferred Stock
88 CHASE POINT RD                                                   1134
MIRROR LAKE, NH 3853

THE BAHR FAMILY LTD PARTNERSHIP                                     PREF C BOOK-                12   Preferred Stock
88 CHASE POINT RD                                                   1133
MIRROR LAKE, NH 3853

TOMALTY, GLENN                                                      PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1389

WASSERBERG, LOUISE                                                  PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1285

WOLF, ARTHUR                                                        PREF C BOOK-                12   Preferred Stock
[ADDRESS REDACTED]                                                  1391

ALBAHRANI, FERAS AMEER                                                                          11   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1940

Sheet 75 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 92 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares         Class
business of holder

ALLMAN, MICHAEL                                                     BOOK-2674                   11   Common Stock
[ADDRESS REDACTED]

HEKKING, MIKE                                                       BOOK-2696                   11   Common Stock
[ADDRESS REDACTED]

JPA INVESTMENTS LLC                                                 AN-1228                     11   Common Stock
3029 AIRPORT FREEWAY
BEDFORD, TX 76021

MICHAEL P SHEINSON TRUST                                            C-10156                     11   Common Stock
[ADDRESS REDACTED]

MIERSCH, EDWARD R                                                   C-10324                     11   Common Stock
[ADDRESS REDACTED]

PANARIELLO, GEORGE                                                  Y-2099                      11   Common Stock
[ADDRESS REDACTED]

SHOH, STANLEY                                                       C-10367                     11   Common Stock
[ADDRESS REDACTED]

TURGEON, KENNETH                                                    C-10168                     11   Common Stock
[ADDRESS REDACTED]

ANSHUTZ, BARRY                                                      BOOK-2237                   10   Common Stock
[ADDRESS REDACTED]

BALL, STEVE                                                         BOOK-1829                   10   Common Stock
[ADDRESS REDACTED]

BOYD, JIM                                                                                       10   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2501

BRESNAHAN, DENNIS HR                                                BOOK-2359                   10   Common Stock
[ADDRESS REDACTED]

BUSACCA, SALVATORE                                                                              10   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2238

DONNER, THOMAS B                                                                                10   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2236

FEITZ, DALE                                                         BOOK-2372                   10   Common Stock
[ADDRESS REDACTED]

FIERING, STEVEN                                                     BOOK-2543                   10   Common Stock
[ADDRESS REDACTED]
GARDNER, JANE E                                                     BOOK-2509                   10   Common Stock
[ADDRESS REDACTED]
Sheet 76 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 93 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

KELLER, BRIAN & DEBBIE                                              PREF C BOOK-                10     Preferred Stock
[ADDRESS REDACTED]                                                  1073

LITTMAN, PETER N                                                    BOOK-2417                   10     Common Stock
[ADDRESS REDACTED]

LITTMAN, PETER N                                                    BOOK-2418                   10     Common Stock
[ADDRESS REDACTED]

LUTZ, ROBERT                                                        BOOK-2793                   10     Common Stock
[ADDRESS REDACTED]

MODICA, GUY                                                         BOOK-2427                   10     Common Stock
[ADDRESS REDACTED]

RICCARDI, JOHN & CAROLANN                                           BOOK-2450                   10     Common Stock
[ADDRESS REDACTED]

SCOTLAND, RICHARD A                                                 BOOK-2604                   10     Common Stock
[ADDRESS REDACTED]

SMITHLINE FAMILY TRUST II                                           PREF C BOOK-                10     Preferred Stock
[ADDRESS REDACTED]                                                  1442

BAILEY, JOHN W                                                      BOOK-2677                      9   Common Stock
[ADDRESS REDACTED]

CHOI, DOUGLAS                                                       BOOK-934                       9   Common Stock
[ADDRESS REDACTED]

FILLER, GARY B                                                                                     9   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2792

FILLER, GARY B                                                                                     9   Common Stock
[ADDRESS REDACTED]                                                  BOOK-2791
MINOR, WILIAM X                                                     PREF C BOOK-                   9   Preferred Stock
[ADDRESS REDACTED]                                                  1309

WHITESELL, BRYAN LYNN                                               BOOK-2041                      9   Common Stock
[ADDRESS REDACTED]

CERCEO, MARC & PAM                                                  C-10325                        8   Common Stock
[ADDRESS REDACTED]

GALIMBERTI, ALEXANDER                                               Y-2256                         8   Common Stock
[ADDRESS REDACTED]

GAMBOURG, ROMAN V                                                   C-10338                        8   Common Stock
[ADDRESS REDACTED]

Sheet 77 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 94 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

HARPER, MARCELLUS                                                   BOOK-1960                      8   Common Stock
[ADDRESS REDACTED]

LEK SECURITIES UK LIMITED                                           BOOK-1962                      8   Common Stock
C/O LEK SECURITIES CORP 4 WORLD TRADE CENTER- FLR 44
150 GREENWICH ST
NEW YORK, NY 10007

LIPKIND, ILYA                                                       BOOK-1254                      8   Common Stock
[ADDRESS REDACTED]

NGUYEN, ANH                                                         BOOK-1957                      8   Common Stock
[ADDRESS REDACTED]

ALLMAN, MICHAEL                                                     PREF C BOOK-                   7   Preferred Stock
[ADDRESS REDACTED]                                                  1446

CW ENTERPRISE INC                                                   BOOK-960                       7   Common Stock
17 STATE ST #2100
NEW YORK, NY 10004

HEKKING, MIKE                                                       PREF C BOOK-                   7   Preferred Stock
[ADDRESS REDACTED]                                                  1478
KNAPP, WILLIAM J                                                    PREF C BOOK-                   7   Preferred Stock
[ADDRESS REDACTED]                                                  1078

ANSHUTZ, BARRY                                                      PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1010

BAILEY, JOHN W                                                                                     6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1450

BOYD, JIM                                                                                          6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1298

BRADEN, CODY C                                                      BOOK-2252                      6   Common Stock
[ADDRESS REDACTED]

BRESNAHAN, DENNIS HR                                                PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1163

BUSACCA, SALVATORE                                                                                 6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1028
DEVINE PROPERTY LTD                                                 AN-1221                        6   Common Stock


Sheet 78 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 95 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

DONNER, THOMAS B                                                                                   6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1043

FEITZ, DALE                                                         PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1176

FIERING, STEVEN                                                     PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1340

FILLER, GARY B                                                                                     6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1573

FILLER, GARY B                                                                                     6   Preferred Stock
[ADDRESS REDACTED]                                                  PREF C BOOK-
                                                                    1574

GARDNER, JANE E                                                     PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1324

GOLDMAN, MICHAEL                                                    Y-2227                         6   Common Stock
[ADDRESS REDACTED]
JPA INVESTMENTS LLC                                                 C-10532                        6   Common Stock
3029 AIRPORT FREEWAY
BEDFORD, TX 76021

LITTMAN, PETER N                                                    PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1223

LITTMAN, PETER N                                                    PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1224

LUTZ, ROBERT                                                        PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1575

MODICA, GUY                                                         PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1233

NORTH SHORE HEBREW ACADEMY                                          C-10486                        6   Common Stock
P.O. BOX 1026
NEW YORK, NY

RICCARDI, JOHN & CAROLANN                                           PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1259
SCOTLAND, RICHARD A                                                 PREF C BOOK-                   6   Preferred Stock
[ADDRESS REDACTED]                                                  1267


Sheet 79 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 96 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

YOUNG ISRAEL OF GREAT NECK                                          C-10487                        6   Common Stock
C/O CHINA BROADBAND INC
27 UNION SQ W, STE 501-502
NEW YORK, NY 10003

[NAME REDACTED]                                                     BOOK-1264                      5   Common Stock
[ADDRESS REDACTED]

GRATITUDE GROUP LLC                                                 BOOK-1251                      5   Common Stock
47A BARROW ST
NEW YORK, NY 10014

JACOBS, ANJEANETTE                                                  BOOK-2668                      5   Common Stock
[ADDRESS REDACTED]

LUXENBERG, ARTHUR                                                   C-10152                        5   Common Stock
[ADDRESS REDACTED]

MAY, JAMES                                                          BOOK-1811                      5   Common Stock
[ADDRESS REDACTED]

NANCE, WENDY                                                        BOOK-2669                      5   Common Stock
[ADDRESS REDACTED]
RUIZ-GIMENEZ, ANTONIO, JR                                           BOOK-928                       5   Common Stock
[ADDRESS REDACTED]

BRADEN, CODY C                                                      PREF C BOOK-                   4   Preferred Stock
[ADDRESS REDACTED]                                                  1021

CHABAD, COLEL                                                       Y-2143                         4   Common Stock
[ADDRESS REDACTED]

EISERT, ROBERT                                                      BOOK-1805                      4   Common Stock
[ADDRESS REDACTED]

ELLIS, DAN                                                                                         4   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1808

EQUITY TRUST COMPANY                                                BOOK-1821                      4   Common Stock
CUSTODIAN FBO TODD HOLM IRA
1 EQUITY WAY
WESTLAKE, OH 44145

EQUITY TRUST COMPANY                                                BOOK-1822                      4   Common Stock
FBO HOLMBERG MD PC 401 (K)
1 EQUITY WAY
WESTLAKE, OH 44145


Sheet 80 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 97 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

ESPINOSA, MELANIE                                                   BOOK-1804                      4   Common Stock
[ADDRESS REDACTED]

GROSS, IRWIN                                                        C-10495                        4   Common Stock
[ADDRESS REDACTED]

MERMELSTEIN, BERNARD                                                BOOK-188                       4   Common Stock
[ADDRESS REDACTED]

METZLER, VIKTOR                                                     BOOL-1819                      4   Common Stock
[ADDRESS REDACTED]

WESTPARK CAPITAL INC                                                Y-2141                         4   Common Stock
1800 CENTURY PARK E, STE 220
LOS ANGELES, CA

WHITESELL, BRYAN LYNN                                               BOOK-2021                      4   Common Stock
[ADDRESS REDACTED]

YOUNG ISRAEL OF GREAT NECK                                          Y-2142                         4   Common Stock
236 MIDDLE NECK RD
GREAT NECK, NY 11021

ASTAFUROV, ARTEM                                                    BOOK-929                       3   Common Stock
[ADDRESS REDACTED]

CHANG, SHUYA                                                                                       3   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1269
COOPER, DANIEL S                                                                                   3   Common Stock
[ADDRESS REDACTED]                                                  C-10525

EISERT, ROBERT                                                      BOOK-1535                      3   Common Stock
[ADDRESS REDACTED]

ELLIS, DAN                                                          BOOK-1536                      3   Common Stock
[ADDRESS REDACTED]

GAMBOURG, ROMAN                                                     C-10500                        3   Common Stock
[ADDRESS REDACTED]

GRIEGO, EVANS                                                       BOOK-1828                      3   Common Stock
[ADDRESS REDACTED]

INGLISH, JOHN                                                       BOOK-1812                      3   Common Stock
[ADDRESS REDACTED]

JACOBS, ANJEANETTE                                                  PREF C BOOK-                   3   Preferred Stock
[ADDRESS REDACTED]                                                  1486


Sheet 81 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 98 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares            Class
business of holder

LETHELLIER, PATRICE                                                 BOOK-1830                      3   Common Stock
[ADDRESS REDACTED]

MAY, JAMES                                                          BOOK-1823                      3   Common Stock
[ADDRESS REDACTED]

MERMELSTEIN, BERNARD                                                BOOK-32                        3   Common Stock
[ADDRESS REDACTED]

METZLER, VIKTOR                                                     BOOK-1838                      3   Common Stock
[ADDRESS REDACTED]

NANCE, WENDY                                                        PREF C BOOK-                   3   Preferred Stock
[ADDRESS REDACTED]                                                  1509

NOONAN, GEORGE                                                      C-10535                        3   Common Stock
[ADDRESS REDACTED]

OR, KEREN                                                           C-10497                        3   Common Stock
[ADDRESS REDACTED]

WU, HUNTER                                                          BOOK-1825                      3   Common Stock
[ADDRESS REDACTED]

YAMAK, RAAFAT                                                       BOOK-2873                      3   Common Stock
[ADDRESS REDACTED]

BRILL, PHILLIP                                                      BOOK-187                       2   Common Stock
[ADDRESS REDACTED]

CLEMENTS, GREG                                                      BOOK-1818                      2   Common Stock
[ADDRESS REDACTED]

ESPINOSA, MELANIE                                                   BOOK-1534                      2   Common Stock
[ADDRESS REDACTED]
GROSS CAPITAL INC                                                   BOOK-2829                      2   Common Stock
800 S OCEAN BLVD
PRESIDENTAL PLACE CONDO, UNIT L1
BOCA RATON, FL 33432

INGLISH, JOHN                                                       BOOK-1824                      2   Common Stock
[ADDRESS REDACTED]

JACOBS, ANJEANETTE                                                  BOOK-2702                      2   Common Stock
[ADDRESS REDACTED]

JOHNSON, MATTHEW                                                    BOOK-1817                      2   Common Stock
[ADDRESS REDACTED]


Sheet 82 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1      Filed 12/04/24          Page 99 of 122

In re: Ideanomics, Inc.                                                              Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #         Shares           Class
business of holder

KOWALCZYK, DANIEL JAMES                                             BOOK-2859                      2   Common Stock
[ADDRESS REDACTED]

MICHAEL, STUART                                                     BOOK-189                       2   Common Stock
[ADDRESS REDACTED]

NANCE, WENDY                                                        BOOK-2718                      2   Common Stock
[ADDRESS REDACTED]

NIMAROFF, MICHAEL                                                   BOOK-190                       2   Common Stock
[ADDRESS REDACTED]

PHOENIX CAPITAL WORLDWIDE MANAGEMENT INC                            C-10254                        2   Common Stock
20 W 20TH ST, STE 217
NEW YORK, NY 10011

PINTOSOPOULOS, ANTHONY C                                            C-10224                        2   Common Stock
[ADDRESS REDACTED]

RAKER, GILBERT D                                                    BOOK-191                       2   Common Stock
[ADDRESS REDACTED]

SMITH, ROBIN & KOLSTADT, KAARE                                      BOOK-192                       2   Common Stock
[ADDRESS REDACTED]

TURGEON, KENNETH                                                    C-10225                        2   Common Stock
[ADDRESS REDACTED]

WARDELL, KELLY                                                      BOOK-1537                      2   Common Stock
[ADDRESS REDACTED]

WARDELL, KELLY                                                      BOOK-1809                      2   Common Stock
[ADDRESS REDACTED]

WHITESELL, BRYAN LYNN                                               BOOK-2169                      2   Common Stock
[ADDRESS REDACTED]

WINEGAR, RYAN                                                       BOOK-1832                      2   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-102                       1   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-181                       1   Common Stock
[ADDRESS REDACTED]

[NAME REDACTED]                                                     BOOK-182                       1   Common Stock
[ADDRESS REDACTED]
[NAME REDACTED]                                                     AN-1200                        1   Common Stock
[ADDRESS REDACTED]
Sheet 83 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 100 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

ABODE, GLEN                                                         AN-1018                         1   Common Stock
[ADDRESS REDACTED]

ABODE, VALERIE                                                      AN-1019                         1   Common Stock
[ADDRESS REDACTED]

ABS WORLDWIDE SERVICES                                              AN-1020                         1   Common Stock
16693 ROSCOE BLVD, STE B
NORTH HILLS, CA 91343

ACS MERCHANT SERVICES                                               AN-1021                         1   Common Stock
370-17TH ST, STE 2500
DENVER, CO 80202

ALBAHRANI, FERAS AMEER                                              BOOK-1939                       1   Common Stock
[ADDRESS REDACTED]

ALBANESE, JOSEPH                                                    SR-13                           1   Common Stock
[ADDRESS REDACTED]

ALL RENTAL CENTER                                                   AN-1023                         1   Common Stock
4780 AUSTIN BLUFFS PKWY
COLORADO SPRINGS, CO 80918

ALLAN PEZOLDT LIV TR                                                SR-480                          1   Common Stock
[ADDRESS REDACTED]

ALLEBEST, EDWARD                                                    SR-16                           1   Common Stock
[ADDRESS REDACTED]

ALMARAZ, CHRISTIAN                                                  AN-1163                         1   Common Stock
[ADDRESS REDACTED]

AMERICAN SECURITIES TRANSFER                                        AN-1026                         1   Common Stock
1825 LAWRENCE ST, STE 444
DENVER, CO 80202

ARNEAULT, EDSON                                                     AN-1131                         1   Common Stock
[ADDRESS REDACTED]

ASTAFUROV, ARTEM                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1245

AT&T WIRELESS                                                       AN-1028                         1   Common Stock
P.O. BOX 34335
SEATTLE, WA 98124

AUL, WILLIAM                                                        Y-2267                          1   Common Stock
[ADDRESS REDACTED]


Sheet 84 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 101 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

B&A SELF STORAGE                                                    RTN BOOK-3                      1   Common Stock
620 N HELOTROPE AVE
BEVERLY HILLS, CA 90212

BALABAN, MUZEYYE                                                    AN-1006                         1   Common Stock
[ADDRESS REDACTED]

BALFREY, LAURA                                                                                      1   Common Stock
[ADDRESS REDACTED]                                                  SR-423

BALFREY, LAURA                                                      SR-35                           1   Common Stock
[ADDRESS REDACTED]

BARRACK, ROGER JR                                                   SR-45                           1   Common Stock
[ADDRESS REDACTED]

BARRACK, ROGER                                                      SR-44                           1   Common Stock
[ADDRESS REDACTED]

BARSOUM, NABIL                                                      RTN BOOK-4                      1   Common Stock
[ADDRESS REDACTED]

BARTON CONCRETE FORMS                                               AN-1032                         1   Common Stock
2675 STEEL DR
COLORADO SPRINGS, CO 80907

BENTLER                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-60
BENTLER                                                             SR-59                           1   Common Stock
[ADDRESS REDACTED]

BERCK, SHARON                                                       SR-61                           1   Common Stock
[ADDRESS REDACTED]

BERRY, DONALD                                                       SR-65                           1   Common Stock
[ADDRESS REDACTED]

BETHEL, ROY                                                         SR-66                           1   Common Stock
[ADDRESS REDACTED]

BEVERLY DAYTON ENTERPRISES                                          RTN BOOK-5                      1   Common Stock
10999 RIVERSIDE DR, STE 305N
HOLLYWOOD, CA 91602

BLOOMINGTON CHRYSLER LEASING                                        AN-1034                         1   Common Stock
8000 PENN AVE
BLOOMINGTON, MN 55431



Sheet 85 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 102 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

BNK ELECTRIC                                                        RTN BOOK-6                      1   Common Stock
P.O. BOX 5437
WOODLAND PARK, CO 80866

BOLER, LEO JR                                                       SR-73                           1   Common Stock
[ADDRESS REDACTED]

BRADDY, NICHOLAS A                                                  BOOK-1570                       1   Common Stock
[ADDRESS REDACTED]

BRANDON SAUM TOD ON FILE                                            BOOK-2976                       1   Common Stock
[ADDRESS REDACTED]

BREHM, JOHN                                                         SR-79                           1   Common Stock
[ADDRESS REDACTED]

BRETT LIVINGSTONE STRONG                                            AN-1116                         1   Common Stock
[ADDRESS REDACTED]

BURKE, SHARON                                                       SR-88                           1   Common Stock
[ADDRESS REDACTED]

C&C SAN COMPANY                                                     AN-1037                         1   Common Stock
2635 STEEL AVE
COLORADO SPRINGS, CO 80907

CACCAVALE, JOHN L                                                   RTN BOOK-7                      1   Common Stock
[ADDRESS REDACTED]
CAHILL, MARILYN F                                                   AN-1007                         1   Common Stock
[ADDRESS REDACTED]

CALRBERG, DANIEL J                                                  AN-1041                         1   Common Stock
[ADDRESS REDACTED]

CARPENTER                                                           SR-99                           1   Common Stock
[ADDRESS REDACTED]

CARRILLO, SANDRA                                                    AN-1164                         1   Common Stock
[ADDRESS REDACTED]

CASTLE CONCRETE CO                                                  AN-1042                         1   Common Stock
P.O. BOX 1030
COLORADO SPRINGS, CO

CASTRO, EFRAIN                                                      AN-1160                         1   Common Stock
[ADDRESS REDACTED]

CASTRO, JERONIMO                                                    AN-1159                         1   Common Stock
[ADDRESS REDACTED]

Sheet 86 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 103 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

CD MANAGEMENT INC                                                   RTN BOOK-9                      1   Common Stock
23548 CALABASAS RD, STE 205
CALABASAS, CA 91302

CENTURY ESCROW CORP                                                 SR-123                          1   Common Stock
7829 PATRIOT DR
ANNANDALE, VA 22003

CERNUTO                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-753

CERNUTO                                                             SR-124                          1   Common Stock
[ADDRESS REDACTED]

CERNUTO                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-126

CERNUTO                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-754

CERNUTO                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-125

CERNUTO                                                                                             1   Common Stock
[ADDRESS REDACTED]                                                  SR-752

CGS INVESTORS INC                                                   SR-127                          1   Common Stock
C/O CLARENCE SASAKE
294 S WASHINGTON AVE
BERGENFIELD, NJ 07621

CHAMBERS, TERESA                                                    AN-1165                         1   Common Stock
[ADDRESS REDACTED]

CHASE, GARY                                                         AN-1043                         1   Common Stock
[ADDRESS REDACTED]

CHOI, DOUGLAS                                                                                       1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1249

CLARK & TREVITHICK                                                  AN-1044                         1   Common Stock
[ADDRESS REDACTED]

CLEMENTS, GREG                                                      BOOK-1837                       1   Common Stock
[ADDRESS REDACTED]

CLYDE SONNENBERG & LUCILLE SONNENBERG JTTEN                         AN-1114                         1   Common Stock
[ADDRESS REDACTED]



Sheet 87 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 104 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

COLEMAN, DEMAURIER                                                  BOOK-1394                       1   Common Stock
[ADDRESS REDACTED]

COLEMAN, WILLIAM                                                    AN-1045                         1   Common Stock
[ADDRESS REDACTED]

COLORADO COMPENSATION INS                                           AN-1046                         1   Common Stock
DEPT 500
DENVER, CO 80281

COLORADO DEPT OF REV                                                AN-1047                         1   Common Stock
1375 SHERMAN ST
DENVER, CO 80261

COLORADO STATE TREASURER                                            AN-1049                         1   Common Stock
P.O. BOX 8789
DENVER, CO 80201

CONNELLY, WILLIAM                                                   SR-147                          1   Common Stock
[ADDRESS REDACTED]

CONTINENTIAL TRUST COMPANY LTD, THE                                 BOOK-245                        1   Common Stock
RE KANISHKA HOLDING TRUST
P.O. BOX 829
FORUM HOUSE GRENVILLE ST
ST HELLER SERSEY JE4 0UF
FRANCE
COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-274

COOPER, DANIEL S                                                    BOOK-272                        1   Common Stock
[ADDRESS REDACTED]

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-279

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-278

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-277

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-273

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-276


Sheet 88 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 105 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

COOPER, DANIEL S                                                                                    1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-275

COPAN, WALTER & MARY LYNN                                           AN-1050                         1   Common Stock
[ADDRESS REDACTED]

CORNWELL REAL RESTATE                                               AN-1051                         1   Common Stock
4514 HOOT OWL DR
BERTHOUD, CO 80513

COTTERMAN, EUGENE                                                   SR-815                          1   Common Stock
[ADDRESS REDACTED]

CT CORPORATION                                                      AN-1052                         1   Common Stock
P.O. BOX 4349
CAROL STREAM, IL 60197

DAVIDSON, BOB                                                       AN-1001                         1   Common Stock
[ADDRESS REDACTED]

DAVIS                                                               SR-171                          1   Common Stock
[ADDRESS REDACTED]

DAVIS, DENNIS                                                       AN-1054                         1   Common Stock
[ADDRESS REDACTED]

DENNETT, CARL                                                       AN-1167                         1   Common Stock
[ADDRESS REDACTED]
DIAMOND, GUS                                                        SR-184                          1   Common Stock
[ADDRESS REDACTED]

DIEDRICH, MARTIN                                                    AN-1055                         1   Common Stock
[ADDRESS REDACTED]

DONSBACH, KATHLEEN                                                  AN-1168                         1   Common Stock
[ADDRESS REDACTED]

EATON, RICK                                                         RTN BOOK-8                      1   Common Stock
[ADDRESS REDACTED]

ECONOMY DEV & EXCAV                                                 SR-202                          1   Common Stock
[ADDRESS REDACTED]

EDUARDO, RICARDO & CAZARES GARCIA                                   AN-1161                         1   Common Stock
[ADDRESS REDACTED]

EDWARD D JONES & CO                                                 SR-204                          1   Common Stock
21 1ST ST
COLORADO SPRINGS, CO 80906

Sheet 89 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 106 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

EGGERS, SHIRLEY MARIE                                               AN-1059                         1   Common Stock
[ADDRESS REDACTED]

ENGEL, ANNA                                                         AN-1191                         1   Common Stock
[ADDRESS REDACTED]

ERICKSON, ROBERT                                                    BOOK-1826                       1   Common Stock
[ADDRESS REDACTED]

FABS WORLDWIDE SERVICES                                             RTN BOOK-10                     1   Common Stock
16693 ROSCOE BLVD, STE B
NORTH HILLS, CA 91343

FALLATT, MICHAEL                                                    AR-1009                         1   Common Stock
[ADDRESS REDACTED]

FALLATT, RICHARD                                                    AN-1010                         1   Common Stock
[ADDRESS REDACTED]

FIMA, SOLOMON                                                       SR-218                          1   Common Stock
[ADDRESS REDACTED]

FINE LINE                                                           AN-1062                         1   Common Stock
7703 DENSMORE AVE
VAN NUYS, CA 91406

FIRST STATE BANK                                                    AN-1063                         1   Common Stock
P.O. BOX 3686
ALBUQUERQUE, NM 87190

FLICK, JOHN                                                         SR-220                          1   Common Stock
[ADDRESS REDACTED]

GALYARDT ASSOCIATES INC                                             RTN BOOK-11                     1   Common Stock
117 KNOLLWOOD DR
RAPID CITY, SD 55709

GARCIA, JORGE                                                       BOOK-1720                       1   Common Stock
[ADDRESS REDACTED]

GARTHE, KYLE                                                        BOOK-1816                       1   Common Stock
[ADDRESS REDACTED]

GARTHE, KYLE                                                        BOOK-1835                       1   Common Stock
[ADDRESS REDACTED]

GERMAINE, LARRY                                                     SR-236                          1   Common Stock
[ADDRESS REDACTED]



Sheet 90 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 107 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares            Class
business of holder

GILBERTSON, VANITA                                                  AN-1067                         1   Common Stock
[ADDRESS REDACTED]

GIPE, RICHARD                                                       SR-242                          1   Common Stock
[ADDRESS REDACTED]

GLOBAL ASIA LLC                                                     C-10419                         1   Preferred Stock
1239 VEEDER DR
HEWLETT, NY 10956

GLOBAL ASIA LLC                                                     BOOK-710                        1   Common Stock
1239 VEEDER DR
HEWLETT, NY 10956

GOODMAN, MARSHALL                                                   SR-247                          1   Common Stock
[ADDRESS REDACTED]

GRANT, KATHY                                                        SR-251                          1   Common Stock
[ADDRESS REDACTED]

GREENE, NORMAN                                                      SR-255                          1   Common Stock
[ADDRESS REDACTED]

GROSSNICKLE, LARRY                                                  SR-257                          1   Common Stock
[ADDRESS REDACTED]

GROSSNICKLE, LARRY                                                  SR-776                          1   Common Stock
[ADDRESS REDACTED]
GROVE INC                                                           SR-259                          1   Common Stock
5049 W DIABLO DR
LAS VEGAS, NV 89119

GUERRA, CORINA                                                      AN-1170                         1   Common Stock
[ADDRESS REDACTED]

GUSTAFSON, ELFRIEDA M                                               AN-1068                         1   Common Stock
[ADDRESS REDACTED]

GUTIERREZ, CESAR                                                    AN-1171                         1   Common Stock
[ADDRESS REDACTED]

GUTIERREZ, HILDA                                                    AN-1172                         1   Common Stock
[ADDRESS REDACTED]

HAROLD SHANBAUM & CLAUDIA SHANBAUM JT TEN                           RTN BOOK-18                     1   Common Stock
[ADDRESS REDACTED]

HARRIS                                                              SR-272                          1   Common Stock
[ADDRESS REDACTED]

Sheet 91 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 108 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares            Class
business of holder

HAYWARD, RAY                                                        SR-275                          1   Common Stock
[ADDRESS REDACTED]

HEIN & ASSOCIATES                                                   AN-1069                         1   Common Stock
1999 BROADWAY, STE 4000
DENVER, CO

HERRERA                                                             SR-280                          1   Common Stock
[ADDRESS REDACTED]

HILL, CAROL A                                                       C-10193                         1   Common Stock
[ADDRESS REDACTED]

HITZEMANN, HUNTER                                                   BOOK-1964                       1   Common Stock
[ADDRESS REDACTED]

HSUE                                                                SR-289                          1   Common Stock
[ADDRESS REDACTED]

HUGH, WOODLAND                                                      SR-292                          1   Common Stock
[ADDRESS REDACTED]

INGENITO, ROSEMARIE                                                 SR-296                          1   Common Stock
[ADDRESS REDACTED]

INNERCIRCLE GROUP INC                                               AN-1070                         1   Common Stock
31 N TEJON ST, STE 300
COLORADO SPGS, CO 80903-1517

ITI CAPITAL LIMITED                                                 BOOK-1961                       1   Common Stock
LVL 33, TOWER 42 25 OLD BROAD S
LONDON EC2N 1HQ
UNITED KINGDOM

JACOBS, ANJEANETTE                                                  PREF C BOOK-                    1   Preferred Stock
[ADDRESS REDACTED]                                                  1488

JACOBS, ANJEANETTE                                                  PREF C BOOK-                    1   Preferred Stock
[ADDRESS REDACTED]                                                  1487

JACOBS, ANJEANETTE                                                  BOOK-2701                       1   Common Stock
[ADDRESS REDACTED]

JAFFONI, JOSEPH N                                                   Y-2217                          1   Common Stock
[ADDRESS REDACTED]

JAMISON, GERALD EDWARD                                              AN-1145                         1   Common Stock
[ADDRESS REDACTED]



Sheet 92 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG         Doc 1       Filed 12/04/24          Page 109 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

JELLINEK, SUSAN                                                     SR-300                          1   Common Stock
[ADDRESS REDACTED]

JEW, MARY KATHERINE                                                 AN-1071                         1   Common Stock
[ADDRESS REDACTED]

JIPSON, HELEN                                                       SR-901                          1   Common Stock
[ADDRESS REDACTED]

JOHNSON, GERALD W                                                   AN-1072                         1   Common Stock
[ADDRESS REDACTED]

JOHNSON, MATTHEW                                                    BOOK-1836                       1   Common Stock
[ADDRESS REDACTED]

JONES, HOWARD                                                       SR-314                          1   Common Stock
[ADDRESS REDACTED]

JORDAN, WILLIAM C                                                   AN-1154                         1   Common Stock
[ADDRESS REDACTED]

JORDAN, WILLIAM                                                     AN-1173                         1   Common Stock
[ADDRESS REDACTED]

JOSE GUADALUPE CASANOVA MAGALLANES                                  AN-1162                         1   Common Stock
C/O ALPHA NUTRACEUTICALS INC
1229 THIRD AVE
CHULA VISTA, CA 91911

K&K EXPRESS                                                         RTN BOOK-12                     1   Common Stock
7550 24TH AVE S, #170
MINNEAPOLIS, MN 55450

K&M FAMILY ENTERPR                                                  SR-317                          1   Common Stock
[ADDRESS REDACTED]

KAHN, ZACH                                                          BOOK-1827                       1   Common Stock
[ADDRESS REDACTED]

KAZMER, ANDREW J                                                    AN-1155                         1   Common Stock
[ADDRESS REDACTED]

KELLY, COLIN JOSEPH                                                 AN-1144                         1   Common Stock
[ADDRESS REDACTED]

KENNIS, WILLIAM                                                     AN-1074                         1   Common Stock
[ADDRESS REDACTED]

KINTNER, THOMAS M                                                   AN-1075                         1   Common Stock
[ADDRESS REDACTED]

Sheet 93 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 110 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

KOENIG, STUART I                                                    AN-1076                         1   Common Stock
[ADDRESS REDACTED]

KOWALCZYK, DANIEL JAMES                                             BOOK-2817                       1   Common Stock
[ADDRESS REDACTED]

KOWALCZYK, DANIEL JAMES                                             BOOK-2910                       1   Common Stock
[ADDRESS REDACTED]

KUCHER, GARY                                                        SR-341                          1   Common Stock
[ADDRESS REDACTED]

LAKE ARROWHEAD VILLAGE                                              AN-1077                         1   Common Stock
330 NORTH D ST, STE 300
SAN BERNADINO, CA 92401

LANGBERG, JON                                                       SR-346                          1   Common Stock
[ADDRESS REDACTED]

LAURA                                                               SR-352                          1   Common Stock
[ADDRESS REDACTED]

LEDBETTER, JOANN                                                    RTN BOOK-13                     1   Common Stock
[ADDRESS REDACTED]

LEE, RICHARD                                                        SR-356                          1   Common Stock
[ADDRESS REDACTED]

LEUNG, HISO                                                         SR-365                          1   Common Stock
[ADDRESS REDACTED]

LEUNG, MING                                                         SR-797                          1   Common Stock
[ADDRESS REDACTED]

LEUNG, MING                                                         SR-363                          1   Common Stock
[ADDRESS REDACTED]

LEUNG, STEPHANIE                                                    SR-364                          1   Common Stock
[ADDRESS REDACTED]

LEVITCH, MELVIN & JEAN                                              AN-1080                         1   Common Stock
[ADDRESS REDACTED]

LINDAUR, EARL                                                       SR-370                          1   Common Stock
[ADDRESS REDACTED]

LINDBERG, CAROL D                                                   RTN BOOK-14                     1   Common Stock
[ADDRESS REDACTED]
LYONS, DANIEL & DIANA                                               AN-1084                         1   Common Stock
[ADDRESS REDACTED]
Sheet 94 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 111 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

MAHLER, BARBARA A                                                   C-10318                         1   Common Stock
[ADDRESS REDACTED]

MANG, A JEAN                                                        SR-812                          1   Common Stock
[ADDRESS REDACTED]

MARYLAND COMM INSURANCE                                             RTN BOOK-15                     1   Common Stock
P.O. BOX 504726
THE LAKES, NV 88905

MATON, LARRY                                                        RTN BOOK-16                     1   Common Stock
[ADDRESS REDACTED]

MAXON, GEORGE                                                       SR-395                          1   Common Stock
[ADDRESS REDACTED]

MAYNARD, VERNON                                                     SR-400                          1   Common Stock
[ADDRESS REDACTED]

MEYERS, BRUCE                                                       AN-1088                         1   Common Stock
[ADDRESS REDACTED]

MICHAEL, STUART                                                     BOOK-162                        1   Common Stock
[ADDRESS REDACTED]

MICHAEL, STUART                                                     BOOK-161                        1   Common Stock
[ADDRESS REDACTED]

MICHAEL, STUART                                                     BOOK-160                        1   Common Stock
[ADDRESS REDACTED]

MIDLING, JACK                                                       SR-419                          1   Common Stock
[ADDRESS REDACTED]

MILBY, GARY                                                         SR-422                          1   Common Stock
[ADDRESS REDACTED]

MILE MARKER ZERO INC                                                RTN BOOK-17                     1   Common Stock
3825 DEL AMO, #105
TORRANCE, CA 90503

MILLER, GARY                                                        AN-1090                         1   Common Stock
[ADDRESS REDACTED]

MILSTEIN, LEONARD                                                   AN-1091                         1   Common Stock
[ADDRESS REDACTED]

MINDLIN, ALAN & BLANCHE                                             AN-1092                         1   Common Stock
[ADDRESS REDACTED]


Sheet 95 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 112 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares            Class
business of holder

MOESCHL, STANLEY                                                    SR-430                          1   Common Stock
[ADDRESS REDACTED]

MORDAN, REX                                                         SR-433                          1   Common Stock
[ADDRESS REDACTED]

MORDIN, REX                                                         SR-434                          1   Common Stock
[ADDRESS REDACTED]

MOST DIFFICULT INC                                                  SR-623                          1   Common Stock
23015 DEL LAGO, # D2114
LAGUNA HILLS, CA 92653

MOUNTAINSCAPE HOLD                                                  SR-440                          1   Common Stock
897 ZELIGMAN ST, STE B
CRESTED BUTTE, CO 81224

NALLEY                                                              SR-444                          1   Common Stock
[ADDRESS REDACTED]

NANCE, WENDY                                                        BOOK-2717                       1   Common Stock
[ADDRESS REDACTED]

NANCE, WENDY                                                        PREF C BOOK-                    1   Preferred Stock
[ADDRESS REDACTED]                                                  1511

NANCE, WENDY                                                        PREF C BOOK-                    1   Preferred Stock
[ADDRESS REDACTED]                                                  1510
NELSON                                                              SR-447                          1   Common Stock
[ADDRESS REDACTED]

NELSON                                                              SR-448                          1   Common Stock
[ADDRESS REDACTED]

NEWMAN, MICHAEL                                                     SR-452                          1   Common Stock
[ADDRESS REDACTED]

NIELSEN, BRIAN                                                      SR-454                          1   Common Stock
[ADDRESS REDACTED]

NOLTE & ASSOCIATES INC                                              AN-1095                         1   Common Stock
1975 RESEARCH PKWY, STE 165
COLORADO SPGS, CO

NOVUS SERVICES INC                                                  AN-1096                         1   Common Stock
P.O. BOX 52145
PHOENIX, AZ 85072



Sheet 96 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 113 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

OHRI, KEERTY                                                        BOOK-1396                       1   Common Stock
[ADDRESS REDACTED]

OLIVEIRA, STEVEN                                                    BOOK-627                        1   Common Stock
[ADDRESS REDACTED]

OR, KEREN                                                           C-10256                         1   Common Stock
[ADDRESS REDACTED]

OYUGI, ALAN                                                         BOOK-1081                       1   Common Stock
[ADDRESS REDACTED]

PACIFIC ART                                                         AN-1097                         1   Common Stock
8205 SANTA MONICA BLVD, #1192
W HOLLYWOOD, CA 90046

PACIFIC FINANCIAL PRINTING                                          AN-1099                         1   Common Stock
221 MAIN ST, STE 1310
SAN FRANCISCO, CA 94105

PADMORE, J'ANNA                                                     SR-772                          1   Common Stock
[ADDRESS REDACTED]

PALMER, CAROLYN                                                     SR-469                          1   Common Stock
[ADDRESS REDACTED]

PARK GAIL                                                           SR-227                          1   Common Stock
[ADDRESS REDACTED]
PAUL MIKUNDA & ESTHER MIKUNDA JT TEN                                AN-1203                         1   Common Stock
[ADDRESS REDACTED]

PAUL WOEBBEKING & DEBORAH WOEBBEKING JTTEN                          Y-2095                          1   Common Stock
[ADDRESS REDACTED]

PAULSEN, ERIC                                                       AN-1014                         1   Common Stock
[ADDRESS REDACTED]

PAULSEN, TRACY                                                      AN-1013                         1   Common Stock
[ADDRESS REDACTED]

PAULSON, TYLER                                                      BOOK-1810                       1   Common Stock
[ADDRESS REDACTED]

PAULSON, TYLER                                                      BOOK-1538                       1   Common Stock
[ADDRESS REDACTED]

PEZZOLA & REINKE                                                    AN-1101                         1   Common Stock
[ADDRESS REDACTED]


Sheet 97 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 114 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-79

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-81

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-82

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-78

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-77

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                          BOOK-76                         1   Common Stock
[ADDRESS REDACTED]

PHILLIP BRILL TTEE AND JONATHAN BRILL TTEE                                                          1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-80

PHOENIX CAPITAL WORLDWIDE II LP                                     C-10430                         1   Common Stock
445 PARK AVE, 10TH FL
NEW YORK, NY 10022

PONS, ERIC GONZALEZ                                                                                 1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1834

PONS, ERIC GONZALEZ                                                 BOOK-1815                       1   Common Stock
[ADDRESS REDACTED]

PR NEWSWIRE                                                         AN-1102                         1   Common Stock
P.O. BOX 5897
NEW YORK, NY 10087

PURDY, DORIT W                                                      AN-1156                         1   Common Stock
[ADDRESS REDACTED]

REBER, ROBERT                                                       SR-813                          1   Common Stock
[ADDRESS REDACTED]

REBER, ROBERT                                                       SR-508                          1   Common Stock
[ADDRESS REDACTED]

RENFROW, J ROYCE                                                    SR-510                          1   Common Stock
[ADDRESS REDACTED]

RENNISON, SUSAN L                                                   AN-1175                         1   Common Stock
[ADDRESS REDACTED]


Sheet 98 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 115 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

ROBERSON, MILDRED                                                   SR-519                          1   Common Stock
[ADDRESS REDACTED]

ROBERT MAYER TRUST                                                  SR-399                          1   Common Stock
[ADDRESS REDACTED]

ROBERT P RADEZ & ROBIN RADEZ JTTEN                                  AN-1137                         1   Common Stock
[ADDRESS REDACTED]

ROBERTA TAMAYO                                                      AN-1178                         1   Common Stock
[ADDRESS REDACTED]

ROBLES, ILLIANA                                                     AN-1176                         1   Common Stock
[ADDRESS REDACTED]

RUDE III, JOE                                                       SR-530                          1   Common Stock
[ADDRESS REDACTED]

RUDE, JOE C                                                         AN-1105                         1   Common Stock
[ADDRESS REDACTED]

RUIZ-GIMENEZ, ANTONIO, JR                                                                           1   Common Stock
[ADDRESS REDACTED]                                                  BOOK-1244

SAMUELS, CRAIG                                                      BOOK-436                        1   Common Stock
[ADDRESS REDACTED]

SAMUELS, PAUL H                                                     AN-1107                         1   Common Stock
[ADDRESS REDACTED]

SAMUELS, PAUL                                                       AN-1106                         1   Common Stock
[ADDRESS REDACTED]

SARATOGA INVEST CO                                                  SR-543                          1   Common Stock
4125 BLACK FORD AVE, STE 250
SAN JOSE, CA 95117
SECREST, MARILYN                                                    AN-1110                         1   Common Stock
[ADDRESS REDACTED]

SEDAR                                                               SR-555                          1   Common Stock
[ADDRESS REDACTED]

SHABER CORP                                                         SR-558                          1   Common Stock
1317 HILL ST
SANTA MONICA, CA 90405

SHABER CORP                                                         AN-1111                         1   Common Stock
1317 HILL ST
SANTA MONICA, CA 90405

Sheet 99 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 116 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                             LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

SHUBERT, PHILIP                                                     AN-1113                         1   Common Stock
[ADDRESS REDACTED]

SIDNEY COLAR                                                        AN-1166                         1   Common Stock
[ADDRESS REDACTED]

SIEMS, EDWARD                                                       SR-566                          1   Common Stock
[ADDRESS REDACTED]

SIERRA, LUISA MA                                                    AN-1177                         1   Common Stock
[ADDRESS REDACTED]

SILVER FOX INVEST CO                                                SR-568                          1   Common Stock
3376 TOMAH DR
COLORADO SPRINGS, CO 80918

SITTIN, KEITH                                                       SR-572                          1   Common Stock
[ADDRESS REDACTED]

SMITH, RICKY                                                        SR-581                          1   Common Stock
[ADDRESS REDACTED]

SNYDER, CHARLES                                                     SR-583                          1   Common Stock
[ADDRESS REDACTED]

SPITZER, CHARLOTTE                                                  SR-590                          1   Common Stock
[ADDRESS REDACTED]

STANSFIELD, SCOTT                                                   SR-592                          1   Common Stock
[ADDRESS REDACTED]

STATE BOARD OF EQUALIZATION                                         AN-1115                         1   Common Stock
P.O. BOX 942879
SACRAMENTO, CA 94279

STEIN, DANIEL                                                       BOOK-592                        1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10410                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10288                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10398                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10379                         1   Common Stock
[ADDRESS REDACTED]


Sheet 100 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 117 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

STERN, SHAI                                                         C-10334                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10298                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10266                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10241                         1   Common Stock
[ADDRESS REDACTED]

STERN, SHAI                                                         C-10313                         1   Common Stock
[ADDRESS REDACTED]

STOCKMAN & KAST PC                                                  SR 597                          1   Common Stock
102 N CASCADE, #450
COLORADO SPGS, CO 80903

SUPERIOR HOME DEV                                                   SR-800                          1   Common Stock
C/O SIERRA ROCKIES
HILLY SUGAR BLDG, STE 330 2
COLORADO SPRINGS, CO 80903

TALBERT, MATTHEW                                                    SR-614                          1   Common Stock
[ADDRESS REDACTED]

TARR ELECTRIC CO                                                    AN-1118                         1   Common Stock
2005 MULLIGAN DR
COLORADO SPRINGS, CO

TERRY ART INTERNATIONAL                                             AN-1119                         1   Common Stock
1875 CENTURY PARK E, STE 2150
LOS ANGELES, CA 90067

THEOBALD, HAROLD                                                    AN-1120                         1   Common Stock
[ADDRESS REDACTED]

THIES, DANIEL J                                                     AN-1157                         1   Common Stock
[ADDRESS REDACTED]

THOMPSON, DEANNA                                                    SR-630                          1   Common Stock
[ADDRESS REDACTED]

THOMPSON, JANUARY                                                   SR-629                          1   Common Stock
[ADDRESS REDACTED]
TIEGS FAMILY TRUST                                                  SR-625                          1   Common Stock
[ADDRESS REDACTED]


Sheet 101 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 118 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                             LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

TIEGS, DENNIS                                                       SR-642                          1   Common Stock
[ADDRESS REDACTED]

TINY TRUST                                                          SR-626                          1   Common Stock
[ADDRESS REDACTED]

TOLMAN, SAMUEL                                                      SR-649                          1   Common Stock
[ADDRESS REDACTED]

TORBET, JOHN                                                        SR-651                          1   Common Stock
[ADDRESS REDACTED]

TRANS COLORADO CONCRETE                                             AN-1122                         1   Common Stock
3390 DRENNAN INDISTRIAL LOOP
S COLORADO SPRINGS, CO 80910

TRAYWICK, WILLIAM                                                   SR-653                          1   Common Stock
[ADDRESS REDACTED]

US BANK                                                             AN-1123                         1   Common Stock
6 S TEJON ST
COLORADO SPRINGS, CO 80903

VANDERBEEK, DEBORAH                                                 AN-1124                         1   Common Stock
[ADDRESS REDACTED]

VILLALOBOS, ADEL                                                    AN-1158                         1   Common Stock
[ADDRESS REDACTED]
VINCENT, MARJORIE                                                   AN-1125                         1   Common Stock
[ADDRESS REDACTED]

VIVOLO                                                              SR-796                          1   Common Stock
4764 S SARAZEN CIR
LAS VEGAS, NV 89103

VOLPE, DAMIAN                                                       AN-1189                         1   Common Stock
[ADDRESS REDACTED]

W ED HARMS                                                          SR-269                          1   Common Stock
[ADDRESS REDACTED]

WALKERSON                                                           SR-719                          1   Common Stock
[ADDRESS REDACTED]

WALTER E FOX P/ADM                                                  BOOK-629                        1   Common Stock
[ADDRESS REDACTED]

WALTER LAUGHLIN PART                                                SR-692                          1   Common Stock
[ADDRESS REDACTED]

Sheet 102 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG         Doc 1       Filed 12/04/24          Page 119 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                             LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

WALTERMAN, ROD                                                      SR-766                          1   Common Stock
[ADDRESS REDACTED]

WALTERS, PAMELA                                                     SR-694                          1   Common Stock
[ADDRESS REDACTED]

WARK TRUCKING                                                       AN-1126                         1   Common Stock
1519 ARCH ST
COLORADO SPRINGS, CO 80904

WATSON                                                              SR-698                          1   Common Stock
[ADDRESS REDACTED]

WEBER, GREGORY                                                      SR-703                          1   Common Stock
[ADDRESS REDACTED]

WEXLER, STEPHEN                                                     SR-712                          1   Common Stock
[ADDRESS REDACTED]

WHEELER, WAYNE                                                      SR-715                          1   Common Stock
[ADDRESS REDACTED]

WHEELER, WAYNE                                                      SR-714                          1   Common Stock
[ADDRESS REDACTED]

WHEELER, WAYNE                                                      SR-818                          1   Common Stock
[ADDRESS REDACTED]

WHITESELL, BRYAN LYNN                                               BOOK-2035                       1   Common Stock
[ADDRESS REDACTED]

WILLIAMS                                                            SR-722                          1   Common Stock
[ADDRESS REDACTED]

WILLIAMS, CHRISTINE                                                 AN-1017                         1   Common Stock
[ADDRESS REDACTED]

WINDOW TO THE WORLD WAYNE RICHARDSON                                SR-726                          1   Common Stock
[ADDRESS REDACTED]

WINTER, WESLEY                                                      SR-727                          1   Common Stock
[ADDRESS REDACTED]

WOLTERMAN, ROD                                                      SR-733                          1   Common Stock
[ADDRESS REDACTED]

WOODLAND ESCROW IN                                                  SR-734                          1   Common Stock
C/O MAXPRO CORP
5376 TOMAH DR, STE 201
COLORADO SPRINGS, CO 80918

Sheet 103 of 104 in List of Equity Security Holders
                     Case 24-12728-CTG          Doc 1       Filed 12/04/24          Page 120 of 122

In re: Ideanomics, Inc.                                                               Case No.
                                                        Debtor(s)


                             LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Certificate #          Shares           Class
business of holder

WOODMEN PARTNERS                                                    SR-735                          1   Common Stock
150 PAUMA VALLEY DR
COLORAO SPRINGS, CO 80921

YUKEISON, DAN                                                       SR-493                          1   Common Stock
[ADDRESS REDACTED]

ZAPOLSKI, RICHARD                                                   SR-745                          1   Common Stock
[ADDRESS REDACTED]

ZASKE, WALTER                                                       SR-810                          1   Common Stock
[ADDRESS REDACTED]




Sheet 104 of 104 in List of Equity Security Holders
                      Case 24-12728-CTG          Doc 1     Filed 12/04/24          Page 121 of 122




                                        United States Bankruptcy Court
                                                  District of Delaware
 In re   Ideanomics, Inc.                                                             Case No.
                                                           Debtor(s)                  Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ideanomics, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




12/4/2024
Date                                           Ricardo Palacio
                                               Signature of Attorney or Litigant
                                               Counsel for Ideanomics, Inc.
                                               Ashby & Geddes, P.A.
                                               500 Delaware Avenue
                                               8th Floor
                                               Wilmington, DE 19801
                                               302-654-1888
                                               RPalacio@ashbygeddes.com
                            Case 24-12728-CTG                    Doc 1        Filed 12/04/24          Page 122 of 122




Fill in this information to identify the case:

Debtor name         Ideanomics, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Corporate Ownership Statement and List of Equity Security Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on     12/4/2024                         X /s/ Alfred Poor
                                                           Signature of individual signing on behalf of debtor

                                                            Alfred Poor
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
